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Fill in this information to identify your case:

United States Bankruptcy Court for the:

DISTRICT OF NEVADA

Case number (if known)                                                           Chapter you are filing under:

                                                                                    Chapter 7
                                                                                    Chapter 11
                                                                                    Chapter 12
                                                                                    Chapter 13                                       Check if this an
                                                                                                                                     amended filing




Official Form 101
Voluntary Petition for Individuals Filing for Bankruptcy                                                                                                 12/15
The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together—called a joint
case—and in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, “Do you own a car,” the answer
would be yes if either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor 1 and Debtor 2 to distinguish
between them. In joint cases, one of the spouses must report information as Debtor 1 and the other as Debtor 2. The same person must be Debtor 1 in
all of the forms.

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If
more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer
every question.


Part 1:   Identify Yourself

                                   About Debtor 1:                                                    About Debtor 2 (Spouse Only in a Joint Case):

1.   Your full name

     Write the name that is on     Adam
     your government-issued        First name                                                         First name
     picture identification (for
     example, your driver's        Edward
     license or passport).         Middle name                                                        Middle name
     Bring your picture
     identification to your
                                   Mallas
     meeting with the trustee.     Last name and Suffix (Sr., Jr., II, III)                           Last name and Suffix (Sr., Jr., II, III)




2.   All other names you have
     used in the last 8 years
     Include your married or
     maiden names.



3.   Only the last 4 digits of
     your Social Security
     number or federal             xxx-xx-7451
     Individual Taxpayer
     Identification number
     (ITIN)




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Debtor 1   Adam Edward Mallas                                                                         Case number (if known)




                                 About Debtor 1:                                               About Debtor 2 (Spouse Only in a Joint Case):

4.   Any business names and
     Employer Identification
     Numbers (EIN) you have         I have not used any business name or EINs.                    I have not used any business name or EINs.
     used in the last 8 years

     Include trade names and     Business name(s)                                              Business name(s)
     doing business as names

                                 EINs                                                          EINs




5.   Where you live                                                                            If Debtor 2 lives at a different address:

                                 7510 BROOKWOOD AVENUE
                                 LAS VEGAS, NV 89131
                                 Number, Street, City, State & ZIP Code                        Number, Street, City, State & ZIP Code

                                 Clark
                                 County                                                        County

                                 If your mailing address is different from the one             If Debtor 2's mailing address is different from yours, fill it
                                 above, fill it in here. Note that the court will send any     in here. Note that the court will send any notices to this
                                 notices to you at this mailing address.                       mailing address.



                                 Number, P.O. Box, Street, City, State & ZIP Code              Number, P.O. Box, Street, City, State & ZIP Code




6.   Why you are choosing        Check one:                                                    Check one:
     this district to file for
     bankruptcy                         Over the last 180 days before filing this petition,            Over the last 180 days before filing this petition, I
                                        I have lived in this district longer than in any               have lived in this district longer than in any other
                                        other district.                                                district.

                                        I have another reason.                                         I have another reason.
                                        Explain. (See 28 U.S.C. § 1408.)                               Explain. (See 28 U.S.C. § 1408.)




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Debtor 1    Adam Edward Mallas                                                                            Case number (if known)



Part 2:    Tell the Court About Your Bankruptcy Case

7.   The chapter of the      Check one. (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy
     Bankruptcy Code you are (Form 2010)). Also, go to the top of page 1 and check the appropriate box.
     choosing to file under
                                 Chapter 7
                                     Chapter 11
                                     Chapter 12
                                     Chapter 13



8.   How you will pay the fee            I will pay the entire fee when I file my petition. Please check with the clerk’s office in your local court for more details
                                         about how you may pay. Typically, if you are paying the fee yourself, you may pay with cash, cashier’s check, or money
                                         order. If your attorney is submitting your payment on your behalf, your attorney may pay with a credit card or check with
                                         a pre-printed address.
                                         I need to pay the fee in installments. If you choose this option, sign and attach the Application for Individuals to Pay
                                         The Filing Fee in Installments (Official Form 103A).
                                         I request that my fee be waived (You may request this option only if you are filing for Chapter 7. By law, a judge may,
                                         but is not required to, waive your fee, and may do so only if your income is less than 150% of the official poverty line that
                                         applies to your family size and you are unable to pay the fee in installments). If you choose this option, you must fill out
                                         the Application to Have the Chapter 7 Filing Fee Waived (Official Form 103B) and file it with your petition.



9.   Have you filed for             No.
     bankruptcy within the
     last 8 years?                  Yes.
                                              District                                  When                            Case number
                                              District                                  When                            Case number
                                              District                                  When                            Case number



10. Are any bankruptcy              No
    cases pending or being
    filed by a spouse who is        Yes.
    not filing this case with
    you, or by a business
    partner, or by an
    affiliate?
                                              Debtor                                                                   Relationship to you
                                              District                                  When                           Case number, if known
                                              Debtor                                                                   Relationship to you
                                              District                                  When                           Case number, if known



11. Do you rent your                No.        Go to line 12.
    residence?
                                    Yes.       Has your landlord obtained an eviction judgment against you and do you want to stay in your residence?
                                                         No. Go to line 12.
                                                         Yes. Fill out Initial Statement About an Eviction Judgment Against You (Form 101A) and file it with this
                                                         bankruptcy petition.




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Debtor 1    Adam Edward Mallas                                                                             Case number (if known)



Part 3:    Report About Any Businesses You Own as a Sole Proprietor

12. Are you a sole proprietor
    of any full- or part-time         No.      Go to Part 4.
    business?
                                      Yes.     Name and location of business
     A sole proprietorship is a
     business you operate as                   Name of business, if any
     an individual, and is not a
     separate legal entity such
     as a corporation,
     partnership, or LLC.
                                               Number, Street, City, State & ZIP Code
     If you have more than one
     sole proprietorship, use a
     separate sheet and attach
     it to this petition.                      Check the appropriate box to describe your business:
                                                       Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                                       Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                                       Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                                       Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                                       None of the above

13. Are you filing under           If you are filing under Chapter 11, the court must know whether you are a small business debtor so that it can set appropriate
    Chapter 11 of the              deadlines. If you indicate that you are a small business debtor, you must attach your most recent balance sheet, statement of
    Bankruptcy Code and are        operations, cash-flow statement, and federal income tax return or if any of these documents do not exist, follow the procedure
    you a small business           in 11 U.S.C. 1116(1)(B).
    debtor?
                                      No.      I am not filing under Chapter 11.
     For a definition of small
     business debtor, see 11
                                      No.      I am filing under Chapter 11, but I am NOT a small business debtor according to the definition in the Bankruptcy
     U.S.C. § 101(51D).
                                               Code.

                                      Yes.     I am filing under Chapter 11 and I am a small business debtor according to the definition in the Bankruptcy Code.


Part 4:    Report if You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention

14. Do you own or have any            No.
    property that poses or is
    alleged to pose a threat          Yes.
    of imminent and                          What is the hazard?
    identifiable hazard to
    public health or safety?
    Or do you own any
    property that needs                      If immediate attention is
    immediate attention?                     needed, why is it needed?

     For example, do you own
     perishable goods, or
     livestock that must be fed,             Where is the property?
     or a building that needs
     urgent repairs?
                                                                           Number, Street, City, State & Zip Code




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Debtor 1    Adam Edward Mallas                                                                         Case number (if known)

Part 5:    Explain Your Efforts to Receive a Briefing About Credit Counseling

                                     About Debtor 1:                                               About Debtor 2 (Spouse Only in a Joint Case):
15. Tell the court whether           You must check one:                                           You must check one:
    you have received a                  I received a briefing from an approved credit                 I received a briefing from an approved credit
    briefing about credit                counseling agency within the 180 days before I                counseling agency within the 180 days before I filed
    counseling.                          filed this bankruptcy petition, and I received a              this bankruptcy petition, and I received a certificate of
                                         certificate of completion.                                    completion.
     The law requires that you
     receive a briefing about            Attach a copy of the certificate and the payment              Attach a copy of the certificate and the payment plan, if
     credit counseling before            plan, if any, that you developed with the agency.             any, that you developed with the agency.
     you file for bankruptcy.
     You must truthfully check           I received a briefing from an approved credit                 I received a briefing from an approved credit
     one of the following                counseling agency within the 180 days before I                counseling agency within the 180 days before I filed
     choices. If you cannot do           filed this bankruptcy petition, but I do not have             this bankruptcy petition, but I do not have a certificate
     so, you are not eligible to         a certificate of completion.                                  of completion.
     file.
                                         Within 14 days after you file this bankruptcy                 Within 14 days after you file this bankruptcy petition, you
     If you file anyway, the court       petition, you MUST file a copy of the certificate and         MUST file a copy of the certificate and payment plan, if
     can dismiss your case, you          payment plan, if any.                                         any.
     will lose whatever filing fee
     you paid, and your                  I certify that I asked for credit counseling                  I certify that I asked for credit counseling services
     creditors can begin                 services from an approved agency, but was                     from an approved agency, but was unable to obtain
     collection activities again.        unable to obtain those services during the 7                  those services during the 7 days after I made my
                                         days after I made my request, and exigent                     request, and exigent circumstances merit a 30-day
                                         circumstances merit a 30-day temporary waiver                 temporary waiver of the requirement.
                                         of the requirement.
                                                                                                       To ask for a 30-day temporary waiver of the requirement,
                                         To ask for a 30-day temporary waiver of the                   attach a separate sheet explaining what efforts you made
                                         requirement, attach a separate sheet explaining               to obtain the briefing, why you were unable to obtain it
                                         what efforts you made to obtain the briefing, why             before you filed for bankruptcy, and what exigent
                                         you were unable to obtain it before you filed for             circumstances required you to file this case.
                                         bankruptcy, and what exigent circumstances
                                         required you to file this case.                               Your case may be dismissed if the court is dissatisfied
                                                                                                       with your reasons for not receiving a briefing before you
                                         Your case may be dismissed if the court is                    filed for bankruptcy.
                                         dissatisfied with your reasons for not receiving a
                                         briefing before you filed for bankruptcy.                     If the court is satisfied with your reasons, you must still
                                         If the court is satisfied with your reasons, you must         receive a briefing within 30 days after you file. You must
                                         still receive a briefing within 30 days after you file.       file a certificate from the approved agency, along with a
                                         You must file a certificate from the approved                 copy of the payment plan you developed, if any. If you do
                                         agency, along with a copy of the payment plan you             not do so, your case may be dismissed.
                                         developed, if any. If you do not do so, your case
                                                                                                       Any extension of the 30-day deadline is granted only for
                                         may be dismissed.
                                                                                                       cause and is limited to a maximum of 15 days.
                                         Any extension of the 30-day deadline is granted
                                         only for cause and is limited to a maximum of 15
                                         days.
                                         I am not required to receive a briefing about                 I am not required to receive a briefing about credit
                                         credit counseling because of:                                 counseling because of:

                                               Incapacity.                                                  Incapacity.
                                               I have a mental illness or a mental deficiency               I have a mental illness or a mental deficiency that
                                               that makes me incapable of realizing or                      makes me incapable of realizing or making rational
                                               making rational decisions about finances.                    decisions about finances.

                                               Disability.                                                  Disability.
                                               My physical disability causes me to be                       My physical disability causes me to be unable to
                                               unable to participate in a briefing in person,               participate in a briefing in person, by phone, or
                                               by phone, or through the internet, even after I              through the internet, even after I reasonably tried to
                                               reasonably tried to do so.                                   do so.

                                               Active duty.                                                 Active duty.
                                               I am currently on active military duty in a                  I am currently on active military duty in a military
                                               military combat zone.                                        combat zone.
                                         If you believe you are not required to receive a              If you believe you are not required to receive a briefing
                                         briefing about credit counseling, you must file a             about credit counseling, you must file a motion for waiver
                                         motion for waiver credit counseling with the court.           of credit counseling with the court.




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Debtor 1    Adam Edward Mallas                                                                            Case number (if known)

Part 6:    Answer These Questions for Reporting Purposes

16. What kind of debts do        16a.      Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by an
    you have?                              individual primarily for a personal, family, or household purpose.”

                                               No. Go to line 16b.
                                               Yes. Go to line 17.
                                 16b.      Are your debts primarily business debts? Business debts are debts that you incurred to obtain
                                           money for a business or investment or through the operation of the business or investment.
                                               No. Go to line 16c.

                                               Yes. Go to line 17.
                                 16c.      State the type of debts you owe that are not consumer debts or business debts



17. Are you filing under            No.    I am not filing under Chapter 7. Go to line 18.
    Chapter 7?

     Do you estimate that           Yes.   I am filing under Chapter 7. Do you estimate that after any exempt property is excluded and administrative expenses
     after any exempt                      are paid that funds will be available to distribute to unsecured creditors?
     property is excluded and
     administrative expenses                   No
     are paid that funds will
     be available for                          Yes
     distribution to unsecured
     creditors?

18. How many Creditors do           1-49                                             1,000-5,000                                   25,001-50,000
    you estimate that you           50-99                                            5001-10,000                                   50,001-100,000
    owe?
                                    100-199                                          10,001-25,000                                 More than100,000
                                    200-999

19. How much do you                 $0 - $50,000                                     $1,000,001 - $10 million                      $500,000,001 - $1 billion
    estimate your assets to         $50,001 - $100,000                               $10,000,001 - $50 million                     $1,000,000,001 - $10 billion
    be worth?
                                    $100,001 - $500,000                              $50,000,001 - $100 million                    $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                   More than $50 billion


20. How much do you                 $0 - $50,000                                     $1,000,001 - $10 million                      $500,000,001 - $1 billion
    estimate your liabilities       $50,001 - $100,000                                                                             $1,000,000,001 - $10 billion
    to be?                                                                           $10,000,001 - $50 million
                                    $100,001 - $500,000                              $50,000,001 - $100 million                    $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                   More than $50 billion


Part 7:    Sign Below

For you                          I have examined this petition, and I declare under penalty of perjury that the information provided is true and correct.

                                 If I have chosen to file under Chapter 7, I am aware that I may proceed, if eligible, under Chapter 7, 11,12, or 13 of title 11,
                                 United States Code. I understand the relief available under each chapter, and I choose to proceed under Chapter 7.

                                 If no attorney represents me and I did not pay or agree to pay someone who is not an attorney to help me fill out this
                                 document, I have obtained and read the notice required by 11 U.S.C. § 342(b).

                                 I request relief in accordance with the chapter of title 11, United States Code, specified in this petition.

                                 I understand making a false statement, concealing property, or obtaining money or property by fraud in connection with a
                                 bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519,
                                 and 3571.
                                 /s/ Adam Edward Mallas
                                 Adam Edward Mallas                                                Signature of Debtor 2
                                 Signature of Debtor 1

                                 Executed on     April 27, 2017                                    Executed on
                                                 MM / DD / YYYY                                                    MM / DD / YYYY




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Debtor 1   Adam Edward Mallas                                                                             Case number (if known)




For your attorney, if you are   I, the attorney for the debtor(s) named in this petition, declare that I have informed the debtor(s) about eligibility to proceed
represented by one              under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the relief available under each chapter
                                for which the person is eligible. I also certify that I have delivered to the debtor(s) the notice required by 11 U.S.C. § 342(b)
If you are not represented by   and, in a case in which § 707(b)(4)(D) applies, certify that I have no knowledge after an inquiry that the information in the
an attorney, you do not need    schedules filed with the petition is incorrect.
to file this page.
                                /s/ Matthew L. Johnson                                             Date         April 27, 2017
                                Signature of Attorney for Debtor                                                MM / DD / YYYY

                                Matthew L. Johnson
                                Printed name

                                JOHNSON & GUBLER, P.C.
                                Firm name

                                LAKES BUSINESS PARK
                                8831 W SAHARA AVE
                                LAS VEGAS, NV 89117-5865
                                Number, Street, City, State & ZIP Code

                                Contact phone     (702) 471-0065                             Email address         mjohnson@mjohnsonlaw.com
                                6004
                                Bar number & State




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Notice Required by 11 U.S.C. § 342(b) for
Individuals Filing for Bankruptcy (Form 2010)


                                                                                          Chapter 7:         Liquidation
 This notice is for you if:
                                                                                                  $245      filing fee
        You are an individual filing for bankruptcy,
        and                                                                                        $75      administrative fee

        Your debts are primarily consumer debts.                                          +        $15      trustee surcharge
        Consumer debts are defined in 11 U.S.C.
        § 101(8) as “incurred by an individual                                                    $335      total fee
        primarily for a personal, family, or
        household purpose.”                                                               Chapter 7 is for individuals who have financial
                                                                                          difficulty preventing them from paying their debts
                                                                                          and who are willing to allow their nonexempt
 The types of bankruptcy that are available to                                            property to be used to pay their creditors. The
 individuals                                                                              primary purpose of filing under chapter 7 is to have
                                                                                          your debts discharged. The bankruptcy discharge
 Individuals who meet the qualifications may file under                                   relieves you after bankruptcy from having to pay
 one of four different chapters of Bankruptcy Code:                                       many of your pre-bankruptcy debts. Exceptions exist
                                                                                          for particular debts, and liens on property may still
        Chapter 7 - Liquidation                                                           be enforced after discharge. For example, a creditor
                                                                                          may have the right to foreclose a home mortgage or
        Chapter 11 - Reorganization                                                       repossess an automobile.

        Chapter 12 - Voluntary repayment plan                                             However, if the court finds that you have committed
                    for family farmers or                                                 certain kinds of improper conduct described in the
                    fishermen                                                             Bankruptcy Code, the court may deny your
                                                                                          discharge.
        Chapter 13 - Voluntary repayment plan
                    for individuals with regular                                          You should know that even if you file chapter 7 and
                    income                                                                you receive a discharge, some debts are not
                                                                                          discharged under the law. Therefore, you may still
                                                                                          be responsible to pay:
 You should have an attorney review your
 decision to file for bankruptcy and the choice of                                            most taxes;
 chapter.
                                                                                              most student loans;

                                                                                              domestic support and property settlement
                                                                                              obligations;




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        most fines, penalties, forfeitures, and criminal                                  your income is more than the median income for your
        restitution obligations; and                                                      state of residence and family size, depending on the
                                                                                          results of the Means Test, the U.S. trustee, bankruptcy
        certain debts that are not listed in your bankruptcy                              administrator, or creditors can file a motion to dismiss
        papers.                                                                           your case under § 707(b) of the Bankruptcy Code. If a
                                                                                          motion is filed, the court will decide if your case should
 You may also be required to pay debts arising from:                                      be dismissed. To avoid dismissal, you may choose to
                                                                                          proceed under another chapter of the Bankruptcy
        fraud or theft;                                                                   Code.

        fraud or defalcation while acting in breach of                                    If you are an individual filing for chapter 7 bankruptcy,
        fiduciary capacity;                                                               the trustee may sell your property to pay your debts,
                                                                                          subject to your right to exempt the property or a portion
        intentional injuries that you inflicted; and                                      of the proceeds from the sale of the property. The
                                                                                          property, and the proceeds from property that your
        death or personal injury caused by operating a                                    bankruptcy trustee sells or liquidates that you are
        motor vehicle, vessel, or aircraft while intoxicated                              entitled to, is called exempt property. Exemptions may
        from alcohol or drugs.                                                            enable you to keep your home, a car, clothing, and
                                                                                          household items or to receive some of the proceeds if
 If your debts are primarily consumer debts, the court                                    the property is sold.
 can dismiss your chapter 7 case if it finds that you have
 enough income to repay creditors a certain amount.                                       Exemptions are not automatic. To exempt property,
 You must file Chapter 7 Statement of Your Current                                        you must list it on Schedule C: The Property You Claim
 Monthly Income (Official Form 122A–1) if you are an                                      as Exempt (Official Form 106C). If you do not list the
 individual filing for bankruptcy under chapter 7. This                                   property, the trustee may sell it and pay all of the
 form will determine your current monthly income and                                      proceeds to your creditors.
 compare whether your income is more than the median
 income that applies in your state.

 If your income is not above the median for your state,
 you will not have to complete the other chapter 7 form,                                  Chapter 11: Reorganization
 the Chapter 7 Means Test Calculation (Official Form
 122A–2).
                                                                                                      $1,167    filing fee
 If your income is above the median for your state, you
 must file a second form —the Chapter 7 Means Test                                           +          $550    administrative fee
 Calculation (Official Form 122A–2). The calculations on
                                                                                                      $1,717    total fee
 the form— sometimes called the Means Test—deduct
 from your income living expenses and payments on
                                                                                          Chapter 11 is often used for reorganizing a business,
 certain debts to determine any amount available to pay
                                                                                          but is also available to individuals. The provisions of
 unsecured creditors. If
                                                                                          chapter 11 are too complicated to summarize briefly.




Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                                            page 2
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        Read These Important Warnings

             Because bankruptcy can have serious long-term financial and legal consequences, including loss of
             your property, you should hire an attorney and carefully consider all of your options before you file.
             Only an attorney can give you legal advice about what can happen as a result of filing for bankruptcy
             and what your options are. If you do file for bankruptcy, an attorney can help you fill out the forms
             properly and protect you, your family, your home, and your possessions.

             Although the law allows you to represent yourself in bankruptcy court, you should understand that
             many people find it difficult to represent themselves successfully. The rules are technical, and a mistake
             or inaction may harm you. If you file without an attorney, you are still responsible for knowing and
             following all of the legal requirements.

             You should not file for bankruptcy if you are not eligible to file or if you do not intend to file the
             necessary documents.

             Bankruptcy fraud is a serious crime; you could be fined and imprisoned if you commit fraud in your
             bankruptcy case. Making a false statement, concealing property, or obtaining money or property by
             fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to
             20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                                                                                          Under chapter 13, you must file with the court a plan
 Chapter 12: Repayment plan for family                                                    to repay your creditors all or part of the money that
             farmers or fishermen                                                         you owe them, usually using your future earnings. If
                                                                                          the court approves your plan, the court will allow you
                                                                                          to repay your debts, as adjusted by the plan, within 3
                   $200        filing fee                                                 years or 5 years, depending on your income and other
 +                  $75         administrative fee                                        factors.
                   $275        total fee
                                                                                          After you make all the payments under your plan,
 Similar to chapter 13, chapter 12 permits family farmers                                 many of your debts are discharged. The debts that are
 and fishermen to repay their debts over a period of time                                 not discharged and that you may still be responsible to
 using future earnings and to discharge some debts that                                   pay include:
 are not paid.
                                                                                                 domestic support obligations,

                                                                                                 most student loans,
 Chapter 13: Repayment plan for
             individuals with regular                                                            certain taxes,
             income
                                                                                                 debts for fraud or theft,

                   $235        filing fee                                                        debts for fraud or defalcation while acting in a
 +                  $75        administrative fee                                                fiduciary capacity,
                   $310        total fee
                                                                                                 most criminal fines and restitution obligations,
 Chapter 13 is for individuals who have regular income
 and would like to pay all or part of their debts in                                             certain debts that are not listed in your
 installments over a period of time and to discharge                                             bankruptcy papers,
 some debts that are not paid. You are eligible for
 chapter 13 only if your debts are not more than certain                                         certain debts for acts that caused death or
 dollar amounts set forth in 11 U.S.C. § 109.                                                    personal injury, and

                                                                                                 certain long-term secured debts.




Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                                           page 3
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                                                                                          A married couple may file a bankruptcy case
               Warning: File Your Forms on Time                                           together—called a joint case. If you file a joint case and
                                                                                          each spouse lists the same mailing address on the
 Section 521(a)(1) of the Bankruptcy Code requires that                                   bankruptcy petition, the bankruptcy court generally will
 you promptly file detailed information about your                                        mail you and your spouse one copy of each notice,
 creditors, assets, liabilities, income, expenses and                                     unless you file a statement with the court asking that
 general financial condition. The court may dismiss your                                  each spouse receive separate copies.
 bankruptcy case if you do not file this information within
 the deadlines set by the Bankruptcy Code, the                                            Understand which services you could receive from
 Bankruptcy Rules, and the local rules of the court.                                      credit counseling agencies

 For more information about the documents and                                             The law generally requires that you receive a credit
 their deadlines, go to:                                                                  counseling briefing from an approved credit counseling
 http://www.uscourts.gov/bkforms/bankruptcy_form                                          agency. 11 U.S.C. § 109(h). If you are filing a joint
 s.html#procedure.                                                                        case, both spouses must receive the briefing. With
                                                                                          limited exceptions, you must receive it within the 180
                                                                                          days before you file your bankruptcy petition. This
 Bankruptcy crimes have serious consequences                                              briefing is usually conducted by telephone or on the
                                                                                          Internet.
        If you knowingly and fraudulently conceal assets
        or make a false oath or statement under penalty                                   In addition, after filing a bankruptcy case, you generally
        of perjury—either orally or in writing—in                                         must complete a financial management instructional
        connection with a bankruptcy case, you may be                                     course before you can receive a discharge. If you are
        fined, imprisoned, or both.                                                       filing a joint case, both spouses must complete the
                                                                                          course.
        All information you supply in connection with a
        bankruptcy case is subject to examination by the                                  You can obtain the list of agencies approved to provide
        Attorney General acting through the Office of the                                 both the briefing and the instructional course from:
        U.S. Trustee, the Office of the U.S. Attorney, and                                http://justice.gov/ust/eo/hapcpa/ccde/cc_approved.html
        other offices and employees of the U.S.                                           .
        Department of Justice.
                                                                                          In Alabama and North Carolina, go to:
 Make sure the court has your mailing address                                             http://www.uscourts.gov/FederalCourts/Bankruptcy/
                                                                                          BankruptcyResources/ApprovedCredit
 The bankruptcy court sends notices to the mailing                                        AndDebtCounselors.aspx.
 address you list on Voluntary Petition for Individuals
 Filing for Bankruptcy (Official Form 101). To ensure                                     If you do not have access to a computer, the clerk of
 that you receive information about your case,                                            the bankruptcy court may be able to help you obtain
 Bankruptcy Rule 4002 requires that you notify the court                                  the list.
 of any changes in your address.




Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                                           page 4
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                    Best Case Bankruptcy
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 Fill in this information to identify your case:

 Debtor 1                   Adam Edward Mallas
                            First Name                           Middle Name                          Last Name

 Debtor 2
 (Spouse if, filing)        First Name                           Middle Name                          Last Name


 United States Bankruptcy Court for the:                  DISTRICT OF NEVADA

 Case number
 (if known)                                                                                                                                                       Check if this is an
                                                                                                                                                                  amended filing



Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information                                                                                             12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.

 Part 1:        Summarize Your Assets

                                                                                                                                                                 Your assets
                                                                                                                                                                 Value of what you own

 1.     Schedule A/B: Property (Official Form 106A/B)
        1a. Copy line 55, Total real estate, from Schedule A/B................................................................................................   $             398,594.00

        1b. Copy line 62, Total personal property, from Schedule A/B.....................................................................................        $              80,075.68

        1c. Copy line 63, Total of all property on Schedule A/B...............................................................................................   $             478,669.68

 Part 2:        Summarize Your Liabilities

                                                                                                                                                                 Your liabilities
                                                                                                                                                                 Amount you owe

 2.     Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
        2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D...                                    $             411,564.52

 3.     Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
        3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F.................................                          $             156,043.95

        3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F............................                            $          1,269,014.47


                                                                                                                                     Your total liabilities $             1,836,622.94


 Part 3:        Summarize Your Income and Expenses

 4.     Schedule I: Your Income (Official Form 106I)
        Copy your combined monthly income from line 12 of Schedule I................................................................................             $                4,489.29

 5.     Schedule J: Your Expenses (Official Form 106J)
        Copy your monthly expenses from line 22c of Schedule J..........................................................................                         $                5,374.00

 Part 4:        Answer These Questions for Administrative and Statistical Records

 6.     Are you filing for bankruptcy under Chapters 7, 11, or 13?
             No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.

           Yes
 7.     What kind of debt do you have?

                Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal, family, or
                household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

                Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit this form to
                the court with your other schedules.
 Official Form 106Sum                    Summary of Your Assets and Liabilities and Certain Statistical Information                                                    page 1 of 2
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 Debtor 1      Adam Edward Mallas                                                         Case number (if known)

 8.    From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official Form
       122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                              $


 9.    Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:

                                                                                                         Total claim
       From Part 4 on Schedule E/F, copy the following:

       9a. Domestic support obligations (Copy line 6a.)                                                   $                  0.00

       9b. Taxes and certain other debts you owe the government. (Copy line 6b.)                          $            156,043.95

       9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)                $                  0.00

       9d. Student loans. (Copy line 6f.)                                                                 $                  0.00

       9e. Obligations arising out of a separation agreement or divorce that you did not report as
           priority claims. (Copy line 6g.)                                                               $                  0.00

       9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)            +$                  0.00


       9g. Total. Add lines 9a through 9f.                                                           $            156,043.95




Official Form 106Sum                             Summary of Your Assets and Liabilities and Certain Statistical Information                   page 2 of 2
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 Fill in this information to identify your case and this filing:

 Debtor 1                    Adam Edward Mallas
                             First Name                                 Middle Name                    Last Name

 Debtor 2
 (Spouse, if filing)         First Name                                 Middle Name                    Last Name


 United States Bankruptcy Court for the:                      DISTRICT OF NEVADA

 Case number                                                                                                                                                     Check if this is an
                                                                                                                                                                 amended filing



Official Form 106A/B
Schedule A/B: Property                                                                                                                                                     12/15
In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the category where you
think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known).
Answer every question.

 Part 1: Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

        No. Go to Part 2.

        Yes. Where is the property?




 1.1                                                                            What is the property? Check all that apply
        7510 BROOKWOOD AVENUE                                                          Single-family home                         Do not deduct secured claims or exemptions. Put
        Street address, if available, or other description                                                                        the amount of any secured claims on Schedule D:
                                                                                       Duplex or multi-unit building
                                                                                                                                  Creditors Who Have Claims Secured by Property.
                                                                                       Condominium or cooperative

                                                                                       Manufactured or mobile home
                                                                                                                                  Current value of the      Current value of the
        LAS VEGAS                         NV        89131-0000                         Land                                       entire property?          portion you own?
        City                              State              ZIP Code                  Investment property                               $398,594.00                $398,594.00
                                                                                       Timeshare
                                                                                                                                  Describe the nature of your ownership interest
                                                                                       Other                                      (such as fee simple, tenancy by the entireties, or
                                                                                Who has an interest in the property? Check one    a life estate), if known.
                                                                                       Debtor 1 only
        Clark                                                                          Debtor 2 only
        County                                                                         Debtor 1 and Debtor 2 only
                                                                                                                                       Check if this is community property
                                                                                       At least one of the debtors and another         (see instructions)
                                                                                Other information you wish to add about this item, such as local
                                                                                property identification number:
                                                                                Current Value is an estimate from zillow.com.


 2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for
    pages you have attached for Part 1. Write that number here...........................................................................=>                      $398,594.00

 Part 2: Describe Your Vehicles

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles you own that
someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.




Official Form 106A/B                                                                  Schedule A/B: Property                                                                   page 1
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 Debtor 1        Adam Edward Mallas                                                                                 Case number (if known)

3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

        No
        Yes


  3.1    Make:       Ford                                      Who has an interest in the property? Check one                 Do not deduct secured claims or exemptions. Put
                                                                                                                              the amount of any secured claims on Schedule D:
         Model:      Mustang GT                                      Debtor 1 only                                            Creditors Who Have Claims Secured by Property.
         Year:       2003                                            Debtor 2 only                                            Current value of the      Current value of the
         Approximate mileage:                   67000                Debtor 1 and Debtor 2 only                               entire property?          portion you own?
         Other information:                                          At least one of the debtors and another
         value is based on Kelley Blue
         Book trade in value                                         Check if this is community property                                $4,704.00                  $4,704.00
                                                                     (see instructions)



  3.2    Make:       Hyundai                                   Who has an interest in the property? Check one                 Do not deduct secured claims or exemptions. Put
                                                                                                                              the amount of any secured claims on Schedule D:
         Model:      Azera                                           Debtor 1 only                                            Creditors Who Have Claims Secured by Property.
         Year:       2013                                            Debtor 2 only                                            Current value of the      Current value of the
         Approximate mileage:                   31277                Debtor 1 and Debtor 2 only                               entire property?          portion you own?
         Other information:                                          At least one of the debtors and another
         current value is estimated -
         vehicle is leased                                           Check if this is community property                              $18,975.00                 $18,975.00
                                                                     (see instructions)




4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
   Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories

        No
        Yes

  4.1    Make:       Nordic boat and trailer                   Who has an interest in the property? Check one
                                                                                                                              Do not deduct secured claims or exemptions. Put
                                                                                                                              the amount of any secured claims on Schedule D:
         Model:      Heat                                            Debtor 1 only                                            Creditors Who Have Claims Secured by Property.
         Year:       2004                                            Debtor 2 only                                            Current value of the      Current value of the
                                                                     Debtor 1 and Debtor 2 only                               entire property?          portion you own?
         Other information:                                          At least one of the debtors and another
         Value obtained from                                         Check if this is community property                             $31,655.00                  $31,655.00
         NADAguides.com                                              (see instructions)




 5 Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for
   .pages you have attached for Part 2. Write that number here.............................................................................=>                 $55,334.00


 Part 3: Describe Your Personal and Household Items
 Do you own or have any legal or equitable interest in any of the following items?                                                                   Current value of the
                                                                                                                                                     portion you own?
                                                                                                                                                     Do not deduct secured
                                                                                                                                                     claims or exemptions.
6. Household goods and furnishings
   Examples: Major appliances, furniture, linens, china, kitchenware
     No
        Yes. Describe.....

                                    Miscellaneous Appliances including two refrigerators, microwave,
                                    dishwasher, washer, dryer, stove, oven, etc.
                                    Current Value is estimated.
                                    Location: 7510 BROOKWOOD AVENUE, LAS VEGAS NV 89131                                                                               $625.00




Official Form 106A/B                                                       Schedule A/B: Property                                                                         page 2
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 Debtor 1       Adam Edward Mallas                                                                  Case number (if known)


                                    Miscellaneous household goods and furnishings including couch,
                                    tables, end tables, dishes, beds, dressers, chest of drawers,
                                    miscellaneous kitchen applicances, knick knacks, armoire, etc.
                                    Current Value is estimated.
                                    Location: 7510 BROOKWOOD AVENUE, LAS VEGAS NV 89131                                                          $1,250.00


                                    Miscellaneous linens, etc.
                                    Current Value is estimated.
                                    Location: 7510 BROOKWOOD AVENUE, LAS VEGAS NV 89131                                                            $200.00


7. Electronics
   Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music collections; electronic devices
              including cell phones, cameras, media players, games
      No
        Yes. Describe.....

                                    TVs
                                    Current Value is estimated.
                                    Location: 7510 BROOKWOOD AVENUE, LAS VEGAS NV 89131                                                            $400.00


                                    two stereos with speakers
                                    Current Value is estimated.
                                    Location: 7510 BROOKWOOD AVENUE, LAS VEGAS NV 89131                                                            $100.00


                                    two game consoles
                                    Current Value is estimated.
                                    Location: 7510 BROOKWOOD AVENUE, LAS VEGAS NV 89131                                                            $100.00


                                    cell phones, iPad, iPod, tablet
                                    Current Value is estimated.
                                    Location: 7510 BROOKWOOD AVENUE, LAS VEGAS NV 89131                                                            $300.00


8. Collectibles of value
   Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects; stamp, coin, or baseball card collections;
               other collections, memorabilia, collectibles
      No
        Yes. Describe.....

                                    Miscellaneous knick knacks/football photos, etc.
                                    Value is estimated                                                                                             $100.00


9. Equipment for sports and hobbies
   Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes and kayaks; carpentry tools;
             musical instruments
     No
        Yes. Describe.....

                                    Pool table
                                    Current Value is estimated.
                                    Location: 7510 BROOKWOOD AVENUE, LAS VEGAS NV 89131                                                            $200.00


                                    Ping-pong table
                                    Current Value is estimated.
                                    Location: 7510 BROOKWOOD AVENUE, LAS VEGAS NV 89131                                                              $75.00


Official Form 106A/B                                                 Schedule A/B: Property                                                            page 3
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                                            Treadmill
                                            Current Value is estmiated.
                                            Location: 7510 BROOKWOOD AVENUE, LAS VEGAS NV 89131                                                                       $150.00


10. Firearms
     Examples: Pistols, rifles, shotguns, ammunition, and related equipment
        No
        Yes. Describe.....

11. Clothes
    Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
      No
        Yes. Describe.....

                                            Miscellaneous Clothing
                                            Current Value is estimated.
                                            Location: 7510 BROOKWOOD AVENUE, LAS VEGAS NV 89131                                                                       $500.00


12. Jewelry
     Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems, gold, silver
      No
        Yes. Describe.....

                                            Wedding rings
                                            Current Value is estimated.
                                            Location: 7510 BROOKWOOD AVENUE, LAS VEGAS NV 89131                                                                     $3,000.00


                                            Miscellaneous costume jewelry including necklaces, earrings,
                                            bracelets, etc.                                                                                                           $500.00


13. Non-farm animals
    Examples: Dogs, cats, birds, horses
     No
        Yes. Describe.....

                                            Three small dogs
                                            Current Value is estimated.
                                            Location: 7510 BROOKWOOD AVENUE, LAS VEGAS NV 89131                                                                           $0.00


14. Any other personal and household items you did not already list, including any health aids you did not list
        No
        Yes. Give specific information.....


 15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached
     for Part 3. Write that number here ..............................................................................                                          $7,500.00


 Part 4: Describe Your Financial Assets
 Do you own or have any legal or equitable interest in any of the following?                                                                           Current value of the
                                                                                                                                                       portion you own?
                                                                                                                                                       Do not deduct secured
                                                                                                                                                       claims or exemptions.

16. Cash
    Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition
        No
        Yes................................................................................................................

Official Form 106A/B                                                                       Schedule A/B: Property                                                         page 4
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17. Deposits of money
    Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses, and other similar
                  institutions. If you have multiple accounts with the same institution, list each.
     No
     Yes........................                                     Institution name:
                                                                               Checking Account ending in 6530
                                                                               America First Credit Union
                                                                               Current Value is estimated.
                                                                               7130 NORTH DURANGO DRIVE, LAS VEGAS,
                                         17.1.    Checking                     NEVADA 89149                                                        $2,381.68

                                                                               Savings Account Ending in 6530
                                                                               America First Credit Union
                                                                               Current Value is estimated.
                                                                               7130 NORTH DURANGO DRIVE, LAS VEGAS,
                                         17.2.    Savings                      NEVADA 89149                                                        $3,000.00


18. Bonds, mutual funds, or publicly traded stocks
    Examples: Bond funds, investment accounts with brokerage firms, money market accounts
        No
        Yes..................                    Institution or issuer name:

19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in an LLC, partnership, and
    joint venture
      No
        Yes. Give specific information about them...................
                                   Name of entity:                                                                % of ownership:

                                            100% A&E Auto Wholesale LLC dba A&E Auto
                                            Sales
                                            3871 South Valley View Blvd, Suite 1, Las Vegas,
                                            Nevada 89103
                                            (mailing address is 6440 Sky Point Drive
                                            #140-286, Las Vegas, Nevada 89131)
                                            Debtor was operating company through April
                                            2017
                                            Business is no longer operating - Liabilities far
                                            exceed assets and therefore value is estimated
                                            at $0                                                                      100          %                    $0.00


20. Government and corporate bonds and other negotiable and non-negotiable instruments
    Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
    Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
        No
        Yes. Give specific information about them
                                    Issuer name:

21. Retirement or pension accounts
    Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
        No
        Yes. List each account separately.
                                Type of account:                               Institution name:

22. Security deposits and prepayments
    Your share of all unused deposits you have made so that you may continue service or use from a company
    Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications companies, or others
        No
        Yes. .....................                                             Institution name or individual:

23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
        No
        Yes.............             Issuer name and description.


Official Form 106A/B                                                    Schedule A/B: Property                                                           page 5
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24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
    26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
        No
        Yes.............        Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):

25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers exercisable for your benefit
        No
        Yes. Give specific information about them...

26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
    Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
        No
        Yes. Give specific information about them...

27. Licenses, franchises, and other general intangibles
     Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses
        No
        Yes. Give specific information about them...

 Money or property owed to you?                                                                                                      Current value of the
                                                                                                                                     portion you own?
                                                                                                                                     Do not deduct secured
                                                                                                                                     claims or exemptions.

28. Tax refunds owed to you
      No
        Yes. Give specific information about them, including whether you already filed the returns and the tax years.......



                                                         Tax Refund
                                                             (amount is estimated)                             Federal                          $11,860.00


29. Family support
     Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
        No
        Yes. Give specific information......


30. Other amounts someone owes you
    Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation, Social Security
              benefits; unpaid loans you made to someone else
        No
        Yes. Give specific information..

31. Interests in insurance policies
     Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner’s, or renter’s insurance
      No
        Yes. Name the insurance company of each policy and list its value.
                                 Company name:                                                  Beneficiary:                          Surrender or refund
                                                                                                                                      value:

                                         Non-filing spouse's term life insurance
                                         policy through her employer
                                         (value is estimated at $0 - no value
                                         unless non-filing spouse passess
                                         away. Debtor believes that face value is
                                         $100,000. No cash value)                               Debtor                                                  $0.00


32. Any interest in property that is due you from someone who has died
    If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive property because
    someone has died.
        No


Official Form 106A/B                                                 Schedule A/B: Property                                                             page 6
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 Debtor 1        Adam Edward Mallas                                                                                              Case number (if known)

        Yes. Give specific information..


33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
    Examples: Accidents, employment disputes, insurance claims, or rights to sue
      No
        Yes. Describe each claim.........

                                                          Possible claims against Tron Slade for misappropriation of
                                                          funds from A&E Auto/mismanagement -1865 Granemore, Las
                                                          Vegas, NV 89135 [value is unknown]                                                                           Unknown


                                                          Possible Claims against Nextgear for tortious interference
                                                          with contractual relationship. Claims primarily belong to A&E
                                                          Auto Sales, but because debtor has personal guarantees,
                                                          these claims would affect Debtor's liability to Nextgear and
                                                          others. Nextgear began contacting various banks that
                                                          provided financing for A&E's customers and told them not to
                                                          fund vehicle contracts. This caused significant financial
                                                          problems with the business and ultimately contributed to the
                                                          business' failure.                                                                                           Unknown


34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights to set off claims
        No
        Yes. Describe each claim.........

35. Any financial assets you did not already list
        No
        Yes. Give specific information..


 36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
     for Part 4. Write that number here.....................................................................................................................      $17,241.68


 Part 5: Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

37. Do you own or have any legal or equitable interest in any business-related property?
       No. Go to Part 6.
       Yes. Go to line 38.



 Part 6:   Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
           If you own or have an interest in farmland, list it in Part 1.


46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
           No. Go to Part 7.
           Yes. Go to line 47.


 Part 7:         Describe All Property You Own or Have an Interest in That You Did Not List Above


53. Do you have other property of any kind you did not already list?
    Examples: Season tickets, country club membership
        No
        Yes. Give specific information.........


 54. Add the dollar value of all of your entries from Part 7. Write that number here ....................................                                               $0.00




Official Form 106A/B                                                           Schedule A/B: Property                                                                        page 7
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 Debtor 1         Adam Edward Mallas                                                                                                    Case number (if known)

 Part 8:         List the Totals of Each Part of this Form

 55. Part 1: Total real estate, line 2 ......................................................................................................................              $398,594.00
 56. Part 2: Total vehicles, line 5                                                                           $55,334.00
 57. Part 3: Total personal and household items, line 15                                                       $7,500.00
 58. Part 4: Total financial assets, line 36                                                                  $17,241.68
 59. Part 5: Total business-related property, line 45                                                              $0.00
 60. Part 6: Total farm- and fishing-related property, line 52                                                     $0.00
 61. Part 7: Total other property not listed, line 54                                             +                $0.00

 62. Total personal property. Add lines 56 through 61...                                                      $80,075.68              Copy personal property total           $80,075.68

 63. Total of all property on Schedule A/B. Add line 55 + line 62                                                                                                        $478,669.68




Official Form 106A/B                                                               Schedule A/B: Property                                                                            page 8
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                                        Best Case Bankruptcy
                        Case 17-12181-abl                       Doc 1        Entered 04/27/17 18:25:30                     Page 23 of 373
 Fill in this information to identify your case:

 Debtor 1                 Adam Edward Mallas
                          First Name                        Middle Name                 Last Name

 Debtor 2
 (Spouse if, filing)      First Name                        Middle Name                 Last Name


 United States Bankruptcy Court for the:              DISTRICT OF NEVADA

 Case number
 (if known)                                                                                                                               Check if this is an
                                                                                                                                          amended filing


Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                                    4/16

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Using
the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more space is
needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write your name and
case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount of
any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt retirement
funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that limits the
exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption would be limited
to the applicable statutory amount.

 Part 1:        Identify the Property You Claim as Exempt

 1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.

           You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)

           You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

 2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.
      Brief description of the property and line on            Current value of the   Amount of the exemption you claim        Specific laws that allow exemption
      Schedule A/B that lists this property                    portion you own
                                                               Copy the value from    Check only one box for each exemption.
                                                               Schedule A/B

      7510 BROOKWOOD AVENUE LAS                                      $398,594.00                               $47,488.45      Nev. Rev. Stat. §§ 21.090(1)(l)
      VEGAS, NV 89131 Clark County                                                                                             and 115.050
      Current Value is an estimate from                                                    100% of fair market value, up to
      zillow.com.                                                                          any applicable statutory limit
      Line from Schedule A/B: 1.1

      2003 Ford Mustang GT 67000 miles                                 $4,704.00                                 $4,704.00     Nev. Rev. Stat. § 21.090(1)(f)
      value is based on Kelley Blue Book
      trade in value                                                                       100% of fair market value, up to
      Line from Schedule A/B: 3.1                                                          any applicable statutory limit

      2004 Nordic boat and trailer Heat                               $31,655.00                                               Nev. Rev. Stat. § 21.090(1)(z)
      Value obtained from
      NADAguides.com                                                                       100% of fair market value, up to
      Line from Schedule A/B: 4.1                                                          any applicable statutory limit


      Miscellaneous Appliances including                                  $625.00                                  $625.00     Nev. Rev. Stat. § 21.090(1)(b)
      two refrigerators, microwave,
      dishwasher, washer, dryer, stove,                                                    100% of fair market value, up to
      oven, etc.                                                                           any applicable statutory limit
      Current Value is estimated.
      Location: 7510 BROOKWOOD
      AVENUE, LAS VEGAS NV 89131
      Line from Schedule A/B: 6.1




Official Form 106C                                      Schedule C: The Property You Claim as Exempt                                                      page 1 of 4
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                        Case 17-12181-abl                       Doc 1        Entered 04/27/17 18:25:30                     Page 24 of 373
 Debtor 1    Adam Edward Mallas                                                                          Case number (if known)

     Brief description of the property and line on             Current value of the   Amount of the exemption you claim           Specific laws that allow exemption
     Schedule A/B that lists this property                     portion you own
                                                               Copy the value from    Check only one box for each exemption.
                                                               Schedule A/B

     Miscellaneous household goods and                                $1,250.00                                  $1,250.00        Nev. Rev. Stat. § 21.090(1)(b)
     furnishings including couch, tables,
     end tables, dishes, beds, dressers,                                                   100% of fair market value, up to
     chest of drawers, miscellaneous                                                       any applicable statutory limit
     kitchen applicances, knick knacks,
     armoire, etc.
     Current Value is estimated.
     Location: 7510 BROOKWOOD
     AVENUE, LAS
     Line from Schedule A/B: 6.2

     Miscellaneous linens, etc.                                          $200.00                                   $200.00        Nev. Rev. Stat. § 21.090(1)(b)
     Current Value is estimated.
     Location: 7510 BROOKWOOD                                                              100% of fair market value, up to
     AVENUE, LAS VEGAS NV 89131                                                            any applicable statutory limit
     Line from Schedule A/B: 6.3

     TVs                                                                 $400.00                                   $400.00        Nev. Rev. Stat. § 21.090(1)(b)
     Current Value is estimated.
     Location: 7510 BROOKWOOD                                                              100% of fair market value, up to
     AVENUE, LAS VEGAS NV 89131                                                            any applicable statutory limit
     Line from Schedule A/B: 7.1

     two stereos with speakers                                           $100.00                                   $100.00        Nev. Rev. Stat. § 21.090(1)(b)
     Current Value is estimated.
     Location: 7510 BROOKWOOD                                                              100% of fair market value, up to
     AVENUE, LAS VEGAS NV 89131                                                            any applicable statutory limit
     Line from Schedule A/B: 7.2

     two game consoles                                                   $100.00                                   $100.00        Nev. Rev. Stat. § 21.090(1)(b)
     Current Value is estimated.
     Location: 7510 BROOKWOOD                                                              100% of fair market value, up to
     AVENUE, LAS VEGAS NV 89131                                                            any applicable statutory limit
     Line from Schedule A/B: 7.3

     cell phones, iPad, iPod, tablet                                     $300.00                                   $300.00        Nev. Rev. Stat. § 21.090(1)(b)
     Current Value is estimated.
     Location: 7510 BROOKWOOD                                                              100% of fair market value, up to
     AVENUE, LAS VEGAS NV 89131                                                            any applicable statutory limit
     Line from Schedule A/B: 7.4

     cell phones, iPad, iPod, tablet                                     $300.00                                                  Nev. Rev. Stat. § 21.090(1)(z)
     Current Value is estimated.
     Location: 7510 BROOKWOOD                                                              100% of fair market value, up to
     AVENUE, LAS VEGAS NV 89131                                                            any applicable statutory limit
     Line from Schedule A/B: 7.4

     Miscellaneous knick knacks/football                                 $100.00                                   $100.00        Nev. Rev. Stat. § 21.090(1)(a)
     photos, etc.
     Value is estimated                                                                    100% of fair market value, up to
     Line from Schedule A/B: 8.1                                                           any applicable statutory limit

     Miscellaneous knick knacks/football                                 $100.00                                                  Nev. Rev. Stat. § 21.090(1)(z)
     photos, etc.
     Value is estimated                                                                    100% of fair market value, up to
     Line from Schedule A/B: 8.1                                                           any applicable statutory limit




Official Form 106C                                      Schedule C: The Property You Claim as Exempt                                                         page 2 of 4
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                        Case 17-12181-abl                       Doc 1        Entered 04/27/17 18:25:30                     Page 25 of 373
 Debtor 1    Adam Edward Mallas                                                                          Case number (if known)

     Brief description of the property and line on             Current value of the   Amount of the exemption you claim           Specific laws that allow exemption
     Schedule A/B that lists this property                     portion you own
                                                               Copy the value from    Check only one box for each exemption.
                                                               Schedule A/B

     Pool table                                                          $200.00                                   $200.00        Nev. Rev. Stat. § 21.090(1)(b)
     Current Value is estimated.
     Location: 7510 BROOKWOOD                                                              100% of fair market value, up to
     AVENUE, LAS VEGAS NV 89131                                                            any applicable statutory limit
     Line from Schedule A/B: 9.1

     Pool table                                                          $200.00                                                  Nev. Rev. Stat. § 21.090(1)(z)
     Current Value is estimated.
     Location: 7510 BROOKWOOD                                                              100% of fair market value, up to
     AVENUE, LAS VEGAS NV 89131                                                            any applicable statutory limit
     Line from Schedule A/B: 9.1

     Ping-pong table                                                      $75.00                                    $75.00        Nev. Rev. Stat. § 21.090(1)(b)
     Current Value is estimated.
     Location: 7510 BROOKWOOD                                                              100% of fair market value, up to
     AVENUE, LAS VEGAS NV 89131                                                            any applicable statutory limit
     Line from Schedule A/B: 9.2

     Ping-pong table                                                      $75.00                                                  Nev. Rev. Stat. § 21.090(1)(z)
     Current Value is estimated.
     Location: 7510 BROOKWOOD                                                              100% of fair market value, up to
     AVENUE, LAS VEGAS NV 89131                                                            any applicable statutory limit
     Line from Schedule A/B: 9.2

     Treadmill                                                           $150.00                                   $150.00        Nev. Rev. Stat. § 21.090(1)(b)
     Current Value is estmiated.
     Location: 7510 BROOKWOOD                                                              100% of fair market value, up to
     AVENUE, LAS VEGAS NV 89131                                                            any applicable statutory limit
     Line from Schedule A/B: 9.3

     Treadmill                                                           $150.00                                                  Nev. Rev. Stat. § 21.090(1)(z)
     Current Value is estmiated.
     Location: 7510 BROOKWOOD                                                              100% of fair market value, up to
     AVENUE, LAS VEGAS NV 89131                                                            any applicable statutory limit
     Line from Schedule A/B: 9.3

     Miscellaneous Clothing                                              $500.00                                   $500.00        Nev. Rev. Stat. § 21.090(1)(b)
     Current Value is estimated.
     Location: 7510 BROOKWOOD                                                              100% of fair market value, up to
     AVENUE, LAS VEGAS NV 89131                                                            any applicable statutory limit
     Line from Schedule A/B: 11.1

     Wedding rings                                                    $3,000.00                                  $3,000.00        Nev. Rev. Stat. § 21.090(1)(a)
     Current Value is estimated.
     Location: 7510 BROOKWOOD                                                              100% of fair market value, up to
     AVENUE, LAS VEGAS NV 89131                                                            any applicable statutory limit
     Line from Schedule A/B: 12.1

     Miscellaneous costume jewelry                                       $500.00                                   $500.00        Nev. Rev. Stat. § 21.090(1)(a)
     including necklaces, earrings,
     bracelets, etc.                                                                       100% of fair market value, up to
     Line from Schedule A/B: 12.2                                                          any applicable statutory limit

     Three small dogs                                                       $0.00                                     $0.00       Nev. Rev. Stat. § 21.090(1)(a)
     Current Value is estimated.
     Location: 7510 BROOKWOOD                                                              100% of fair market value, up to
     AVENUE, LAS VEGAS NV 89131                                                            any applicable statutory limit
     Line from Schedule A/B: 13.1



Official Form 106C                                      Schedule C: The Property You Claim as Exempt                                                         page 3 of 4
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 Debtor 1    Adam Edward Mallas                                                                          Case number (if known)

     Brief description of the property and line on             Current value of the   Amount of the exemption you claim           Specific laws that allow exemption
     Schedule A/B that lists this property                     portion you own
                                                               Copy the value from    Check only one box for each exemption.
                                                               Schedule A/B

     Checking: Checking Account ending                                $2,381.68                                        75%        Nev. Rev. Stat. § 21.090(1)(g)
     in 6530
     America First Credit Union                                                            100% of fair market value, up to
     Current Value is estimated.                                                           any applicable statutory limit
     7130 NORTH DURANGO DRIVE, LAS
     VEGAS, NEVADA 89149
     Line from Schedule A/B: 17.1

     Checking: Checking Account ending                                $2,381.68                                    $250.00        Nev. Rev. Stat. § 21.090(1)(z)
     in 6530
     America First Credit Union                                                            100% of fair market value, up to
     Current Value is estimated.                                                           any applicable statutory limit
     7130 NORTH DURANGO DRIVE, LAS
     VEGAS, NEVADA 89149
     Line from Schedule A/B: 17.1

     Savings: Savings Account Ending in                               $3,000.00                                        75%        Nev. Rev. Stat. § 21.090(1)(g)
     6530
     America First Credit Union                                                            100% of fair market value, up to
     Current Value is estimated.                                                           any applicable statutory limit
     7130 NORTH DURANGO DRIVE, LAS
     VEGAS, NEVADA 89149
     Line from Schedule A/B: 17.2

     Savings: Savings Account Ending in                               $3,000.00                                    $750.00        Nev. Rev. Stat. § 21.090(1)(z)
     6530
     America First Credit Union                                                            100% of fair market value, up to
     Current Value is estimated.                                                           any applicable statutory limit
     7130 NORTH DURANGO DRIVE, LAS
     VEGAS, NEVADA 89149
     Line from Schedule A/B: 17.2

     Federal: Tax Refund                                             $11,860.00                                       $0.00       Nev. Rev. Stat. § 21.090(1)(z)
     (amount is estimated)
     Line from Schedule A/B: 28.1                                                          100% of fair market value, up to
                                                                                           any applicable statutory limit

     Non-filing spouse's term life                                          $0.00                                                 Nev. Rev. Stat. § 21.090(1)(k)
     insurance policy through her
     employer                                                                              100% of fair market value, up to
     (value is estimated at $0 - no value                                                  any applicable statutory limit
     unless non-filing spouse passess
     away. Debtor believes that face value
     is $100,000. No cash value)
     Beneficiary: Debtor
     Line from Schedule A/B: 31.1


 3. Are you claiming a homestead exemption of more than $160,375?
    (Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment.)
            No
            Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
                   No
                   Yes




Official Form 106C                                      Schedule C: The Property You Claim as Exempt                                                         page 4 of 4
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 Fill in this information to identify your case:

 Debtor 1                   Adam Edward Mallas
                            First Name                      Middle Name                      Last Name

 Debtor 2
 (Spouse if, filing)        First Name                      Middle Name                      Last Name


 United States Bankruptcy Court for the:              DISTRICT OF NEVADA

 Case number
 (if known)                                                                                                                                         Check if this is an
                                                                                                                                                    amended filing

Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                           12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space
is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any additional pages, write your name and case
number (if known).
1. Do any creditors have claims secured by your property?
           No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
           Yes. Fill in all of the information below.
 Part 1:        List All Secured Claims
                                                                                                            Column A                 Column B                Column C
 2. List all secured claims. If a creditor has more than one secured claim, list the creditor separately
 for each claim. If more than one creditor has a particular claim, list the other creditors in Part 2. As   Amount of claim          Value of collateral     Unsecured
 much as possible, list the claims in alphabetical order according to the creditor’s name.                  Do not deduct the        that supports this      portion
                                                                                                            value of collateral.     claim                   If any
         AMERICA FIRST CREDIT
 2.1                                                                                                            $36,967.19                 $31,655.00            $5,312.19
         UNION                                    Describe the property that secures the claim:
         Creditor's Name                          2004 Nordic boat and trailer Heat
                                                  Value obtained from
                                                  NADAguides.com
                                                  As of the date you file, the claim is: Check all that
         P.O. BOX 9199                            apply.
         OGDEN, UT 84409                              Contingent
         Number, Street, City, State & Zip Code       Unliquidated
                                                      Disputed
 Who owes the debt? Check one.                    Nature of lien. Check all that apply.
     Debtor 1 only                                    An agreement you made (such as mortgage or secured
     Debtor 2 only                                     car loan)

       Debtor 1 and Debtor 2 only                     Statutory lien (such as tax lien, mechanic's lien)
     At least one of the debtors and another          Judgment lien from a lawsuit
       Check if this claim relates to a               Other (including a right to offset)   Purchase Money Security
       community debt

 Date debt was incurred          2014                      Last 4 digits of account number        6530

 2.2     BANK OF AMERICA                          Describe the property that secures the claim:               $351,105.55                 $398,594.00                     $0.00
         Creditor's Name                          7510 BROOKWOOD AVENUE LAS
                                                  VEGAS, NV 89131 Clark County
                                                  Current Value is an estimate from
                                                  zillow.com.
                                                  As of the date you file, the claim is: Check all that
         P.O. BOX 650070                          apply.
         DALLAS, TX 75265-0070                        Contingent
         Number, Street, City, State & Zip Code       Unliquidated
                                                      Disputed
 Who owes the debt? Check one.                    Nature of lien. Check all that apply.
     Debtor 1 only                                    An agreement you made (such as mortgage or secured
                                                       car loan)
     Debtor 2 only
       Debtor 1 and Debtor 2 only                     Statutory lien (such as tax lien, mechanic's lien)
     At least one of the debtors and another          Judgment lien from a lawsuit
       Check if this claim relates to a               Other (including a right to offset)   Mortgage
       community debt


Official Form 106D                                Schedule D: Creditors Who Have Claims Secured by Property                                                        page 1 of 2
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 Debtor 1 Adam Edward Mallas                                                                                  Case number (if know)
               First Name                  Middle Name                      Last Name


 Date debt was incurred                                      Last 4 digits of account number         0417

         HYUNDAI MOTOR
 2.3                                                                                                                $23,491.78           $18,975.00       $4,516.78
         FINANCE                                    Describe the property that secures the claim:
         Creditor's Name                            2013 Hyundai Azera 31277 miles
                                                    current value is estimated - vehicle
                                                    is leased
                                                    As of the date you file, the claim is: Check all that
         PO BOX 660891                              apply.
         DALLAS, TX 75266-0891                           Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
                                                          car loan)
    Debtor 2 only
       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)   Automobile Lease
       community debt

 Date debt was incurred                                      Last 4 digits of account number         3108


   Add the dollar value of your entries in Column A on this page. Write that number here:                                  $411,564.52
   If this is the last page of your form, add the dollar value totals from all pages.
   Write that number here:                                                                                                 $411,564.52

 Part 2:     List Others to Be Notified for a Debt That You Already Listed
 Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part 1. For example, if a collection agency is
 trying to collect from you for a debt you owe to someone else, list the creditor in Part 1, and then list the collection agency here. Similarly, if you have more
 than one creditor for any of the debts that you listed in Part 1, list the additional creditors here. If you do not have additional persons to be notified for any
 debts in Part 1, do not fill out or submit this page.




Official Form 106D                      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                        page 2 of 2
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 Fill in this information to identify your case:

 Debtor 1                     Adam Edward Mallas
                              First Name                    Middle Name                        Last Name

 Debtor 2
 (Spouse if, filing)          First Name                    Middle Name                        Last Name


 United States Bankruptcy Court for the:                DISTRICT OF NEVADA

 Case number
 (if known)                                                                                                                                               Check if this is an
                                                                                                                                                          amended filing

Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                     12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims. List the other party to
any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Property (Official Form 106A/B) and on
Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any creditors with partially secured claims that are listed in
Schedule D: Creditors Who Have Claims Secured by Property. If more space is needed, copy the Part you need, fill it out, number the entries in the boxes on the
left. Attach the Continuation Page to this page. If you have no information to report in a Part, do not file that Part. On the top of any additional pages, write your
name and case number (if known).
 Part 1:        List All of Your PRIORITY Unsecured Claims
 1.    Do any creditors have priority unsecured claims against you?
           No. Go to Part 2.

           Yes.
 2.    List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For each claim listed,
       identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and show both priority and nonpriority amounts. As much as
       possible, list the claims in alphabetical order according to the creditor’s name. If you have more than two priority unsecured claims, fill out the Continuation Page of
       Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.
       (For an explanation of each type of claim, see the instructions for this form in the instruction booklet.)
                                                                                                                        Total claim          Priority               Nonpriority
                                                                                                                                             amount                 amount
              NEVADA DEPARTMENT OF                                                                                          $156,043.9
 2.1          TAXATION                                               Last 4 digits of account number       6001                      5           $156,043.95                     $0.00
              Priority Creditor's Name
              1550 COLLEGE PKWY STE 115                              When was the debt incurred?           06/2016 - current
              CARSON CITY, NV 89706
              Number Street City State ZIp Code                      As of the date you file, the claim is: Check all that apply
        Who incurred the debt? Check one.                               Contingent
              Debtor 1 only                                             Unliquidated
              Debtor 2 only
                                                                        Disputed
              Debtor 1 and Debtor 2 only                             Type of PRIORITY unsecured claim:
              At least one of the debtors and another                   Domestic support obligations

              Check if this claim is for a community debt               Taxes and certain other debts you owe the government
        Is the claim subject to offset?                                 Claims for death or personal injury while you were intoxicated
              No
                                                                        Other. Specify
              Yes                                                                        Sales Taxes related to operation of A&E Auto
                                                                                         (Debtor believes that Tron Slade is responsible
                                                                                         party and not debtor)

 Part 2:        List All of Your NONPRIORITY Unsecured Claims
 3.    Do any creditors have nonpriority unsecured claims against you?

           No. You have nothing to report in this part. Submit this form to the court with your other schedules.

           Yes.

 4.    List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one nonpriority
       unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already included in Part 1. If more
       than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured claims fill out the Continuation Page of
       Part 2.
                                                                                                                                                              Total claim




Official Form 106 E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                               Page 1 of 198
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 Debtor 1 Adam Edward Mallas                                                                              Case number (if know)

          #1 TRANSMISSION SHOP AND
 4.1      AUTO REPAIR                                                Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          3855 S VALLEY VIEW BLVD                                    When was the debt incurred?
          LAS VEGAS, NV 89103
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Notice only / Business debt


 4.2      1ST RESPONSE AUTO                                          Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          4215 BERTSOS DRIVE                                         When was the debt incurred?
          LAS VEGAS, NV 89103
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Notice only / Business debt


 4.3      700 CREDIT, LLC                                            Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          27777 FRANKLIN RD STE 1850                                 When was the debt incurred?
          SOUTHFIELD, MI 48034
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Notice only / Business debt




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 4.4      777 AUTO GLASS                                             Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          600 BOND STREET                                            When was the debt incurred?
          ELIZABETH, NJ 07206
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Notice only / Business debt


 4.5      A TO Z TRANSPORT LLC                                       Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          16821 W MAGNOLIA ST                                        When was the debt incurred?
          GOODYEAR, AZ 85338
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Notice only / Business debt


 4.6      A&E AUTO SERVICE                                           Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          3871 S VALLEY VIEW BLVD STE 1                              When was the debt incurred?
          LAS VEGAS, NV 89103
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Notice only / Business debt




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          A&E Auto Wholesale, LLC dba A&E
 4.7      Auto Sal                                                   Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          6440 Sky Point Drive, #140-286                             When was the debt incurred?
          Las Vegas, NV 89131
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Notice only / Business debt


          AAA FIRE PROTECTION
 4.8      CORPORATION                                                Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          P.O. BOX 43334                                             When was the debt incurred?
          LAS VEGAS, NV 89116-1334
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Notice only / Business debt


          AAMCO TRANSMISSION
 4.9      COMPLETE CAR CARE                                          Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          23121 ORANGE AVE STE F                                     When was the debt incurred?
          LAKE FOREST, CA 92630
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Notice only / Business debt




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 4.1
 0        ABC HYUNDAI                                                Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          6825 S REDWOOD ST                                          When was the debt incurred?
          LAS VEGAS, NV 89118
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Notice only / Business debt


 4.1
 1        ABS AUTO AUCTIONS                                          Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          341 CORPORATE TERRACE                                      When was the debt incurred?
          CORONA, CA 92879
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Notice only / Business debt


 4.1
 2        ABS AUTO FINANCIAL                                         Last 4 digits of account number       A&E                                           $150,000.00
          Nonpriority Creditor's Name
          341 CORPORATE TERRACE                                      When was the debt incurred?           various
          CORONA, CA 92879
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Personal Guarantee of Flooring Agreement
              Yes                                                       Other. Specify   for A&E Auto Sales




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 4.1
 3        ACE TECH, INC.                                             Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          261 WELCH AVE                                              When was the debt incurred?
          UNION SPRINGS, AL 36089
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Notice only / Business debt


 4.1
 4        ACTION PRINTING SERVICE                                    Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          4855 W DESERT INN RD STE 103                               When was the debt incurred?
          LAS VEGAS, NV 89102
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Notice only / Business debt


 4.1
 5        ADAM DRAKE ROSLING                                         Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          5890 RIVER ROAD NORTH                                      When was the debt incurred?
          KEIZER, OR 97303
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   NOTICE ONLY / BUSINESS VENDOR




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 4.1
 6        ADT SECURITY SERVICES                                      Last 4 digits of account number                                                        Unknown
          Nonpriority Creditor's Name
          P.O. BOX 371878                                            When was the debt incurred?
          PITTSBURGH, PA 15250-7878
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Notice only / Business debt - A&E Auto


 4.1      ADVANCE MUFFLERS &
 7        CATALYTIC CONVERTER                                        Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          7035 W SAHARA AVE STE 200                                  When was the debt incurred?
          LAS VEGAS, NV 89117
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Notice only / Business debt


 4.1
 8        ADVANSTAFF HR                                              Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          8925 W RUSSELL RD STE 100                                  When was the debt incurred?
          LAS VEGAS, NV 89148
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Notice only / Business debt




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 4.1
 9        AHERN RENTALS                                              Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          5915 DEAN MARTIN DR                                        When was the debt incurred?
          LAS VEGAS, NV 89118
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Notice only / Business debt


 4.2
 0        AJAY GERALD DAYAL                                          Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          3659 BUFFLE HEAD ST                                        When was the debt incurred?
          LAS VEGAS, NV 89122
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   NOTICE ONLY / BUSINESS VENDOR


 4.2
 1        ALEJANDRO GARCIA                                           Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          8440 WESTCLIFF DR, APT 2125                                When was the debt incurred?
          LAS VEGAS, NV 89145
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   NOTICE ONLY / BUSINESS VENDOR




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 4.2
 2        ALEXANDER ANATOLY IOFFE                                    Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          3218 CAMBRIDGE HOLLOWS CT                                  When was the debt incurred?
          LAS VEGAS, NV 89135
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   NOTICE ONLY / BUSINESS VENDOR


 4.2
 3        ALEXIA GONZALEZ GODINEZ                                    Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          2137 E SAINT LOUIS AVE                                     When was the debt incurred?
          LAS VEGAS, NV 89104
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   NOTICE ONLY / BUSINESS VENDOR


 4.2
 4        ALEXIS ROGERS                                              Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          3708 STEINBECK DR                                          When was the debt incurred?
          LAS VEGAS, NV 89115
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   NOTICE ONLY / BUSINESS VENDOR




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 4.2
 5        ALFRED SEEI TUIA                                           Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          4485 PENNWOOD AVE, APT 134                                 When was the debt incurred?
          LAS VEGAS, NV 89103
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   NOTICE ONLY / BUSINESS VENDOR


 4.2
 6        ALPHA WARRANTY SERVICES                                    Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          P.O. BOX 580                                               When was the debt incurred?
          RIVERTON, UT 84065
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Notice only / Business debt


 4.2
 7        ALYSSA SWEET                                               Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          2388 VALISSA ST                                            When was the debt incurred?
          HENDERSON, NV 89044
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   NOTICE ONLY / BUSINESS VENDOR




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 4.2
 8        AMANDA AGUILAR                                             Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          7001 W CHARLESTON BLVD, #2010                              When was the debt incurred?
          LAS VEGAS, NV 89117
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   NOTICE ONLY / BUSINESS VENDOR


 4.2
 9        AMANDA VILLAROS                                            Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1308 WINTERGREEN DR                                        When was the debt incurred?
          LAS VEGAS, NV 89128
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   NOTICE ONLY / BUSINESS VENDOR


 4.3
 0        AMAZON FULFILLMENT CENTER                                  Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          410 TERRY AVE N                                            When was the debt incurred?
          SEATTLE, WA 98109
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Notice only / Business debt




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 4.3
 1        AMBER KANANI NASARIO                                       Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          9501 W SAHARA AVE, APT 1222                                When was the debt incurred?
          LAS VEGAS, NV 89117
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   NOTICE ONLY / BUSINESS VENDOR


 4.3
 2        AMERICA FIRST CREDIT UNION                                 Last 4 digits of account number       5303                                             $4,592.00
          Nonpriority Creditor's Name
          P.O. BOX 9199                                              When was the debt incurred?
          OGDEN, UT 84409
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Credit card purchases - Personal Debt


 4.3
 3        ANA LETICIA CRUZ                                           Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          2801 REYNOLDS AVE                                          When was the debt incurred?
          NORTH LAS VEGAS, NV 89030
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   NOTICE ONLY / BUSINESS VENDOR




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 4.3      ANDREW JAMES BENJAMIN
 4        ARCHER                                                     Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          5050 TAMARUS ST, APT 220                                   When was the debt incurred?
          LAS VEGAS, NV 89119
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   NOTICE ONLY / BUSINESS VENDOR


 4.3
 5        ANDREW JAMES EDWARDS                                       Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          3603 PENEDOS DR                                            When was the debt incurred?
          LAS VEGAS, NV 89147
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Notice only / Business debt


 4.3
 6        ANDREW MICHAEL MERIDA                                      Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          3512 CASA ALOT AVE                                         When was the debt incurred?
          NORTH LAS VEGAS, NV 89031
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   NOTICE ONLY / BUSINESS VENDOR




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 4.3
 7        Angel Vargas                                               Last 4 digits of account number       Road                                          $255,000.00
          Nonpriority Creditor's Name
          8333 North Saphire Drive                                   When was the debt incurred?           February 2017
          Saint George, UT 84770
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Personal guarantee of lease for 4085 Blue
                                                                                         Diamond Road, Las Vegas for A&E Auto
              Yes                                                       Other. Specify   Sales


 4.3
 8        ANGELA ELAINE GARDNER                                      Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          5318 SPRING CANYON ST                                      When was the debt incurred?
          NORTH LAS VEGAS, NV 89081
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   NOTICE ONLY / BUSINESS VENDOR


 4.3
 9        ANTHONY ESPINOZA                                           Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          8000 SPRING MOUNTAIN RD, #2124                             When was the debt incurred?
          LAS VEGAS, NV 89117
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   NOTICE ONLY / BUSINESS VENDOR




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 4.4
 0        ANTOINE CLIFFON HALL                                       Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          5113 LOST CANYON DR                                        When was the debt incurred?
          NORTH LAS VEGAS, NV 89031
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   NOTICE ONLY / BUSINESS VENDOR


 4.4
 1        ANY & ALL LOCK & KEY                                       Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          5230 ITHACA AVE                                            When was the debt incurred?
          LAS VEGAS, NV 89122
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Notice only / Business debt


 4.4
 2        APRIL CHRISTINE BUTLER                                     Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1904 SPANGLE DR                                            When was the debt incurred?
          LAS VEGAS, NV 89108
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   NOTICE ONLY / BUSINESS VENDOR




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 4.4
 3        APRIL TUIA                                                 Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          4485 PENNWOOD AVE, APT 134                                 When was the debt incurred?
          LAS VEGAS, NV 89103
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   NOTICE ONLY / BUSINESS VENDOR


 4.4
 4        AQUANDRA WILLIAMS                                          Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          4181 BEECH FAMILY ST                                       When was the debt incurred?
          LAS VEGAS, NV 89115
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   NOTICE ONLY / BUSINESS VENDOR


 4.4
 5        ARAMARK                                                    Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          P.O. BOX 101179                                            When was the debt incurred?
          PASADENA, CA 91189-1179
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Notice Only - Business Debt




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 4.4
 6        ARLENE P SAMPSON                                           Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          7855 DEER SPRINGS WAY, APT                                 When was the debt incurred?
          1009
          LAS VEGAS, NV 89131
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   NOTICE ONLY / BUSINESS VENDOR


 4.4
 7        ARLEY CUETO                                                Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          7348 QUEEN PALM DR                                         When was the debt incurred?
          LAS VEGAS, NV 89128
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   NOTICE ONLY / BUSINESS VENDOR


 4.4
 8        ARMANDO FLORES                                             Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          4911 W VEGAS DR                                            When was the debt incurred?
          LAS VEGAS, NV 89108
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Notice only / Business debt




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 4.4
 9        ARTHUR AMBANTA CATUBAY                                     Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          3204 CRYSTAL POOL DR                                       When was the debt incurred?
          LAS VEGAS, NV 89117
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   NOTICE ONLY / BUSINESS VENDOR


 4.5      ASBURY ENVIRONMENTAL
 0        SERVICES                                                   Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          P.O. BOX 843021                                            When was the debt incurred?
          LOS ANGELES, CA 90084-3021
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Notice only / Business debt


 4.5
 1        ASHLEY JENEEN HARPER                                       Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          6033 DRAFT HORSE DR                                        When was the debt incurred?
          NORTH LAS VEGAS, NV 89081
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   NOTICE ONLY / BUSINESS VENDOR




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 4.5
 2        ASHTON VILLIA JR                                           Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1581 FOXGLOVE DR                                           When was the debt incurred?
          LAS VEGAS, NV 89142
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   NOTICE ONLY / BUSINESS VENDOR


 4.5
 3        AUDI LAS VEGAS                                             Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          6335 W SAHARA AVE                                          When was the debt incurred?
          LAS VEGAS, NV 89146
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Notice only / Business debt


 4.5
 4        AUTO CREDIT EXPRESS                                        Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          DEPT LA 24583                                              When was the debt incurred?
          PASADENA, CA 91185
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Notice only / Business debt




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 4.5
 5        AUTO PEARSON TRANSPORT                                     Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1126 E RODEO RD                                            When was the debt incurred?
          WILLIAMS, AZ 86046
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Notice only / Business debt


 4.5
 6        AUTO TRADER                                                Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          3003 SUMMIT BLVD NE STE 200                                When was the debt incurred?
          ATLANTA, GA 30319
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Notice only / Business debt


 4.5
 7        AUTO ZONE                                                  Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          3455 S DECATUR BLVD                                        When was the debt incurred?
          LAS VEGAS, NV 89102
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Notice only / Business debt




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 Debtor 1 Adam Edward Mallas                                                                              Case number (if know)

 4.5
 8        AUTOBYTEL                                                  Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          18872 MACARTHUR BLVD, #200                                 When was the debt incurred?
          IRVINE, CA 92612
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Notice only / Business debt


 4.5
 9        AUTONATION NISSAN                                          Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          5800 W SAHARA AVE                                          When was the debt incurred?
          LAS VEGAS, NV 89146
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Notice only / Business debt


 4.6
 0        AVIS RENT A CAR                                            Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          3400 E SKY HARBOR BLVD                                     When was the debt incurred?
          PHOENIX, AZ 85034
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Notice only / Business debt




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 4.6
 1        AVRIA LYNETTE HAYES                                        Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          3505 LACEBARK PINE ST                                      When was the debt incurred?
          LAS VEGAS, NV 89129
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   NOTICE ONLY / BUSINESS VENDOR


 4.6
 2        B&R AUTO WRECKING                                          Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          P.O. BOX 640                                               When was the debt incurred?
          CORVALLIS, OR 97339
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Notice only / Business debt


 4.6
 3        BARBARA ANN WHITFIELD KING                                 Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          3260 FOUNTAIN FALLS WAY, #2184                             When was the debt incurred?
          NORTH LAS VEGAS, NV 89032
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   NOTICE ONLY / BUSINESS VENDOR




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 4.6
 4        BARBARA SIMMONS                                            Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          28620 PACIFIC HWY, APT F67                                 When was the debt incurred?
          FEDERAL WAY, WA 98003
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   NOTICE ONLY / BUSINESS VENDOR


 4.6
 5        BARCLAYCARD                                                Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          2280 CORPORATE CIR                                         When was the debt incurred?
          HENDERSON, NV 89074
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Notice only / Business debt


 4.6
 6        BARRY HENDERSON                                            Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          5005 LOSEE RD, #2089                                       When was the debt incurred?
          NORTH LAS VEGAS, NV 89081
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   NOTICE ONLY / BUSINESS VENDOR




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 4.6
 7        BARRY JAY HENDERSON JR                                     Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          5005 LOSEE RD, #2089                                       When was the debt incurred?
          NORTH LAS VEGAS, NV 89081
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   NOTICE ONLY / BUSINESS VENDOR


 4.6                                                                                                       A&E Auto
 8        BHFC FINANCIAL SERVICES                                    Last 4 digits of account number       Sales                                            Unknown
          Nonpriority Creditor's Name
          7017 N 56TH AVE                                            When was the debt incurred?
          GLENDALE, AZ 85301
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Notice only / Business debt- possible
              Yes                                                       Other. Specify   personal guaranty


 4.6
 9        BIANCA ECHOLE SANDERS                                      Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          6760 DIAMOND CARE DR                                       When was the debt incurred?
          LAS VEGAS, NV 89122
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   NOTICE ONLY / BUSINESS VENDOR




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 4.7
 0        BOBBY'S MOTOR WORKS, LLC                                   Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          3863 S VALLEY VIEW BLVD STE 21                             When was the debt incurred?
          LAS VEGAS, NV 89103
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Notice only / Business debt


 4.7
 1        BRADLEY JOHN DEGROAT                                       Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          4300 N LAMONT ST, APT 271                                  When was the debt incurred?
          LAS VEGAS, NV 89115
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   NOTICE ONLY / BUSINESS VENDOR


 4.7
 2        BRADLEY WEINSTEIN                                          Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          7800 BROOKFIELD COVE AVE                                   When was the debt incurred?
          LAS VEGAS, NV 89131
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   NOTICE ONLY / BUSINESS VENDOR




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 4.7      BRANDEE LEE KALEIOKALANI
 3        CABAG                                                      Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          4760 E CHARLESTON BLVD, #6                                 When was the debt incurred?
          LAS VEGAS, NV 89104
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   NOTICE ONLY / BUSINESS VENDOR


 4.7
 4        BRANDON LEON CHAPMOND                                      Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          9999 W KATIE AVE, UNIT 1355                                When was the debt incurred?
          LAS VEGAS, NV 89147
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   NOTICE ONLY / BUSINESS VENDOR


 4.7
 5        BRANSON SANTANA                                            Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          10650 CLIFF RIDGE AVE                                      When was the debt incurred?
          LAS VEGAS, NV 89129
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   NOTICE ONLY / BUSINESS VENDOR




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 4.7
 6        BREANA ESTELE BELANGER                                     Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          4801 E TROPICANA, APT 22                                   When was the debt incurred?
          LAS VEGAS, NV 89120
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   NOTICE ONLY / BUSINESS VENDOR


 4.7
 7        BRELAND HANEY II                                           Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1025 E DESERT INN RD                                       When was the debt incurred?
          LAS VEGAS, NV 89109
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   NOTICE ONLY / BUSINESS VENDOR


 4.7
 8        BRESHA DEANN GRAHAM                                        Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          4022 SILVER DOLLAR AVE, APT                                When was the debt incurred?
          201
          LAS VEGAS, NV 89102
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   NOTICE ONLY / BUSINESS VENDOR




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 4.7
 9        BRIAN JEFFREY BROOKS                                       Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          3751 S NELLIS BLVD, UNIT 132                               When was the debt incurred?
          LAS VEGAS, NV 89121
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   NOTICE ONLY / BUSINESS VENDOR


 4.8
 0        BRIANA MARY-RENEE BRANCH                                   Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          5005 LOSEE RD, #2089                                       When was the debt incurred?
          NORTH LAS VEGAS, NV 89081
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   NOTICE ONLY / BUSINESS VENDOR


 4.8
 1        BRITTANICA CHUNTAY BRANCH                                  Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          154 FRAPUCCINO AVE                                         When was the debt incurred?
          NORTH LAS VEGAS, NV 89084
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   NOTICE ONLY / BUSINESS VENDOR




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 4.8
 2        BRITTNY RAELYNN KAISER                                     Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1308 WINTERGREEN DR                                        When was the debt incurred?
          LAS VEGAS, NV 89128
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   NOTICE ONLY / BUSINESS VENDOR


 4.8
 3        BUSY BEE TIRE SHOP                                         Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          3890 SPRING MOUNTAIN RD                                    When was the debt incurred?
          LAS VEGAS, NV 89102
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Notice only / Business debt


 4.8      CALIFORNIA REPUBLIC BANK                                                                         A&E Auto
 4        AUTO                                                       Last 4 digits of account number       Sales                                            Unknown
          Nonpriority Creditor's Name
          18400 VON KARMAN AVE, STE                                  When was the debt incurred?
          1100
          IRVINE, CA 92612
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Notice only / Business debt- possible
              Yes                                                       Other. Specify   personal guaranty




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 4.8      CALIFORNIA REPUBLIC BANK
 5        AUTO FINANCE                                               Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          2500 PASEO VERDE PKWY, STE                                 When was the debt incurred?
          100
          HENDERSON, NV 89074
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Notice only / Business debt- possible
              Yes                                                       Other. Specify   personal guaranty


 4.8
 6        CAMEO CHERIE STANCLIFF                                     Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1676 DUARTE DR                                             When was the debt incurred?
          HENDERSON, NV 89014
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   NOTICE ONLY / BUSINESS VENDOR


 4.8
 7        CAMILLE ANN-MARIE MANYAN                                   Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          3150 S NELLIS BLVD, APT 1170                               When was the debt incurred?
          LAS VEGAS, NV 89121
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   NOTICE ONLY / BUSINESS VENDOR




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 4.8
 8        CAPITAL ONE BANK                                           Last 4 digits of account number       1349                                             $1,986.71
          Nonpriority Creditor's Name
          PO BOX 60599                                               When was the debt incurred?           various
          CITY OF INDUSTRY, CA 91766-0599
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only
                                                                        Contingent
              Debtor 2 only
                                                                        Unliquidated
              Debtor 1 and Debtor 2 only
                                                                        Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Credit card purchases - personal


 4.8
 9        CAPITAL ONE BANK                                           Last 4 digits of account number       0756                                               $955.14
          Nonpriority Creditor's Name
          PO BOX 60599                                               When was the debt incurred?           various
          CITY OF INDUSTRY, CA 91766-0599
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only
                                                                        Contingent
              Debtor 2 only
                                                                        Unliquidated
              Debtor 1 and Debtor 2 only
                                                                        Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Credit card purchases- personal


 4.9
 0        CAPITAL ONE BANK                                           Last 4 digits of account number       0310                                             $3,574.41
          Nonpriority Creditor's Name
          PO BOX 60599                                               When was the debt incurred?           various
          CITY OF INDUSTRY, CA 91766-0599
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Credit card purchases- personal




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 4.9
 1        CAPITAL ONE BANK                                           Last 4 digits of account number       9823                                             $3,050.10
          Nonpriority Creditor's Name
          PO BOX 60599                                               When was the debt incurred?           various
          CITY OF INDUSTRY, CA 91766-0599
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Credit card purchases- personal


 4.9
 2        CAPITAL ONE BANK                                           Last 4 digits of account number       6674                                             $5,082.91
          Nonpriority Creditor's Name
          PO BOX 60599                                               When was the debt incurred?           various
          CITY OF INDUSTRY, CA 91766-0599
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Credit card purchases- personal


 4.9
 3        CAPITAL PREMIUM FINANCING                                  Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          12235 S 800 E                                              When was the debt incurred?
          DRAPER, UT 84020
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Notice only / Business debt




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 4.9
 4        CAR KEY                                                    Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          5840 W CRAIG RD, STE 120-123                               When was the debt incurred?
          LAS VEGAS, NV 89130
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Notice only / Business debt


 4.9
 5        CAR.COM INC.                                               Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          DEPT LA 24583                                              When was the debt incurred?
          PASADENA, CA 91185-4583
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Notice only / Business debt


 4.9
 6        CARDINALEWAY MAZDA                                         Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          6950 W SAHARA AVE                                          When was the debt incurred?
          LAS VEGAS, NV 89117
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Notice only / Business debt




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 4.9
 7        CARFAX, INC.                                               Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          16630 COLLECTION CENTER                                    When was the debt incurred?
          DRIVE
          CHICAGO, IL 60693
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Notice only / Business debt


 4.9
 8        CARGURUS, INC.                                             Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          2 CANAL PARK, 4TH FLOOR                                    When was the debt incurred?
          CAMBRIDGE, MA 02141
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Notice only / Business debt


 4.9
 9        CARMAX AUTO FINANCE                                        Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          12800 TUCKAHOE CREEK PKWY                                  When was the debt incurred?
          RICHMOND, VA 23238
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Notice only / Business debt




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 4.1
 00       CASH LOGISTIC                                              Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          22218 RAMONA AVE                                           When was the debt incurred?
          APPLE VALLEY, CA 92307
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Notice only / Business debt


 4.1
 01       CASSANDRA LASHA MCCLAIN                                    Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          82 DOW JONES ST, APT 2                                     When was the debt incurred?
          HENDERSON, NV 89074
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   NOTICE ONLY / BUSINESS VENDOR


 4.1
 02       CECILIA LEPOLO-MUASAU                                      Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          5113 LOST CANYON DR                                        When was the debt incurred?
          NORTH LAS VEGAS, NV 89031
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   NOTICE ONLY / BUSINESS VENDOR




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 4.1
 03       CECILIA LUNA                                               Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          5524 MERRIWEATHER DR                                       When was the debt incurred?
          LAS VEGAS, NV 89113
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   NOTICE ONLY / BUSINESS VENDOR


 4.1
 04       CEDRIC DEMETRIUS HENDERSON                                 Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1750 KAREN AVE, APT 336                                    When was the debt incurred?
          LAS VEGAS, NV 89169
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   NOTICE ONLY / BUSINESS VENDOR


 4.1
 05       CELESTINE TURNER                                           Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          4300 N LAMONT ST, #202                                     When was the debt incurred?
          LAS VEGAS, NV 89115
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   NOTICE ONLY / BUSINESS VENDOR




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 4.1
 06       CENTRAL DISPATCH                                           Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          26387 NETWORK PLACE                                        When was the debt incurred?
          CHICAGO, IL 60673
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Notice only / Business debt


 4.1
 07       CHANTEL KLINGER                                            Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1921 ALPINE FALLS CT                                       When was the debt incurred?
          Las Vegas, NV 89134
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   NOTICE ONLY / BUSINESS VENDOR


 4.1
 08       CHAPMAN DODGE                                              Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          3175 E SAHARA AVE                                          When was the debt incurred?
          LAS VEGAS, NV 89104
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Notice only / Business debt




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 4.1
 09       CHARLES HALL III                                           Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          951 LAS PALMAS ENTRADA AVE,                                When was the debt incurred?
          1021
          HENDERSON, NV 89012
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   NOTICE ONLY / BUSINESS VENDOR


 4.1
 10       CHASE AUTO FINANCE                                         Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          14800 FRYE RD                                              When was the debt incurred?
          FORT WORTH, TX 76155
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Notice only / Business debt


 4.1
 11       CHASE CARD SERVICES                                        Last 4 digits of account number       8842                                             $3,450.51
          Nonpriority Creditor's Name
          P.O. BOX 94014                                             When was the debt incurred?           various
          PALATINE, IL 60094-4014
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only
                                                                        Contingent
              Debtor 2 only
                                                                        Unliquidated
              Debtor 1 and Debtor 2 only
                                                                        Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Credit card purchases - personal




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 4.1
 12       CHASE VISA                                                 Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          6001 SPRING MOUNTAIN RD                                    When was the debt incurred?
          LAS VEGAS, NV 89146
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Notice only / Business debt


 4.1
 13       CHOICE MEDIA                                               Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          11805 INTERSTATE 27                                        When was the debt incurred?
          AMARILLO, TX 79119
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Notice only / Business debt


 4.1
 14       CHRISTINA NICOLE GEIGER                                    Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          367 KEATING ST                                             When was the debt incurred?
          HENDERSON, NV 89074
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   NOTICE ONLY / BUSINESS VENDOR




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 4.1
 15       CHRISTINE M WHITE                                          Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          4446 ELK POINT CIR                                         When was the debt incurred?
          LAS VEGAS, NV 89147
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   NOTICE ONLY / BUSINESS VENDOR


 4.1
 16       CHRISTINE MARIE CRUZ                                       Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          4545 PENNWOOD AVE, APT 139                                 When was the debt incurred?
          LAS VEGAS, NV 89102
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   NOTICE ONLY / BUSINESS VENDOR


 4.1      CHRISTOPHER ALAN
 17       BROWNWOOD JR                                               Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          2184 N MICHAEL WAY                                         When was the debt incurred?
          LAS VEGAS, NV 89108
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   NOTICE ONLY / BUSINESS VENDOR




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 4.1
 18       CHRISTOPHER MARTINEZ                                       Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
                                                                     When was the debt incurred?

          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Notice only / Business debt. Advanstaff HR
              Yes                                                       Other. Specify   employee.


 4.1
 19       CHRISTOPHER TORRES                                         Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          2137 E SAINT LOUIS AVE                                     When was the debt incurred?
          LAS VEGAS, NV 89104
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   NOTICE ONLY / BUSINESS VENDOR


 4.1      CIERRA INTRIGUE
 20       GILMORE-WITHER                                             Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1212 N JONES BLVD, APT A                                   When was the debt incurred?
          LAS VEGAS, NV 89108
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   NOTICE ONLY / BUSINESS VENDOR




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 4.1                                                                                                       A&E Auto
 21       CIG FINANCIAL                                              Last 4 digits of account number       Sales                                            Unknown
          Nonpriority Creditor's Name
          6 EXECUTIVE CIRCLE                                         When was the debt incurred?
          IRVINE, CA 92614
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Notice only / Business debt- possible
              Yes                                                       Other. Specify   personal guaranty


 4.1
 22       CINDY LORENE BROUSSARD                                     Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          2205 DEMETRIUS AVE                                         When was the debt incurred?
          LAS VEGAS, NV 89101
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   NOTICE ONLY / BUSINESS VENDOR


 4.1
 23       CINTAS CORPORATION #59                                     Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          P.O. BOX 29059                                             When was the debt incurred?
          PHOENIX, AZ 85038
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Notice only / Business debt




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 4.1
 24       CITY OF LAS VEGAS                                          Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          P.O. BOX 748031                                            When was the debt incurred?
          LOS ANGELES, CA 90074-8031
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Notice only / Business debt


 4.1
 25       CLARA CECILIA MARIA                                        Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          5419 W TROPICANA AVE, APT 909                              When was the debt incurred?
          LAS VEGAS, NV 89103
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   NOTICE ONLY / BUSINESS VENDOR


 4.1
 26       CLARE BIRMINGHAM                                           Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          7836 BLUE CHARM AVE                                        When was the debt incurred?
          LAS VEGAS, NV 89149
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   NOTICE ONLY / BUSINESS VENDOR




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 4.1      CLARK COUNTY BUSINESS
 27       LICENSE                                                    Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          500 S GRAND CENTRAL PKWY,                                  When was the debt incurred?
          3RD FL
          LAS VEGAS, NV 89155
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Notice only / Business debt


 4.1
 28       CLAUDIA A SARABIA RANGEL                                   Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1050 WHITNEY RANCH DR, #1313                               When was the debt incurred?
          HENDERSON, NV 89014
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   NOTICE ONLY / BUSINESS VENDOR


 4.1
 29       CLEVELAND D MITCHELL                                       Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1808 PRESTON ST, APT C                                     When was the debt incurred?
          NORTH LAS VEGAS, NV 89030
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Notice Only




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 4.1
 30       CMS OF HOLLAND, INC                                        Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          P.O. BOX 819                                               When was the debt incurred?
          HOLLAND, OH 43528
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Notice only / Business debt


 4.1
 31       COAST HOTELS & CASINOS INC                                 Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          4000 W FLAMINGO RD                                         When was the debt incurred?
          LAS VEGAS, NV 89103
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Notice only / Business debt


 4.1
 32       COLTON JON WILLIFORD                                       Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          4860 CONTENTO DIR                                          When was the debt incurred?
          NORTH LAS VEGAS, NV 89031
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   NOTICE ONLY / BUSINESS VENDOR




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 4.1
 33       COMMERCIAL EQUIPMENT REPAIR                                Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          2109 N DECATUR BLVD                                        When was the debt incurred?
          LAS VEGAS, NV 89108
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Notice only / Business debt


 4.1
 34       CONSTANT F YOUNG                                           Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          3940 SCOTT ROGINSON BLVD,                                  When was the debt incurred?
          #1111
          NORTH LAS VEGAS, NV 89032
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   NOTICE ONLY / BUSINESS VENDOR


 4.1
 35       CORINTHIANS JAMES HEATH                                    Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          4212 LENTIL CT                                             When was the debt incurred?
          LAS VEGAS, NV 89129
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   NOTICE ONLY / BUSINESS VENDOR




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 4.1
 36       COX COMMUNICATION, INC                                     Last 4 digits of account number                                                        Unknown
          Nonpriority Creditor's Name
          PO BOX 53262                                               When was the debt incurred?
          PHOENIX, AZ 85072-3262
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Cable TV/Internet/Phone - A&E Auto Sales


 4.1                                                                                                       A&E Auto
 37       COX COMMUNICATIONS, INC.                                   Last 4 digits of account number       Sales                                                  $0.00
          Nonpriority Creditor's Name
          6205-B PEACHTREE DUNWOODY                                  When was the debt incurred?
          RD NE
          ATLANTA, GA 30328
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Notice only / Business debt


 4.1
 38       CRAIGSLIST                                                 Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1381 9TH AVE                                               When was the debt incurred?
          SAN FRANCISCO, CA 94122
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Notice only / Business debt




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 4.1      CREDIT ACCEPTANCE                                                                                A&E Auto
 39       CORPORATION                                                Last 4 digits of account number       Sales                                            Unknown
          Nonpriority Creditor's Name
          2460 PASEO VERDE PKWY, STE                                 When was the debt incurred?
          110
          HENDERSON, NV 89074
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Notice only / Business debt- possible
              Yes                                                       Other. Specify   personal guaranty


 4.1
 40       CROSSCHECK, INC                                            Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          P.O. BOX 6008                                              When was the debt incurred?
          PETALUMA, CA 94955-6008
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Notice only / Business debt


 4.1
 41       CSB TECHNOLOGIES                                           Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          14260 GARDEN RD                                            When was the debt incurred?
          POWAY, CA 92064
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Notice only / Business debt




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 4.1
 42       CYLE JOSEPH BRISTER                                        Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          250 E FLAMINGO, APT 235                                    When was the debt incurred?
          LAS VEGAS, NV 89169
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   NOTICE ONLY / BUSINESS VENDOR


 4.1
 43       CYNTHIA DOMINGUEZ                                          Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          6311 FELICITAS AVE                                         When was the debt incurred?
          LAS VEGAS, NV 89122
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   NOTICE ONLY / BUSINESS VENDOR


 4.1
 44       CYNTHIA MARIA FISHER                                       Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          325 N GIBSON RD                                            When was the debt incurred?
          HENDERSON, NV 89014
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   NOTICE ONLY / BUSINESS VENDOR




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 4.1
 45       D & D CAR COMPANY                                          Last 4 digits of account number       A&E Auto                                               $0.00
          Nonpriority Creditor's Name
          2018 E BROOKWOOD CT                                        When was the debt incurred?           various
          PHOENIX, AZ 85048
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Notice Only - Business Debt - A&E Auto


 4.1
 46       DALI TRANSPORTATION                                        Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          129 FOSTER LANE                                            When was the debt incurred?
          PALM COAST, FL 32164
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Notice only / Business debt


 4.1
 47       DAMAURYION TERRELL WALLS                                   Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          10192 S MARYLAND PKWY, #2081                               When was the debt incurred?
          LAS VEGAS, NV 89183
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   NOTICE ONLY / BUSINESS VENDOR




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 4.1
 48       DAMEON VARNELL JACKSON                                     Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          3326 HILLSIDE GARDEN DR                                    When was the debt incurred?
          LAS VEGAS, NV 89135
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   NOTICE ONLY / BUSINESS VENDOR


 4.1      DANIEL PETER CONFROY
 49       ALDWELL                                                    Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          999 S LAS VEGAS BLVD, #2805                                When was the debt incurred?
          LAS VEGAS, NV 89118
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   NOTICE ONLY / BUSINESS VENDOR


 4.1
 50       DANIELA V MARTINEZ MELCHOR                                 Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          9901 W SAHARA AVE, APT 2038                                When was the debt incurred?
          LAS VEGAS, NV 89117
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   NOTICE ONLY / BUSINESS VENDOR




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 4.1
 51       DARBY BRAD SANDERS                                         Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          98 S MARTIN LUTHER KING, #194                              When was the debt incurred?
          LAS VEGAS, NV 89106
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   NOTICE ONLY / BUSINESS VENDOR


 4.1
 52       DARNELLA MARIA BIRD                                        Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          3900 DALECREST DR, APT 1020                                When was the debt incurred?
          LAS VEGAS, NV 89129
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   NOTICE ONLY / BUSINESS VENDOR


 4.1
 53       DARRYL LORENZ                                              Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1020 E DESERT INN RD, APT 1104                             When was the debt incurred?
          LAS VEGAS, NV 89109
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   NOTICE ONLY / BUSINESS VENDOR




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 4.1
 54       DARYL CHASE PASSANANTE                                     Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          501 E LAKE MEAD PKWY, APT 1117                             When was the debt incurred?
          HENDERSON, NV 89015
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   NOTICE ONLY / BUSINESS VENDOR


 4.1
 55       DATASPHERE                                                 Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          3350 161ST AVE SE                                          When was the debt incurred?
          BELLEVUE, WA 98008
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Notice only / Business debt


 4.1
 56       DAVID CASE                                                 Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          2325 HOLLOW OAK AVE                                        When was the debt incurred?
          NORTH LAS VEGAS, NV 89031
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   NOTICE ONLY / BUSINESS VENDOR




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 4.1
 57       DAVID CHRISTOPHER EARL                                     Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          5816 POST MOUNTAIN ST                                      When was the debt incurred?
          NORTH LAS VEGAS, NV 89031
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   NOTICE ONLY / BUSINESS VENDOR


 4.1
 58       DAVID FISHER                                               Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          325 N GIBSON RD                                            When was the debt incurred?
          HENDERSON, NV 89014
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   NOTICE ONLY / BUSINESS VENDOR


 4.1
 59       DEALER CAR SEARCH                                          Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          12912 SHELBYVILLE RD                                       When was the debt incurred?
          LOUISVILLE, KY 40243
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Notice only / Business debt




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 4.1
 60       DEALER SUPPLY COMPANY                                      Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          9613 PONDEROSA SKYE CT                                     When was the debt incurred?
          LAS VEGAS, NV 89166
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Notice only / Business debt


 4.1
 61       DEALER TRACK                                               Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1111 MARCUS AVE, SUITE M04                                 When was the debt incurred?
          LAKE SUCCESS, NY 11042
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Notice only / Business debt


 4.1
 62       DEALERTRACK                                                Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          2110 LOS FELIZ ST, UNIT 2004                               When was the debt incurred?
          LAS VEGAS, NV 89156-8016
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Notice only / Business debt




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 4.1      DEALERTRACK CENTRAL
 63       DISPATCH, INC.                                             Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          26387 NETWORK PLACE                                        When was the debt incurred?
          CHICAGO, IL 60673
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Notice only / Business debt


 4.1
 64       DEALERTRACK, INC.                                          Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          P.O. BOX 6129                                              When was the debt incurred?
          NEW YORK, NY 10249-6129
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Notice only / Business debt


 4.1
 65       DELEANER RAJKA CALVIN                                      Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          2201 E SAINT LOUIS AVE                                     When was the debt incurred?
          LAS VEGAS, NV 89104
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   NOTICE ONLY / BUSINESS VENDOR




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 4.1
 66       DEMARCO WOODS                                              Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          500 VINCENT WAY                                            When was the debt incurred?
          LAS VEGAS, NV 89145
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   NOTICE ONLY / BUSINESS VENDOR


 4.1
 67       DENISE MCCULLOUGH                                          Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          6573 WOODSWORTH AVE                                        When was the debt incurred?
          LAS VEGAS, NV 89108
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Notice only / Business debt


 4.1      DENISE ROCHELLE
 68       CHARRETT-MCCU                                              Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          6573 WOODSWORTH AVE                                        When was the debt incurred?
          LAS VEGAS, NV 89108
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   NOTICE ONLY / BUSINESS VENDOR




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 4.1
 69       DENNIS CASES CRUZADA                                       Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          4050 PACIFIC HARBORS DR, #115                              When was the debt incurred?
          LAS VEGAS, NV 89121
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   NOTICE ONLY / BUSINESS VENDOR


 4.1
 70       DENNIS DARIO PRECIOSO                                      Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          2 RED RAIL LN                                              When was the debt incurred?
          LADERA RANCH, CA 92694
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   NOTICE ONLY / BUSINESS VENDOR


 4.1
 71       DENNIS PRECIOSO                                            Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          2 RED RAIL LN                                              When was the debt incurred?
          LADERA RANCH, CA 92694
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Notice only / Business debt




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 4.1
 72       DEREK J GOYEAU                                             Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          10612 PRIMROSE ARBOR AVE                                   When was the debt incurred?
          LAS VEGAS, NV 89144
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   NOTICE ONLY / BUSINESS VENDOR


 4.1
 73       DEREK MICHAEL LAWRENCE                                     Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          9745 GREEN TETON DR                                        When was the debt incurred?
          LAS VEGAS, NV 89166
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   NOTICE ONLY / BUSINESS VENDOR


 4.1
 74       DESERT 215 SUPERSTORE                                      Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          8030 RAFAEL RIVERA WAY                                     When was the debt incurred?
          LAS VEGAS, NV 89113
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Notice only / Business debt




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 4.1
 75       DESHALLA MARIE HARRIS                                      Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1108 PLANTATION CT, APT B                                  When was the debt incurred?
          LAS VEGAS, NV 89117
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   NOTICE ONLY / BUSINESS VENDOR


 4.1      DESIRE KUU LEO NAHINAHI
 76       EVANS                                                      Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          3500 BROADWAY AVE                                          When was the debt incurred?
          NORTH LAS VEGAS, NV 89030
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Credit Card


 4.1
 77       DESTINY RAE OBRIEN                                         Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1333 HILLSWAY DR                                           When was the debt incurred?
          LAS VEGAS, NV 89110
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   NOTICE ONLY / BUSINESS VENDOR




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 4.1
 78       DEVIN CREIGHTON BAILEY                                     Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          9650 ENSWORTH ST, APT 213                                  When was the debt incurred?
          LAS VEGAS, NV 89123
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   NOTICE ONLY / BUSINESS VENDOR


 4.1
 79       DIANA BARRIE-IOFFE                                         Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          3218 CAMBRIDGE HOLLOWS CT                                  When was the debt incurred?
          LAS VEGAS, NV 89135
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   NOTICE ONLY / BUSINESS VENDOR


 4.1
 80       DIAZ OIL DISTRIBUTORS                                      Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1931 SILVER CREST CT                                       When was the debt incurred?
          NORTH LAS VEGAS, NV 89031
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Notice only / Business debt




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 4.1
 81       DINGMAN TRANSPORT LLC                                      Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          117 CENTER POINT RD                                        When was the debt incurred?
          ELKLAND, MO 65644
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Notice only / Business debt


 4.1
 82       DIONNE APRIL TSUNETA                                       Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1505 BREEZE CANYON DR                                      When was the debt incurred?
          LAS VEGAS, NV 89117
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   NOTICE ONLY / BUSINESS VENDOR


 4.1
 83       DIRECTV                                                    Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          2230 E IMPERIAL HWY                                        When was the debt incurred?
          EL SEGUNDO, CA 90245
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Notice only / Business debt




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 4.1
 84       DISCOUNT TIRE COMPANY                                      Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          24350 N 20TH DR                                            When was the debt incurred?
          BLDG C, STE 134
          PHOENIX, AZ 85085
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Notice only / Business debt


 4.1
 85       DISCOVER                                                   Last 4 digits of account number       6795                                             $5,235.80
          Nonpriority Creditor's Name
          P.O. BOX 51908                                             When was the debt incurred?
          LOS ANGELES, CA 90051-6208
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only
                                                                        Contingent
              Debtor 2 only
                                                                        Unliquidated
              Debtor 1 and Debtor 2 only
                                                                        Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Credit card purchases - personal


 4.1
 86       DIXIE ANN GASKELL                                          Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1996 GRANEMORE ST                                          When was the debt incurred?
          LAS VEGAS, NV 89135
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   NOTICE ONLY / BUSINESS VENDOR




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 4.1
 87       DOMINIQUE SHOREESE LEE                                     Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          3825 CRAIG XING DR, APT 3101                               When was the debt incurred?
          NORTH LAS VEGAS, NV 89032
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   NOTICE ONLY / BUSINESS VENDOR


 4.1
 88       DORIS JUANITA EARL                                         Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1100 MADISON AVE                                           When was the debt incurred?
          LAS VEGAS, NV 89106
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   NOTICE ONLY / BUSINESS VENDOR


 4.1
 89       DOROTHY EISENBEIS                                          Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          277 BOULD LN, #6A                                          When was the debt incurred?
          INDIAN SPRINGS, NV 89018
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   NOTICE ONLY / BUSINESS VENDOR




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 4.1      DOUGLAS CHRISOPHER
 90       TROWBRIDGE                                                 Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          7051 SOMERA WAY                                            When was the debt incurred?
          LAS VEGAS, NV 89113
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   NOTICE ONLY / BUSINESS VENDOR


 4.1
 91       DR. VINYL                                                  Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          4613 EL CAMINO CABOS DR                                    When was the debt incurred?
          LAS VEGAS, NV 89147
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Notice only / Business debt


 4.1
 92       DR. VINYL                                                  Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1350 SE HAMBLEN RD                                         When was the debt incurred?
          LEES SUMMIT, MO 64081
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Notice only / Business debt




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 4.1
 93       DRAKE ROSLING                                              Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          5890 RIVER RD N                                            When was the debt incurred?
          KEIZER, OR 97307
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   NOTICE ONLY / BUSINESS VENDOR


 4.1                                                                                                       A&E Auto
 94       DRIVE IT AUTO GROUP                                        Last 4 digits of account number       Sales                                            Unknown
          Nonpriority Creditor's Name
          2475 N TUSTIN ST                                           When was the debt incurred?
          ORANGE, CA 92865
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Notice only / Business debt- possible
              Yes                                                       Other. Specify   personal guaranty


 4.1
 95       DYANTA B JONES                                             Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          7950 FLAMINGO RD, UNIT 2119                                When was the debt incurred?
          LAS VEGAS, NV 89147
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   NOTICE ONLY / BUSINESS VENDOR




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 4.1
 96       E BIZ AUTOS                                                Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          P.O. BOX 841706                                            When was the debt incurred?
          DALLAS, TX 75284-1706
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Notice only / Business debt


 4.1
 97       E-Z LETTERING SERVICE                                      Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          723 OHMS WAY                                               When was the debt incurred?
          COSTA MESA, CA 92627
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Notice only / Business debt


 4.1
 98       EDITHA KOFF                                                Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          321 REDSTONE ST                                            When was the debt incurred?
          LAS VEGAS, NV 89145
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   NOTICE ONLY / BUSINESS VENDOR




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 4.1
 99       EDMONDS.COM, INC.                                          Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          P.O. BOX 783531                                            When was the debt incurred?
          PHILADELPHIA, PA 19178-3531
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Notice only / Business debt


 4.2
 00       EDMUNDS                                                    Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          2401 COLORADO AVE                                          When was the debt incurred?
          SANTA MONICA, CA 90404
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Notice only / Business debt


 4.2
 01       EL MUNDO                                                   Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          760 N EASTERN AVE STE 110                                  When was the debt incurred?
          LAS VEGAS, NV 89101
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Notice only / Business debt




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 4.2
 02       ELEAD ONE                                                  Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          P.O. BOX 2585                                              When was the debt incurred?
          VALDOSTA, GA 31604
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Notice only / Business debt


 4.2
 03       ELEAD1ONE                                                  Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          4001 COLEMAN ROAD                                          When was the debt incurred?
          NORTH VALDOSTA, GA 31602
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Notice only / Business debt


 4.2
 04       ELLY T MANIFFA                                             Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          6725 BLUEBELL GARDEN ST                                    When was the debt incurred?
          LAS VEGAS, NV 89149
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   NOTICE ONLY / BUSINESS VENDOR




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 4.2      EMERG ROOM PHYSICIANS
 05       SOUTH                                                      Last 4 digits of account number       2999                                             $1,029.00
          Nonpriority Creditor's Name
          P.O. BOX 8145                                              When was the debt incurred?           03/11/2017
          FORTH WORTH, TX 76124-0145
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Healthcare services for Bailee R Davis


 4.2
 06       EMPYRE AUTO PARTS                                          Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          2041 W STONEHURST DR                                       When was the debt incurred?
          RIALTO, CA 92377
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Notice only / Business debt


 4.2
 07       ENEMORIO ARZATE PENALOZA                                   Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          2117 BASSLER ST, APT B                                     When was the debt incurred?
          NORTH LAS VEGAS, NV 89030
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Notice only / Business debt




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 4.2
 08       ENRIQUE ALBERTO PADILLA                                    Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          5809 EXPEDITION WAY                                        When was the debt incurred?
          PALMDALE, CA 93552
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   NOTICE ONLY / BUSINESS VENDOR


 4.2
 09       ENTERPRISE CAR RENTAL                                      Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          5120 S DECATUR BLVD, STE 104                               When was the debt incurred?
          LAS VEGAS, NV 89118
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Notice only / Business debt


 4.2      ENTRAVISION COMMUNICATIONS
 10       CORP                                                       Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          500 PILOT RD, STE D                                        When was the debt incurred?
          LAS VEGAS, NV 89119
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Notice only / Business debt




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 4.2      EQUIFAX WORKFORCE
 11       SOLUTIONS                                                  Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          11432 LACKLAND RD                                          When was the debt incurred?
          SAINT LOUIS, MO 63146
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Notice only / Business debt


 4.2
 12       ERICA LEE LYNCH                                            Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          4255 W VIKING RD, APT 818                                  When was the debt incurred?
          LAS VEGAS, NV 89103
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   NOTICE ONLY / BUSINESS VENDOR


 4.2
 13       ERICK ANTHONY SEWELL                                       Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          7075 W GOWAN RD, #1105                                     When was the debt incurred?
          LAS VEGAS, NV 89129
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   NOTICE ONLY / BUSINESS VENDOR




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 4.2
 14       ERIK RICHARD CLAUSON                                       Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          4 HOGENMILLER CIR                                          When was the debt incurred?
          LAS VEGAS, NV 89115
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   NOTICE ONLY / BUSINESS VENDOR


 4.2      ERNESTO ALONSO
 15       RENTERIA-PEREZ                                             Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          610 W 6TH ST                                               When was the debt incurred?
          WINNEMUCCA, NV 89445
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   NOTICE ONLY / BUSINESS VENDOR


 4.2
 16       EUMEKA DENISE THOMAS                                       Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          3675 CAMBRIDGE ST, APT 224                                 When was the debt incurred?
          LAS VEGAS, NV 89169
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   NOTICE ONLY / BUSINESS VENDOR




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 4.2
 17       EVAN MICHAEL MYNATT                                        Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          2388 VALISSA ST                                            When was the debt incurred?
          HENDERSON, NV 89044
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   NOTICE ONLY / BUSINESS VENDOR


 4.2
 18       EVOLUTION MOTOR SPORTS                                     Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          3859 S VALLEY VIEW BLVD, UNIT                              When was the debt incurred?
          27
          LAS VEGAS, NV 89103
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Notice only / Business debt


 4.2
 19       FAIRWAY CHEVROLET                                          Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          3100 E SAHARA AVE                                          When was the debt incurred?
          LAS VEGAS, NV 89104
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Notice only / Business debt




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 Debtor 1 Adam Edward Mallas                                                                              Case number (if know)

 4.2
 20       FEDEX                                                      Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          P.O. BOX 7221                                              When was the debt incurred?
          PASADENA, CA 91109
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Notice only / Business debt


 4.2
 21       FEDLOAN SERVICING                                          Last 4 digits of account number       3785                                           $62,955.58
          Nonpriority Creditor's Name
          P.O. BOX 530210                                            When was the debt incurred?           09/03/2013
          ATLANTA, GA 30353-0210
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only
                                                                        Contingent
              Debtor 2 only
                                                                        Unliquidated
              Debtor 1 and Debtor 2 only
                                                                        Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Personal guarantee of Student Loans for
              Yes                                                       Other. Specify   Debtor's two step-daughters


 4.2
 22       FELICIA JACKSON                                            Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          3326 HILLSIDE GARDEN DR                                    When was the debt incurred?
          LAS VEGAS, NV 89135
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   NOTICE ONLY / BUSINESS VENDOR




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 4.2
 23       FES PROTECTION PLAN                                        Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          P.O. BOX 417                                               When was the debt incurred?
          FARMINGTON, MI 48332
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Notice only / Business debt


 4.2
 24       FINANCIAL GAP ADMINISTRATORS                               Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1670 FENPARK DR                                            When was the debt incurred?
          FENTON, MO 63026
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Notice only / Business debt


 4.2
 25       FLM EXPRESS                                                Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          190 TROTTERS RDG                                           When was the debt incurred?
          CAMILLUS, NY 13031
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Notice only / Business debt




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 4.2
 26       FMP - Factory Motor Parts                                  Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1380 CORPORATE CENTER                                      When was the debt incurred?
          CURVE, STE 200
          SAINT PAUL, MN 55121
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Notice only / Business debt


 4.2
 27       FRANCHISE TAX BOARD                                        Last 4 digits of account number                                                        $8,272.81
          Nonpriority Creditor's Name
          BANKRUPTCY SECTION, MS A340                                When was the debt incurred?           2001
          PO BOX 2952
          SACRAMENTO, CA 95812-2952
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Claim for overpayment of unemployment
                                                                                         compensation from State of California from
              Yes                                                       Other. Specify   2001


 4.2
 28       FRANCIS R VIVACQUA                                         Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          7027 SHADOW CREST DR                                       When was the debt incurred?
          LAS VEGAS, NV 89119
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   NOTICE ONLY / BUSINESS VENDOR




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 4.2
 29       FRAZER                                                     Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          6196 US HWY 11                                             When was the debt incurred?
          P.O. BOX 569
          CANTON, NY 13617
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Notice only / Business debt


 4.2
 30       FRONTIER COMMUNICATIONS                                    Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          P.O. BOX 5157                                              When was the debt incurred?
          Cincinnati, OH 45274-0001
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Notice only / Business debt


 4.2
 31       FRY'S ELECTRONIC                                           Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          6845 S LAS VEGAS BLVD                                      When was the debt incurred?
          LAS VEGAS, NV 89119
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Notice only / Business debt




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 4.2
 32       GABRIAL SALAZAR                                            Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          4809 LINKWOOD DR                                           When was the debt incurred?
          LAS VEGAS, NV 89110
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   NOTICE ONLY / BUSINESS VENDOR


 4.2
 33       GARY JAMES BROWN JR                                        Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          5625 GRANVILLE LAKE ST                                     When was the debt incurred?
          NORTH LAS VEGAS, NV 89031
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   NOTICE ONLY / BUSINESS VENDOR


 4.2
 34       GARY STEVEN CAPONE                                         Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          3715 LOYOLA ST                                             When was the debt incurred?
          NORTH LAS VEGAS, NV 89030
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   NOTICE ONLY / BUSINESS VENDOR




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 4.2
 35       GARY THOMAS                                                Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1750 KAREN AVE, APT 66                                     When was the debt incurred?
          LAS VEGAS, NV 89169
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   NOTICE ONLY / BUSINESS VENDOR


 4.2      GATEWAY ONE LENDING AND                                                                          A&E Auto
 36       FINANCE                                                    Last 4 digits of account number       Sales                                            Unknown
          Nonpriority Creditor's Name
          160 N RIVERVIEW DR, STE 100                                When was the debt incurred?
          ANAHEIM, CA 92808
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Notice only / Business debt- possible
              Yes                                                       Other. Specify   personal guaranty


 4.2
 37       GAUDIN FORD                                                Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          6625 ROY HORN WAY                                          When was the debt incurred?
          LAS VEGAS, NV 89118
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Notice only / Business debt




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 4.2
 38       GILA EXPRESS AUTO TRANSPORT                                Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          945 E PINA STREET                                          When was the debt incurred?
          GILA BEND, AZ 85337
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Notice only / Business debt


 4.2
 39       GMT DESIGNS LLC                                            Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          5012 SCHUSTER ST                                           When was the debt incurred?
          LAS VEGAS, NV 89118
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Notice only / Business debt


 4.2
 40       GOLDFINGER GOLDFINGER                                      Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          920 SIERRA VISTA DR, APT A8                                When was the debt incurred?
          LAS VEGAS, NV 89169
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Notice only / Business debt




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 4.2
 41       GPS SOLUTIONS                                              Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1320 PEARL STREET, STE 310                                 When was the debt incurred?
          BOULDER, CO 80302
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Notice only / Business debt


 4.2
 42       GUEST CONCEPTS, INC                                        Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          3203 E WARM SPRINGS RD, #100                               When was the debt incurred?
          LAS VEGAS, NV 89120
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Notice only / Business debt


 4.2
 43       GUILLERMO ROJAS OCAMPO                                     Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          10151 DORRELL LN, UNIT 1053                                When was the debt incurred?
          LAS VEGAS, NV 89166-1029
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Notice only / Business debt




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 4.2
 44       HARBOR FREIGHT TOOLS                                       Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          4740 S DECATUR BLVD                                        When was the debt incurred?
          LAS VEGAS, NV 89103
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Notice only / Business debt


 4.2
 45       HECTOR ARTEAGA                                             Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          7065 DE PAZ WAY                                            When was the debt incurred?
          LAS VEGAS, NV 89113
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   NOTICE ONLY / BUSINESS VENDOR


 4.2
 46       HERTZ EQUIPMENT RENTAL                                     Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          4555 WYNN ROAD                                             When was the debt incurred?
          LAS VEGAS, NV 89103
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Notice only / Business debt




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 4.2
 47       HILDA M MOYA                                               Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          5250 ITHACA AVE                                            When was the debt incurred?
          LAS VEGAS, NV 89122
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   NOTICE ONLY / BUSINESS VENDOR


 4.2      HO'OLULANI EMMALENE
 48       AO'LAHIKO                                                  Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          9745 GRAND TETON DR, APT 1046                              When was the debt incurred?
          LAS VEGAS, NV 89166
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   NOTICE ONLY / BUSINESS VENDOR


 4.2                                                                                                       A&E Auto
 49       HONOR FINANCE, LLC                                         Last 4 digits of account number       Sales                                            Unknown
          Nonpriority Creditor's Name
          2451 S BUFFALO DR, #130                                    When was the debt incurred?
          LAS VEGAS, NV 89117
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Notice only / Business debt-possible
              Yes                                                       Other. Specify   personal guaranty




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 4.2
 50       HUGO OLIVARES PONCE                                        Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          338 SWEETSPICE ST                                          When was the debt incurred?
          HENDERSON, NV 89014
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   NOTICE ONLY / BUSINESS VENDOR


 4.2
 51       HYUNDAI MOTOR FINANCE                                      Last 4 digits of account number       2229                                               $749.89
          Nonpriority Creditor's Name
          PO BOX 660891                                              When was the debt incurred?
          DALLAS, TX 75266-0891
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Lease "Turn In" fees for Hyundai Elantra.


 4.2
 52       IDA GORDON                                                 Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          633 TWILIGHT BLUE AVE                                      When was the debt incurred?
          NORTH LAS VEGAS, NV 89032
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   NOTICE ONLY / BUSINESS VENDOR




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 4.2
 53       IHEART RADIO                                               Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          32 AVENUE OF AMERICAS                                      When was the debt incurred?
          NEW YORK, NY 10013
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Notice only / Business debt


 4.2                                                                                                       A&E Auto
 54       IN TOUCH CREDIT UNION                                      Last 4 digits of account number       Sales                                            Unknown
          Nonpriority Creditor's Name
          P.O. BOX 250169                                            When was the debt incurred?
          PLANO, TX 75025-0169
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Notice only / Business debt - possible
              Yes                                                       Other. Specify   personal guaranty


 4.2
 55       INSURANCE EXPRESS                                          Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          3035 E TROPICANA AVE                                       When was the debt incurred?
          LAS VEGAS, NV 89121
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Notice only / Business debt




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 4.2
 56       INSURED SERVICES                                           Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          2600 WESTWOOD DRIVE                                        When was the debt incurred?
          LAS VEGAS, NV 89109
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Notice only / Business debt


 4.2
 57       INTUIT QUICKBOOKS                                          Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          2700 COAST AVE                                             When was the debt incurred?
          MOUNTAIN VIEW, CA 94043
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Notice only / Business debt


 4.2
 58       IRMA PADILLA                                               Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          5809 EXPEDITION WAY                                        When was the debt incurred?
          PALMDALE, CA 93552
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   NOTICE ONLY / BUSINESS VENDOR




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 4.2
 59       IRVIN STEPHEN GRAY                                         Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1000 AMERICAN PACIFIC DR,                                  When was the debt incurred?
          #1821
          HENDERSON, NV 89074
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   NOTICE ONLY / BUSINESS VENDOR


 4.2
 60       ITS                                                        Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          7251 W. LAKE MEAD BLVD, STE                                When was the debt incurred?
          300
          LAS VEGAS, NV 89128
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Notice only / Business debt


 4.2
 61       J & S DIESEL                                               Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          5155 DEAN MARTIN DR                                        When was the debt incurred?
          LAS VEGAS, NV 89118
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Notice only / Business debt




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 4.2
 62       J T IGLESIA                                                Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          6421 RAVEN HALL ST                                         When was the debt incurred?
          NORTH LAS VEGAS, NV 89084
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   NOTICE ONLY / BUSINESS VENDOR


 4.2      JAGUAR LAND ROVER OF LAS
 63       VEGAS                                                      Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          5255 W SAHARA AVE                                          When was the debt incurred?
          LAS VEGAS, NV 89146
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Notice only / Business debt


 4.2
 64       JAMAR RASHAN GROVNER                                       Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          4437 DOVER STRAIGHT ST, UNIT                               When was the debt incurred?
          303
          LAS VEGAS, NV 89115
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   NOTICE ONLY / BUSINESS VENDOR




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 4.2
 65       JAMES FRANCIS KERRIGAN                                     Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          5568 MONCINNA ST                                           When was the debt incurred?
          LAS VEGAS, NV 89118
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   NOTICE ONLY / BUSINESS VENDOR


 4.2
 66       JAMES URI SAYLES                                           Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1225 GOLD AVE                                              When was the debt incurred?
          LAS VEGAS, NV 89106
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   NOTICE ONLY / BUSINESS VENDOR


 4.2      JAMES WILSON STEWART
 67       DORTCH                                                     Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          6760 DIAMOND CARE DR                                       When was the debt incurred?
          LAS VEGAS, NV 89122
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   NOTICE ONLY / BUSINESS VENDOR




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 4.2
 68       JAMIE CORVELL ROBERTS                                      Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          517 PRINCESS AVE                                           When was the debt incurred?
          NORTH LAS VEGAS, NV 89030
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   NOTICE ONLY / BUSINESS VENDOR


 4.2
 69       JAMIE LYNN HAMMOND                                         Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          8020 LAS VEGAS BLVD, #41                                   When was the debt incurred?
          LAS VEGAS, NV 89123
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   NOTICE ONLY / BUSINESS VENDOR


 4.2
 70       JANEIQUA ELIZABETH CARTER                                  Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          3913 GOLDFIELD ST                                          When was the debt incurred?
          NORTH LAS VEGAS, NV 89032
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   NOTICE ONLY / BUSINESS VENDOR




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 4.2
 71       JARED BROUSSARD                                            Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          2205 DEMETRIUS AVE                                         When was the debt incurred?
          LAS VEGAS, NV 89101
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   NOTICE ONLY / BUSINESS VENDOR


 4.2
 72       JARED FULLER                                               Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          7700 SANDRIDGE CT                                          When was the debt incurred?
          LAS VEGAS, NV 89149
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   NOTICE ONLY / BUSINESS VENDOR


 4.2
 73       JASON THOMAS VOWELL                                        Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          340 N COUNTRY LANE DRI, APT 29                             When was the debt incurred?
          SAINT GEORGE, UT 84770
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   NOTICE ONLY / BUSINESS VENDOR




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 4.2
 74       JATHIYAH CLARK                                             Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          5568 MONCINNA ST                                           When was the debt incurred?
          LAS VEGAS, NV 89118
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   NOTICE ONLY / BUSINESS VENDOR


 4.2
 75       JB AUTO BODY PARTS                                         Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1735 N NELLIS BLVD                                         When was the debt incurred?
          LAS VEGAS, NV 89115
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Notice only / Business debt


 4.2
 76       JDT MARKETING INC                                          Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          31 APPLE BLOSSOM LANE                                      When was the debt incurred?
          PATCHOGUE, NY 11772
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Notice only / Business debt




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 4.2
 77       JEFFREY MARTIN                                             Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          7604 CORVINA AVE                                           When was the debt incurred?
          LAS VEGAS, NV 89113
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   NOTICE ONLY / BUSINESS VENDOR


 4.2
 78       JEREMY MARTIN WADSWORTH                                    Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          3055 GARNETT CT                                            When was the debt incurred?
          LAS VEGAS, NV 89121
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   NOTICE ONLY / BUSINESS VENDOR


 4.2
 79       JEROME OVERTON                                             Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1709 STEMBOAT DR                                           When was the debt incurred?
          HENDERSON, NV 89014
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   NOTICE ONLY / BUSINESS VENDOR




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 4.2
 80       JERRY BUTLER                                               Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1904 SPANGLE DR                                            When was the debt incurred?
          LAS VEGAS, NV 89108
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   NOTICE ONLY / BUSINESS VENDOR


 4.2
 81       JERRY RAY VARELA                                           Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          4300 N LAMONT ST, #202                                     When was the debt incurred?
          LAS VEGAS, NV 89115
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   NOTICE ONLY / BUSINESS VENDOR


 4.2
 82       JESSE JAMES GORDON-BEST                                    Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          6234 NAHA PORT AVE                                         When was the debt incurred?
          LAS VEGAS, NV 89110
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   NOTICE ONLY / BUSINESS VENDOR




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 4.2
 83       JESSE MAHMOUD ISMAIL SBAIH                                 Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          178 INVERARAY                                              When was the debt incurred?
          HENDERSON, NV 89074
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   NOTICE ONLY / BUSINESS VENDOR


 4.2
 84       JESSEE TOUCH                                               Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1135 SAGE VALLEY LN                                        When was the debt incurred?
          LAS VEGAS, NV 89110
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   NOTICE ONLY / BUSINESS VENDOR


 4.2
 85       JESSICA ADRIANNA PEREZ                                     Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          5600 E RUSSELL RD, UNIT 311                                When was the debt incurred?
          LAS VEGAS, NV 89122
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   NOTICE ONLY / BUSINESS VENDOR




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 4.2
 86       JESSICA ANN LORENZ                                         Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1020 E DESERT INN RD, APT 1104                             When was the debt incurred?
          LAS VEGAS, NV 89109
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   NOTICE ONLY / BUSINESS VENDOR


 4.2
 87       JESUS MENDIOLA-VALDIVIEZO                                  Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          920 ROCKVIEW DR, UNIT 202                                  When was the debt incurred?
          LAS VEGAS, NV 89128
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   NOTICE ONLY / BUSINESS VENDOR


 4.2
 88       JILLIAN ALEXIS THOMPSON                                    Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          3232 OCEAN SPRAY CT                                        When was the debt incurred?
          NORTH LAS VEGAS, NV 89031
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   NOTICE ONLY / BUSINESS VENDOR




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 4.2      JMD PROFESSIONAL AUTO
 89       DETAIL                                                     Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1651 AMERICAN PACIFIC DR                                   When was the debt incurred?
          HENDERSON, NV 89074
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Notice only / Business debt


 4.2
 90       JOE TOLEFREE JR                                            Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          2708 CORNCOB CACTUS CT                                     When was the debt incurred?
          LAS VEGAS, NV 89106
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Notice only / Business debt


 4.2
 91       JOHN C ALLEN                                               Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          12930 GROVER AVE                                           When was the debt incurred?
          LAS VEGAS, NV 89129
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   NOTICE ONLY / BUSINESS VENDOR




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 4.2
 92       JOHN FRAZIER MCINTOSH                                      Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          5196 HEDDELL CT, APT D                                     When was the debt incurred?
          LAS VEGAS, NV 89118
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   NOTICE ONLY / BUSINESS VENDOR


 4.2
 93       JOHN LEE THOMAS                                            Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          4332 SILVER DOLLAR AVE, #6                                 When was the debt incurred?
          LAS VEGAS, NV 89103
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   NOTICE ONLY / BUSINESS VENDOR


 4.2
 94       JOHN PRIAN                                                 Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          2105 W DATE DREEK RD                                       When was the debt incurred?
          WICKENBURG, AZ 85390
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Notice only / Business debt




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 4.2
 95       JOHN ROBERT PENA JR                                        Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          609 WEALDSTON CT                                           When was the debt incurred?
          LAS VEGAS, NV 89178
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   NOTICE ONLY / BUSINESS VENDOR


 4.2
 96       JOHN STEVE PASHALES                                        Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          2330 TEDESCA DR                                            When was the debt incurred?
          HENDERSON, NV 89052
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   NOTICE ONLY / BUSINESS VENDOR


 4.2
 97       JOHN STEVEN NELSON                                         Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          3808 COUNTRY LIGHTS ST                                     When was the debt incurred?
          LAS VEGAS, NV 89129
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   NOTICE ONLY / BUSINESS VENDOR




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 4.2
 98       JOHN TIMOTHY HERRERA                                       Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1438 SILVER FALLS AVE                                      When was the debt incurred?
          LAS VEGAS, NV 89123
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   NOTICE ONLY / BUSINESS VENDOR


 4.2
 99       JOHN WHITNEY JONES                                         Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1101 DUMONT BLVD, APT 120                                  When was the debt incurred?
          LAS VEGAS, NV 89169
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   NOTICE ONLY / BUSINESS VENDOR


 4.3
 00       JOHNNY DOLSTRA                                             Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          3437 SEQUOIA COURT                                         When was the debt incurred?
          PERRIS, CA 92570
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Notice only / Business debt




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 4.3
 01       JONATHAN NEIL & ASSOCIATES                                 Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          18321 VENTURA BLVD, #1000                                  When was the debt incurred?
          TARZANA, CA 91356
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Notice only / Business debt


 4.3      JONATHAN NEIL & ASSOCIATES,
 02       INC                                                        Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          71 W MAIN ST, STE 304                                      When was the debt incurred?
          FREEHOLD, NJ 07728
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Notice only / Business debt


 4.3
 03       JONATHAN ROMERO-DURAN                                      Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          5084 NEWPORT COVE DR, UNIT B                               When was the debt incurred?
          LAS VEGAS, NV 89119
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   NOTICE ONLY / BUSINESS VENDOR




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 4.3
 04       JORDAN TAYLOR JOHNSON                                      Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          981 WHITNEY RANCH DR, APT                                  When was the debt incurred?
          1125
          HENDERSON, NV 89014
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   NOTICE ONLY / BUSINESS VENDOR


 4.3
 05       JORGE A DELRIO                                             Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          3792 ANGEL FLIGHT DR                                       When was the debt incurred?
          LAS VEGAS, NV 89115
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   NOTICE ONLY / BUSINESS VENDOR


 4.3
 06       JORGE PARRA-MEZA                                           Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          3500 BROADWAY AVE                                          When was the debt incurred?
          NORTH LAS VEGAS, NV 89030
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   NOTICE ONLY / BUSINESS VENDOR




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 4.3
 07       JORGE SARABIA                                              Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1050 WHITNEY RANCH DR, #1313                               When was the debt incurred?
          HENDERSON, NV 89014
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   NOTICE ONLY / BUSINESS VENDOR


 4.3      JOSE ARMANDO AGUILAR
 08       MARTINEZ                                                   Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          9501 W SAHARA AVE, APT 1036                                When was the debt incurred?
          LAS VEGAS, NV 89117
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   NOTICE ONLY / BUSINESS VENDOR


 4.3
 09       JOSEPH DEWITT WELCH ESQ                                    Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1405 S NELLIS BLVD, APT 1104                               When was the debt incurred?
          LAS VEGAS, NV 89104
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   NOTICE ONLY / BUSINESS VENDOR




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 4.3
 10       JOSEPH MICHAEL LANE                                        Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          811 E BRIDGER AVE, APT 248                                 When was the debt incurred?
          LAS VEGAS, NV 89101
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   NOTICE ONLY / BUSINESS VENDOR


 4.3
 11       JOSEPH P DEPHILLIPS II                                     Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          720 TWILIGHT BLUE AVE                                      When was the debt incurred?
          NORTH LAS VEGAS, NV 89032
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   NOTICE ONLY / BUSINESS VENDOR


 4.3
 12       JOSHUA BUNGCAYAO                                           Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          5154 S JONES BLVD, UNIT 101                                When was the debt incurred?
          LAS VEGAS, NV 89118
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   NOTICE ONLY / BUSINESS VENDOR




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 4.3
 13       JOSHUA TATSU KEACH                                         Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          924 WILSON CLIFFS RD                                       When was the debt incurred?
          LAS VEGAS, NV 89128
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   NOTICE ONLY / BUSINESS VENDOR


 4.3
 14       JW COMPANY                                                 Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          819 W MAIN STREET                                          When was the debt incurred?
          ZANESVILLE, OH 43701
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Notice only / Business debt


 4.3
 15       KAREN RAYE CECI                                            Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          661 INDIAN CORN AVE                                        When was the debt incurred?
          HENDERSON, NV 89015
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   NOTICE ONLY / BUSINESS VENDOR




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 4.3
 16       KARON LETHER                                               Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          8816 SPINNING WHEEL AVE                                    When was the debt incurred?
          LAS VEAGS, NV 89143
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Notice only / Business debt


 4.3
 17       KATHERINNE ESTEFANIA FRANCO                                Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          2602 RIM PACIFIC CIR                                       When was the debt incurred?
          LAS VEGAS, NV 89146
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   NOTICE ONLY / BUSINESS VENDOR


 4.3
 18       KATRINA ALINA GROVES                                       Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1547 SUNRISE CIR                                           When was the debt incurred?
          BOULDER CITY, NV 89005
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   NOTICE ONLY / BUSINESS VENDOR




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 4.3
 19       KEELI DEANA WOODS-BEDELL                                   Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          3640 LAS VEGAS BLVD N                                      When was the debt incurred?
          LAS VEGAS, NV 89115
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   NOTICE ONLY / BUSINESS VENDOR


 4.3      KEEP ON ROLING
 20       TRANSPORTATION                                             Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          4055 TUSCAN SHORES DRIVE                                   When was the debt incurred?
          MISSOURI CITY, TX 77459
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Notice only / Business debt


 4.3
 21       KEIKO CUBIT                                                Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          200 MISSION LAGUNA LN, APT 102                             When was the debt incurred?
          LAS VEGAS, NV 89107
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   NOTICE ONLY / BUSINESS VENDOR




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 4.3
 22       KEMP BROADCASTING                                          Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          3999 S LAS VEAGS BLVD, STE K                               When was the debt incurred?
          LAS VEGAS, NV 89119
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Notice only / Business debt


 4.3
 23       KENSINGTON MOTOR CARS                                      Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          3062 SHERIDAN ST                                           When was the debt incurred?
          LAS VEGAS, NV 89102
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Notice only / Business debt


 4.3
 24       KEVANTE MILLS                                              Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          16 FRAD AVE                                                When was the debt incurred?
          NORTH LAS VEGAS, NV 89031
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   NOTICE ONLY / BUSINESS VENDOR




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 4.3
 25       KEVIN KENNETH HOMER                                        Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          2280 IRON AVE                                              When was the debt incurred?
          SANDY VALLEY, NV 89019
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   NOTICE ONLY / BUSINESS VENDOR


 4.3
 26       KIERRA DESIREE PRINGLE                                     Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          4200 S VALLEY VIEW, APT 1102                               When was the debt incurred?
          LAS VEGAS, NV 89103
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   NOTICE ONLY / BUSINESS VENDOR


 4.3
 27       KIFAH NIDHAL MARGOLIS                                      Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1826 VACCARO PL                                            When was the debt incurred?
          HENDERSON, NV 89074
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   NOTICE ONLY / BUSINESS VENDOR




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 4.3
 28       KIMBERLY ANN KEITH                                         Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          3955 SWENSON ST, APT 369                                   When was the debt incurred?
          LAS VEGAS, NV 89119
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   NOTICE ONLY / BUSINESS VENDOR


 4.3
 29       KIMBERLY ESTALA                                            Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          7027 SHADOW CREST DR                                       When was the debt incurred?
          LAS VEGAS, NV 89119
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   NOTICE ONLY / BUSINESS VENDOR


 4.3
 30       KIMBERLY LYNN MCCOVERY                                     Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          5850 SKY POINT DR, APT 2068                                When was the debt incurred?
          LAS VEGAS, NV 89130
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   NOTICE ONLY / BUSINESS VENDOR




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 4.3
 31       KIMBERLY NICOLE WALLACE                                    Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          3762 ROYAL CREST ST, APT 9                                 When was the debt incurred?
          LAS VEGAS, NV 89119
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   NOTICE ONLY / BUSINESS VENDOR


 4.3
 32       KIRK SPARKS                                                Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          10741 CATHER AVE                                           When was the debt incurred?
          LAS VEGAS, NV 89166
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   NOTICE ONLY / BUSINESS VENDOR


 4.3
 33       KURSTIN DIANE SULLIVAN                                     Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          9100 W FLAMINGO RD, UNIT 1149                              When was the debt incurred?
          LAS VEGAS, NV 89147
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   NOTICE ONLY / BUSINESS VENDOR




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 4.3      KURUKULASURIYA AUSTIN
 34       PERIES                                                     Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          6304 SESPE ST                                              When was the debt incurred?
          LAS VEGAS, NV 89108
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   NOTICE ONLY / BUSINESS VENDOR


 4.3
 35       LAKEISHA MONIQUE GRAY                                      Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1750 KAREN AVE, APT 66                                     When was the debt incurred?
          LAS VEGAS, NV 89169
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   NOTICE ONLY / BUSINESS VENDOR


 4.3      LANCE SURETY BOND
 36       ASSOCIATES, INC                                            Last 4 digits of account number                                                     $100,000.00
          Nonpriority Creditor's Name
          4387 W SWAMP RD # 287                                      When was the debt incurred?
          DOYLESTOWN, PA 18902-1039
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Personal Guarantee of Surety Bond for
                                                                                         A&E Auto - bond is up to $100,000. It is
                                                                                         currently unknown how many claims, if
              Yes                                                       Other. Specify   any, will be made against bond.




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 4.3
 37       LARRY PORTER                                               Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          4975 DUNEVILLE ST, APT 235                                 When was the debt incurred?
          LAS VEGAS, NV 89118
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   NOTICE ONLY / BUSINESS VENDOR


 4.3
 38       LAS VEGAS CONSTABLE                                        Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          301 E CLARK AVE, STE 100                                   When was the debt incurred?
          LAS VEGAS, NV 89101
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Notice only / Business debt


 4.3
 39       LAS VEGAS REVIEW JOURNAL                                   Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          111 W BONANZA RD                                           When was the debt incurred?
          P.O. BOX 70
          LAS VEGAS, NV 89125
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Notice only / Business debt




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 4.3
 40       LAS VEGAS WHEEL WORKS                                      Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          10620 SOUTHERN HIGHLAND                                    When was the debt incurred?
          PKWY
          # 110-390
          LAS VEGAS, NV 89141
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Notice only / Business debt


 4.3
 41       LAWRENCE HYMAN EPSTEIN                                     Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          3645 METTER ST                                             When was the debt incurred?
          LAS VEGAS, NV 89129
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   NOTICE ONLY / BUSINESS VENDOR


 4.3
 42       LEA NORA RENEE THOMPSON                                    Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          10741 CATHER AVE                                           When was the debt incurred?
          LAS VEGAS, NV 89166
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   NOTICE ONLY / BUSINESS VENDOR




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 4.3
 43       LENDING CLUB                                               Last 4 digits of account number       3384                                           $22,741.89
          Nonpriority Creditor's Name
          71 STEVENSON ST, STE 300                                   When was the debt incurred?
          SAN FRANCISCO, CA 94105
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Debt Consolidation Loan


 4.3
 44       LEO GAMBOA                                                 Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          2424 ELLIS ST, APT A                                       When was the debt incurred?
          NORTH LAS VEGAS, NV 89030
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   NOTICE ONLY / BUSINESS VENDOR


 4.3
 45       LEXUS OF LAS VEGAS                                         Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          6600 W SAHARA AVE                                          When was the debt incurred?
          LAS VEGAS, NV 89146
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Notice only / Business debt




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 4.3
 46       LILLIE MARIE DAVIS-ADAMS                                   Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          8060 TWAIN HARTE ST                                        When was the debt incurred?
          LAS VEGAS, NV 89139
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   NOTICE ONLY / BUSINESS VENDOR


 4.3
 47       LISA CARPENTER                                             Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1818 BALZAR AVE, APT 206                                   When was the debt incurred?
          LAS VEGAS, NV 89106
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   NOTICE ONLY / BUSINESS VENDOR


 4.3
 48       LISTING ALL CARS                                           Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          SHELBYVILLE RD                                             When was the debt incurred?
          LOUISVILLE, KY 40243
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Notice only / Business debt




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 4.3
 49       LKQ OF NEVADA                                              Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          3370 E LONE MOUNTAIN RD                                    When was the debt incurred?
          NORTH LAS VEGAS, NV 89081
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Notice only / Business debt


 4.3                                                                                                       A&E Auto
 50       LOBEL FINANCIAL                                            Last 4 digits of account number       Sales                                            Unknown
          Nonpriority Creditor's Name
          777 N RAINBOW BLVD, STE 175                                When was the debt incurred?
          LAS VEGAS, NV 89107
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Notice only / Business debt- possible
              Yes                                                       Other. Specify   personal guaranty


 4.3
 51       LORI JEAN POOLE                                            Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          2753 STRUAN AVE                                            When was the debt incurred?
          HENDERSON, NV 89044
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   NOTICE ONLY / BUSINESS VENDOR




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 4.3
 52       LORRYANN BULTEDAOB                                         Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          8101 W FLAMINGO, APT 1106                                  When was the debt incurred?
          LAS VEGAS, NV 89147
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   NOTICE ONLY / BUSINESS VENDOR


 4.3
 53       LOUISE MIYUKI DEPIERO                                      Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1037 WARSAW AVE                                            When was the debt incurred?
          HENDERSON, NV 89015
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   NOTICE ONLY / BUSINESS VENDOR


 4.3
 54       LOWE'S                                                     Last 4 digits of account number       8684                                             $3,096.85
          Nonpriority Creditor's Name
          P.O. BOX 530914                                            When was the debt incurred?
          ATLANTA, GA 30353-0914
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only
                                                                        Contingent
              Debtor 2 only
                                                                        Unliquidated
              Debtor 1 and Debtor 2 only
                                                                        Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Credit card purchases




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 4.3      LUIS ALFO
 55       GUTIERREZ-GUTIERREZ                                        Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          505 PALMHURST DR                                           When was the debt incurred?
          LAS VEGAS, NV 89145
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   NOTICE ONLY / BUSINESS VENDOR


 4.3
 56       LUIS ALFREDO ROBLES                                        Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          2504 BUCKTHORN CIR                                         When was the debt incurred?
          LAS VEGAS, NV 89108
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   NOTICE ONLY / BUSINESS VENDOR


 4.3      LUIS ARMANDO AGUILAR
 57       VILLEGAS                                                   Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          7001 W CHARLESTON BLVD, #2010                              When was the debt incurred?
          LAS VEGAS, NV 89117
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   NOTICE ONLY / BUSINESS VENDOR




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 4.3
 58       LURETHA ROBINSON                                           Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          517 PRINCESS AVE                                           When was the debt incurred?
          NORTH LAS VEGAS, NV 89030
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   NOTICE ONLY / BUSINESS VENDOR


 4.3
 59       LV AUTO CARE                                               Last 4 digits of account number                                                        Unknown
          Nonpriority Creditor's Name
          3111 S VALLEY VIEW BLVD                                    When was the debt incurred?
          LAS VEGAS, NV 89102
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Notice only / Business debt - A&E Auto


 4.3
 60       LV AUTO GROUP                                              Last 4 digits of account number                                                        Unknown
          Nonpriority Creditor's Name
          2201 N COMMERCE ST                                         When was the debt incurred?
          NORTH LAS VEGAS, NV 89030
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Notice only / Business debt - A&E Auto




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 4.3
 61       MA ROSALBA RUBIO PALMOERA                                  Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          4536 PRINCE CARY CT                                        When was the debt incurred?
          LAS VEGAS, NV 89110
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   NOTICE ONLY / BUSINESS VENDOR


 4.3
 62       MANHEIM - DALLAS                                           Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          5333 KIEST BLVD                                            When was the debt incurred?
          DALLAS, TX 75236
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Notice only / Business debt


 4.3
 63       MANHEIM - FORT LAUDERDALE                                  Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          5353 S STATE ROAD 7                                        When was the debt incurred?
          DAVIE, FL 33314-6403
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Notice only / Business debt




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 4.3
 64       MANHEIM - NEVADA                                           Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          6600 AUCTION LANE                                          When was the debt incurred?
          LAS VEGAS, NV 89165
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Notice only / Business debt


 4.3
 65       MANHEIM - RIVERSIDE                                        Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          6446 FREMONT ST                                            When was the debt incurred?
          RIVERSIDE, CA 92504-1437
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Notice only / Business debt


 4.3
 66       MARGARET BELCNER EDWARDS                                   Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          5809 REITER AVE                                            When was the debt incurred?
          LAS VEGAS, NV 89108
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   NOTICE ONLY / BUSINESS VENDOR




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 4.3
 67       MARIA LYNN DEVON-SHEPARD                                   Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          522 RELIANCE AVE                                           When was the debt incurred?
          HENDERSON, NV 89002
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   NOTICE ONLY / BUSINESS VENDOR


 4.3
 68       MARIA SABRINA GODINO                                       Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          3320 BEACH PORT DR                                         When was the debt incurred?
          LAS VEGAS, NV 89117
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   NOTICE ONLY / BUSINESS VENDOR


 4.3
 69       MARITES CRUZADA                                            Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          4050 PACIFIC HARBORS DR, #115                              When was the debt incurred?
          LAS VEGAS, NV 89121
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   NOTICE ONLY / BUSINESS VENDOR




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 4.3
 70       MARK GREGORY SMITH                                         Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          2240 TIMBER ROSE                                           When was the debt incurred?
          LAS VEGAS, NV 89134
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   NOTICE ONLY / BUSINESS VENDOR


 4.3
 71       MARKIE SAMUEL PRATER                                       Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          709 MILLER AVE                                             When was the debt incurred?
          NORTH LAS VEGAS, NV 89030
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   NOTICE ONLY / BUSINESS VENDOR


 4.3
 72       MARQUITA RE BARNETT                                        Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          4701 LAWRENCE ST, UNIT 2168                                When was the debt incurred?
          NORTH LAS VEGAS, NV 89081
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   NOTICE ONLY / BUSINESS VENDOR




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 4.3
 73       MARVIN DOMINGUEZ                                           Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          6311 FELICITAS AVE                                         When was the debt incurred?
          LAS VEGAS, NV 89122
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   NOTICE ONLY / BUSINESS VENDOR


 4.3
 74       MATHEW DRESDEN                                             Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          3330 COAL AVE                                              When was the debt incurred?
          SANDY VALLEY, NV 89019
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   NOTICE ONLY / BUSINESS VENDOR


 4.3
 75       MAUALEI EMILE HENREYETT                                    Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          621 MAJESTIC SKY DR                                        When was the debt incurred?
          NORTH LAS VEGAS, NV 89031
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   NOTICE ONLY / BUSINESS VENDOR




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 4.3
 76       MEAGAN BRYANT                                              Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          60 N PECOS RD, APT 2080                                    When was the debt incurred?
          LAS VEGAS, NV 89101
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   NOTICE ONLY / BUSINESS VENDOR


 4.3                                                                                                       A&E Auto
 77       MECHANICS BANK                                             Last 4 digits of account number       Sales                                                  $0.00
          Nonpriority Creditor's Name
          2 S MAIN ST                                                When was the debt incurred?
          MANSFIELD, OH 44902
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Notice only / Business debt- possible
              Yes                                                       Other. Specify   personal guaranty


 4.3
 78       MELODIE SUETWILA DAVIS                                     Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          3481 ALGIERS DR, #1177                                     When was the debt incurred?
          LAS VEGAS, NV 89115
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   NOTICE ONLY / BUSINESS VENDOR




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 4.3
 79       MIA VANEE BRYANT                                           Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          60 N PECOS RD, APT 2080                                    When was the debt incurred?
          LAS VEGAS, NV 89101
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   NOTICE ONLY / BUSINESS VENDOR


 4.3
 80       MICHAEL A WITHEM                                           Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          3555 HORIZON CIR                                           When was the debt incurred?
          LAS VEGAS, NV 89121
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   NOTICE ONLY / BUSINESS VENDOR


 4.3
 81       MICHAEL ANTHONY CANDOSTA                                   Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          8944 SIERRA LINDA DR                                       When was the debt incurred?
          LAS VEGAS, NV 89147
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   NOTICE ONLY / BUSINESS VENDOR




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 4.3
 82       MICHAEL JOSUE LAINEZ                                       Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          3651 ARVILLE ST, APT 731                                   When was the debt incurred?
          LAS VEGAS, NV 89103
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   NOTICE ONLY / BUSINESS VENDOR


 4.3
 83       MICHAEL LEWIS KOFF                                         Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          321 REDSTONE ST                                            When was the debt incurred?
          LAS VEGAS, NV 89145
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   NOTICE ONLY / BUSINESS VENDOR


 4.3
 84       MICHAEL QUINONEZ                                           Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1216 PACIFIC TERRACE DR                                    When was the debt incurred?
          LAS VEGAS, NV 89128
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   NOTICE ONLY / BUSINESS VENDOR




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 4.3
 85       MICHAEL TUNG BUI                                           Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1601 CAMBRIDGE CT                                          When was the debt incurred?
          WEST COVINA, CA 91791
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   NOTICE ONLY / BUSINESS VENDOR


 4.3
 86       MICHELLE SLACK                                             Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          22424 S ELLSWORTH LOOP RD,                                 When was the debt incurred?
          1041
          QUEEN CREEK, AZ 85142
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   NOTICE ONLY / BUSINESS VENDOR


 4.3
 87       MIECHKO RILEY                                              Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          5669 RAINWOOD DR                                           When was the debt incurred?
          NORTH LAS VEGAS, NV 89031
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   NOTICE ONLY / BUSINESS VENDOR




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 4.3
 88       MIGUEL ANGEL ESCOBAR                                       Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          3640 SOLANDRA ST                                           When was the debt incurred?
          LAS VEGAS, NV 89147
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   NOTICE ONLY / BUSINESS VENDOR


 4.3      MINDY MICHELLE
 89       FURLONGE-SPEARS                                            Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          3008 PERISCOPE CT                                          When was the debt incurred?
          LAS VEGAS, NV 89117
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   NOTICE ONLY / BUSINESS VENDOR


 4.3
 90       MIRANDA CANIELLE DAVIS                                     Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          5280 TAMARUS ST, APT D                                     When was the debt incurred?
          LAS VEGAS, NV 89119
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   NOTICE ONLY / BUSINESS VENDOR




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 4.3
 91       MIRNA LETICIA GONZALEZ                                     Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          2801 REYNOLDS AVE                                          When was the debt incurred?
          NORTH LAS VEGAS, NV 89030
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   NOTICE ONLY / BUSINESS VENDOR


 4.3
 92       MOJAVE ELECTRIC                                            Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          928 HANCOCK RD                                             When was the debt incurred?
          BULLHEAD CITY, AZ 86442
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Notice only / Business debt


 4.3
 93       MONICA LACHEAL DENNIS                                      Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          3586 FULL SAIL DR                                          When was the debt incurred?
          LAS VEGAS, NV 89115
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   NOTICE ONLY / BUSINESS VENDOR




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 4.3
 94       MY CLEANING AND JANITORIAL                                 Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          38633 S VALLEY VIEW BLVD, #32                              When was the debt incurred?
          LAS VEGAS, NV 89103
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Notice only / Business debt


 4.3
 95       MY TRUE MILES INC                                          Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          2505 ANTHEM VILLAGE DR, STE E                              When was the debt incurred?
          135
          Henderson, NV 89052
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Notice only / Business debt


 4.3
 96       MYSHADO KAJON DAVIS                                        Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          5669 RAINWOOD DR                                           When was the debt incurred?
          NORTH LAS VEGAS, NV 89031
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   NOTICE ONLY / BUSINESS VENDOR




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 4.3
 97       NAPA AUTO PARTS                                            Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          4675 POLARIS AVE, STE C                                    When was the debt incurred?
          LAS VEGAS, NV 89103-5642
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Notice only / Business debt


 4.3
 98       Nationwide Acceptance LLC                                  Last 4 digits of account number       A&E Auto                                         Unknown
          Nonpriority Creditor's Name
          10255 W. Higgins Road, Suite 300                           When was the debt incurred?           unknown
          Des Plaines, IL 60018
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt - A&E Auto Sales


 4.3                                                                                                       A&E Auto
 99       NATIONWIDE NEVADA LLC                                      Last 4 digits of account number       Sales                                            Unknown
          Nonpriority Creditor's Name
          2250 S RANCHO DR                                           When was the debt incurred?           various
          LAS VEGAS, NV 89102
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Notice only / Business debt - unknown if
              Yes                                                       Other. Specify   personal guaranty




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 4.4
 00       NESTOR DE JESUS ORTIZ                                      Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          4809 LINKWOOD DR                                           When was the debt incurred?
          LAS VEGAS, NV 89110
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   NOTICE ONLY / BUSINESS VENDOR


 4.4
 01       NETERRI DANYELL BARNES                                     Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          6429 CHIPPINDALE LN                                        When was the debt incurred?
          LAS VEGAS, NV 89108
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   NOTICE ONLY / BUSINESS VENDOR


 4.4      NEVADA DEPARTMENT OF MOTOR
 02       VEHICLES                                                   Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          555 WRIGHT WAY                                             When was the debt incurred?
          CARSON CITY, NV 89701-5229
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Notice Only




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 4.4      NEVADA DEPARTMENT OF
 03       TAXATION                                                   Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          2550 PASEO VERDE PKWY, #1800                               When was the debt incurred?
          HENDERSON, NV 89074
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Notice only / Business debt


 4.4
 04       NEVADA ENERGY                                              Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          6226 W SAHARA AVE                                          When was the debt incurred?
          LAS VEGAS, NV 89146
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Notice only / Business debt


 4.4
 05       NEVADA TIRE CITY                                           Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          400 N BRIDGE LN                                            When was the debt incurred?
          LAS VEGAS, NV 89102
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Notice only / Business debt




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 4.4
 06       NEVADA WEST FINANCIAL                                      Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          7625 DEAN MARTIN DR                                        When was the debt incurred?
          LAS VEGAS, NV 89139
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Notice only / Business debt


 4.4
 07       NEXTGEAR                                                   Last 4 digits of account number       08AM                                          $389,000.00
          Nonpriority Creditor's Name
          11799 N COLLEGE AVE                                        When was the debt incurred?           Various
          CARMEL, IN 46032
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
                                                                     Type of NONPRIORITY unsecured claim:
              At least one of the debtors and another
                                                                        Student loans
              Check if this claim is for a community
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Personal Guarantee of Flooring Contract
              Yes                                                       Other. Specify   for A&E Auto Sales


 4.4      NICOLE MARI CALPITO
 08       CONSTANTIN                                                 Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          6300 W TROPICANA AVE, #105                                 When was the debt incurred?
          LAS VEGAS, NV 89113
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   NOTICE ONLY / BUSINESS VENDOR




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 4.4
 09       NIKKI HIXSON-HOMER                                         Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          2280 IRON AVE                                              When was the debt incurred?
          LAS VEGAS, NV 89109
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   NOTICE ONLY / BUSINESS VENDOR


 4.4
 10       NITSA ESGUERRA                                             Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          6236 MANDARIN DR                                           When was the debt incurred?
          LAS VEGAS, NV 89108
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   NOTICE ONLY / BUSINESS VENDOR


 4.4
 11       NOE PADILLA'S AUTO GLASS                                   Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          3889 LANCOMER ST                                           When was the debt incurred?
          LAS VEGAS, NV 89115
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Notice only / Business debt




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 4.4
 12       NONA DANIELLE DAILEY                                       Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          3765 LONE OAK ST                                           When was the debt incurred?
          LAS VEGAS, NV 89115
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   NOTICE ONLY / BUSINESS VENDOR


 4.4
 13       NORMAN ALEXANDER FAY                                       Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          2136 BETTY DAVIS ST                                        When was the debt incurred?
          LAS VEGAS, NV 89142
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   NOTICE ONLY / BUSINESS VENDOR


 4.4
 14       NURIA ANISA HERNANDEZ                                      Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          2338 N GREEN VALLEY PKWY,                                  When was the debt incurred?
          #1312
          HENDERSON, NV 89014
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   NOTICE ONLY / BUSINESS VENDOR




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 4.4
 15       NV ENERGY                                                  Last 4 digits of account number                                                        Unknown
          Nonpriority Creditor's Name
          P.O. BOX 98910                                             When was the debt incurred?
          LAS VEGAS, NV 89151-0001
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Electric Services / Utilities - A&E Auto


 4.4
 16       NV ENERGY                                                  Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          6226 W SAHARA AVE                                          When was the debt incurred?
          LAS VEGAS, NV 89146
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Notice only / Business debt - A&E Auto


 4.4
 17       O'REILLY AUTO PARTS                                        Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          233 S PATTERSON AVE                                        When was the debt incurred?
          SPRINGFIELD, MO 65802
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Notice only / Business debt




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 4.4
 18       OFFICE DEPOT/MAX                                           Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          6980 ARROYO CROSSING PKWY                                  When was the debt incurred?
          LAS VEGAS, NV 89101
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Notice only / Business debt


 4.4
 19       OLYMPIC AUTO                                               Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          4568 MEMORIAL DR                                           When was the debt incurred?
          DECATUR, GA 30032
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Notice only / Business debt


 4.4                                                                                                       A&E Auto
 20       ONE NEVADA CREDIT UNION                                    Last 4 digits of account number       Sales                                                  $0.00
          Nonpriority Creditor's Name
          2645 S MOJAVE RD                                           When was the debt incurred?
          LAS VEGAS, NV 89121
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Notice only / Business debt - possible
              Yes                                                       Other. Specify   personal guaranty




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 4.4
 21       ONE STOP SHIPPING                                          Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          3859 S VALLEY VIEW BLVD, # 2                               When was the debt incurred?
          LAS VEGAS, NV 89102
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Notice only / Business debt


 4.4                                                                                                       A&E Auto
 22       OREGON AUTO FINANCE                                        Last 4 digits of account number       Sales                                                  $0.00
          Nonpriority Creditor's Name
          1700 VALLEY DRIVER DR, STE 300                             When was the debt incurred?
          EUGENE, OR 97401
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Notice only / Business debt - possible
              Yes                                                       Other. Specify   personal guaranty


 4.4      OSCAR ERNESTO
 23       MARTINEZ-AMEZQUI                                           Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          3404 W WASHINGTON AVE                                      When was the debt incurred?
          LAS VEGAS, NV 89107
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   NOTICE ONLY / BUSINESS VENDOR




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 4.4
 24       OSCAR MARTINEZ-PEREZ                                       Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          3404 W WASHINGTON AVE                                      When was the debt incurred?
          LAS VEGAS, NV 89107
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   NOTICE ONLY / BUSINESS VENDOR


 4.4
 25       OSVALDO ANDRADE ZEPEDA                                     Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          6716 REGGIE CIR                                            When was the debt incurred?
          LAS VEGAS, NV 89107
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   NOTICE ONLY / BUSINESS VENDOR


 4.4
 26       PA EXPRESS                                                 Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          7500 COMMUNITY DR                                          When was the debt incurred?
          CITRUS HEIGHTS, CA 95610
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Notice only / Business debt




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 4.4
 27       PABLO DEL CASTILLO                                         Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          6225 W TROPICANA AVE, APT 21                               When was the debt incurred?
          LAS VEGAS, NV 89103
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Notice only / Business debt


 4.4
 28       PADILLA'S AUTO GLASS                                       Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          3889 LANCOMER ST                                           When was the debt incurred?
          LAS VEGAS, NV 89115
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Notice only / Business debt


 4.4
 29       PASCUAL JIMENEZ-JIMENEZ                                    Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          4768 SAND CREEK AVE, #B                                    When was the debt incurred?
          LAS VEGAS, NV 89103
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   NOTICE ONLY / BUSINESS VENDOR




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 4.4      PATRICIA LEHUA LUANA KAIMI
 30       LED                                                        Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          5463 TENDER TULIP AVE                                      When was the debt incurred?
          LAS VEGAS, NV 89139
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   NOTICE ONLY / BUSINESS VENDOR


 4.4
 31       PAYPAL CREDIT                                              Last 4 digits of account number       3401                                             $1,040.03
          Nonpriority Creditor's Name
          P.O. BOX 105658                                            When was the debt incurred?
          ATLANTA, GA 30348-5658
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only
                                                                        Contingent
              Debtor 2 only
                                                                        Unliquidated
              Debtor 1 and Debtor 2 only
                                                                        Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Credit card purchases


 4.4      PEARLIE MAE NEWSOME
 32       ROBINSON                                                   Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          3809 JUANITA MAY AVE                                       When was the debt incurred?
          NORTH LAS VEGAS, NV 89032
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   NOTICE ONLY / BUSINESS VENDOR




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 4.4
 33       PEDRO G SANCHEZ QUIEBRAS                                   Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          3640 ALA DR, APT 2                                         When was the debt incurred?
          LAS VEGAS, NV 89103
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   NOTICE ONLY / BUSINESS VENDOR


 4.4
 34       PENNY HANEY                                                Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1025 E DESERT INN RD                                       When was the debt incurred?
          LAS VEGAS, NV 89109
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   NOTICE ONLY / BUSINESS VENDOR


 4.4
 35       PENNY STRICKLAND                                           Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1820 MARATHON DR                                           When was the debt incurred?
          LAS VEGAS, NV 89108
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   NOTICE ONLY / BUSINESS VENDOR




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 Debtor 1 Adam Edward Mallas                                                                              Case number (if know)

 4.4
 36       PETER BORCSANYI                                            Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          3397 RIDGELINE AVE                                         When was the debt incurred?
          BULLHEAD CITY, AZ 86429
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   NOTICE ONLY / BUSINESS VENDOR


 4.4
 37       PETRA DE MAXIMO-ROMERO                                     Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          4768 SAND CREEK AVE, #B                                    When was the debt incurred?
          LAS VEGAS, NV 89103
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   NOTICE ONLY / BUSINESS VENDOR


 4.4      PHILADELPHIA INSURANCE
 38       COMPANY                                                    Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1 BALA PLAZA , STE 100                                     When was the debt incurred?
          BALA CYNWYD, PA 19004
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Notice only / Business debt - A&E Auto
              Yes                                                       Other. Specify   Sales




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 4.4      PHILADELPHIA INSURED
 39       COMPANIES                                                  Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          P.O. BOX 950                                               When was the debt incurred?
          BALA CYNWYD, PA 19004
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Notice only / Business debt - A&E Auto
              Yes                                                       Other. Specify   Sales


 4.4
 40       PHILLIP A GORDON                                           Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          633 TILIGHT BLUE AVE                                       When was the debt incurred?
          NORTH LAS VEGAS, NV 89032
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   NOTICE ONLY / BUSINESS VENDOR


 4.4
 41       PHILLY EXPRESS GROUP LLC                                   Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          2522 STATE RD, UNIT D, SUITE 105                           When was the debt incurred?
          BENSALEM, PA 19020
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Notice only / Business debt




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 4.4      PRECISION AUTO TRANSPORT
 42       LLC                                                        Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          879 PRAIRIE GRASS DR                                       When was the debt incurred?
          LAS VEGAS, NV 89123
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Notice only / Business debt


 4.4      PRIME ACCEPTANCE                                                                                 A&E Auto
 43       CORPORATION                                                Last 4 digits of account number       Sales                                            Unknown
          Nonpriority Creditor's Name
          7927 HIGH POINT PKWY                                       When was the debt incurred?
          SANDY, UT 84094
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Notice only / Business debt-possible
              Yes                                                       Other. Specify   personal guaranty


 4.4
 44       QUALITY ACCEPTANCE                                         Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          145 W 32ND ST                                              When was the debt incurred?
          OGDEN, UT 84401-3437
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Notice only / Business debt




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 4.4
 45       QUICK & FAIR TOWING                                        Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          2720 E BROOKS AVE                                          When was the debt incurred?
          NORTH LAS VEGAS, NV 89030
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Notice only / Business debt


 4.4
 46       RAISING CANES                                              Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          3535 W TROPICANA AVE                                       When was the debt incurred?
          LAS VEGAS, NV 89103-5627
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Notice only / Business debt


 4.4
 47       RANDOM I K AH-MOW                                          Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          6501 VEGAS DR, APT 2117                                    When was the debt incurred?
          LAS VEGAS, NV 89108
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   NOTICE ONLY / BUSINESS VENDOR




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 4.4
 48       RANSOM MEMORIAL HOSPITAL                                   Last 4 digits of account number       3678                                             $5,417.73
          Nonpriority Creditor's Name
          P.O. BOX 460                                               When was the debt incurred?           03/11/2017
          OTTAWA, KS 66067-0460
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Healthcare services for Bailee R Davis


 4.4
 49       RAYMOND HAYES                                              Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          7428 TIMBER RUN ST                                         When was the debt incurred?
          LAS VEGAS, NV 89149
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Notice only / Business debt


 4.4
 50       READY LOGISTIC                                             Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1030 N COLORADO ST                                         When was the debt incurred?
          GILBERT, AZ 85233
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Notice only / Business debt




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 4.4
 51       READY REFRESH                                              Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          4255 S VALLEY VIEW BLVD                                    When was the debt incurred?
          LAS VEGAS, NV 89103
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Notice only / Business debt


 4.4
 52       REBECCA HILL                                               Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          6421 RAVEN HALL ST                                         When was the debt incurred?
          NORTH LAS VEGAS, NV 89084
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   NOTICE ONLY / BUSINESS VENDOR


 4.4
 53       REBECCA SANDLER                                            Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          6112 SIERRA MIST AVE                                       When was the debt incurred?
          LAS VEGAS, NV 89139
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   NOTICE ONLY / BUSINESS VENDOR




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 4.4
 54       RECE LAMONT KENDRID                                        Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          9165 W DESERT INN RD, APT 203                              When was the debt incurred?
          LAS VEGAS, NV 89117
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   NOTICE ONLY / BUSINESS VENDOR


 4.4
 55       REGINA AGNES PETERSON                                      Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          5629 CALADONIA AVE                                         When was the debt incurred?
          LAS VEGAS, NV 89110
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   NOTICE ONLY / BUSINESS VENDOR


 4.4
 56       REGINA PETERSON                                            Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          5629 CALADONIA AVE                                         When was the debt incurred?
          LAS VEGAS, NV 89110
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Notice only / Business debt




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 4.4
 57       REGINALD STUART                                            Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1818 BALZAR AVE, APT 206                                   When was the debt incurred?
          LAS VEGAS, NV 89106
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   NOTICE ONLY / BUSINESS VENDOR


 4.4
 58       REKIE P BASCONES                                           Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          2670 S DECATUR BLVD, APT 207                               When was the debt incurred?
          LAS VEGAS, NV 89102
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   NOTICE ONLY / BUSINESS VENDOR


 4.4
 59       REPUBLIC SERVICES                                          Last 4 digits of account number                                                        Unknown
          Nonpriority Creditor's Name
          PO BOX 78040                                               When was the debt incurred?
          PHOENIX, AZ 85062-8040
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Waste Management /A&E Auto




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 4.4
 60       REPUBLIC SERVICES                                          Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          770 E SAHARA AVE                                           When was the debt incurred?
          LAS VEGAS, NV 89104
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Notice only / Business debt - A&E Auto


 4.4
 61       REPUBLIC SERVICES #620                                     Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          PO BOX 78829                                               When was the debt incurred?
          PHOENIX, AZ 85062-8829
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Notice only / Business debt - A&E Auto


 4.4
 62       REVIEW JOURNAL                                             Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1111 W BONANZA RD                                          When was the debt incurred?
          P.O. BOX 70
          LAS VEGAS, NV 89125
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Notice only / Business debt - A&E Auto




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 4.4
 63       REYNOLDS & REYNOLDS                                        Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          P.O. BOX 182206                                            When was the debt incurred?
          COLUMBUS, OH 43218
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Notice only / Business debt


 4.4      REYNOLDS COLLECTION
 64       SERVICES                                                   Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1 REYNOLDS WAY                                             When was the debt incurred?
          DAYTON, OH 45430-1586
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Notice only / Business debt


 4.4      REYNOLDS COLLECTION
 65       SERVICES                                                   Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          P.O. BOX 441                                               When was the debt incurred?
          201 S 8TH ST
          MARIETTA, OH 45750
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Notice only / Business debt




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 4.4
 66       RHONDA LENELL CHERRY                                       Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          7700 SANDRIDGE CT                                          When was the debt incurred?
          LAS VEGAS, NV 89149
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   NOTICE ONLY / BUSINESS VENDOR


 4.4
 67       RICARDO RUIZ-HERRERA                                       Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          4420 HALBERT AVE                                           When was the debt incurred?
          LAS VEGAS, NV 89110
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   NOTICE ONLY / BUSINESS VENDOR


 4.4      RICARDO'S MEXICAN
 68       RESTAURANT                                                 Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          RENAISSANCE CENTER WEST                                    When was the debt incurred?
          4930 W FLAMINGO RD
          LAS VEGAS, NV 89103
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Notice only / Business debt




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 4.4
 69       RICHARD CHARLES SLACK                                      Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          22424 S ELLSWORTH LOOP RD,                                 When was the debt incurred?
          1041
          QUEEN CREEK, AZ 85142
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   NOTICE ONLY / BUSINESS VENDOR


 4.4
 70       RICHARD DWIGHT EISENBEIS                                   Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          277 BOULDER LN, #6a                                        When was the debt incurred?
          INDIAN SPRINGS, NV 89018
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   NOTICE ONLY / BUSINESS VENDOR


 4.4
 71       RICHARD K CASE                                             Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          2325 HOLLOW OAK AVE                                        When was the debt incurred?
          NORTH LAS VEGAS, NV 89031
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   NOTICE ONLY / BUSINESS VENDOR




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 4.4
 72       RIGHT SIZE FUNDING                                         Last 4 digits of account number       A&E Auto                                         Unknown
          Nonpriority Creditor's Name
          7625 DEAN MARTIN DRIVE                                     When was the debt incurred?
          LAS VEGAS, NV 89139
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Notice only / Business debt- possible
              Yes                                                       Other. Specify   personal guaranty


 4.4
 73       ROBERT E DRESDEN                                           Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          3330 COAL AVE                                              When was the debt incurred?
          JEAN, NV 89019
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   NOTICE ONLY / BUSINESS VENDOR


 4.4
 74       ROBERT LEE GREEN JR                                        Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          9476 GRANDVIEW SPRING AVE                                  When was the debt incurred?
          LAS VEGAS, NV 89166
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   NOTICE ONLY / BUSINESS VENDOR




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 4.4
 75       ROBERT THOMPSON                                            Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          5629 CALADONIA AVE                                         When was the debt incurred?
          LAS VEGAS, NV 89110
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   NOTICE ONLY / BUSINESS VENDOR


 4.4      ROCHELE LYN
 76       HOLLAND-WEINSTEIN                                          Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          7800 BROOKFIELD COVE AVE                                   When was the debt incurred?
          LAS VEGAS, NV 89131
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   NOTICE ONLY / BUSINESS VENDOR


 4.4
 77       ROCIO VILLEGAS-MONROY                                      Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          9501 W SAHARA AVE APT 1036                                 When was the debt incurred?
          LAS VEGAS, NV 89117
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   NOTICE ONLY / BUSINESS VENDOR




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 4.4
 78       ROGER BAILEY                                               Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          10233 GIBSON ISLE DR                                       When was the debt incurred?
          LAS VEGAS, NV 89166
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   NOTICE ONLY / BUSINESS VENDOR


 4.4
 79       RUNNERS R US, INC.                                         Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          P.O. BOX 34164                                             When was the debt incurred?
          LAS VEGAS, NV 89133-4164
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Notice only / Business debt


 4.4
 80       RUSSELL F SHAFFER                                          Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1613 INVERNESS AVE                                         When was the debt incurred?
          LAS VEGAS, NV 89102
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   NOTICE ONLY / BUSINESS VENDOR




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 4.4
 81       RUTHANN TURNER                                             Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          2725 W WIGWAM AVE, APT 2088                                When was the debt incurred?
          LAS VEGAS, NV 89123
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   NOTICE ONLY / BUSINESS VENDOR


 4.4
 82       SAFEGUARD                                                  Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          8585 STEMMONS FWY, SUITE 600N                              When was the debt incurred?
          DALLAS, TX 75247
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Notice only / Business debt


 4.4
 83       SAHARA DODGE                                               Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          5050 W SAHARA AVE                                          When was the debt incurred?
          LAS VEGAS, NV 89146
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Notice only / Business debt




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 4.4      SALVADOR CARLOS MACIAS
 84       PULIDO                                                     Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          5353 S EASTERN AVE                                         When was the debt incurred?
          LAS VEGAS, NV 89119
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   NOTICE ONLY / BUSINESS VENDOR


 4.4
 85       SAMUEL GIGLIA                                              Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          6420 E TROPICANA AVE, #418                                 When was the debt incurred?
          LAS VEGAS, NV 89122
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   NOTICE ONLY / BUSINESS VENDOR


 4.4
 86       SANTANDER BANK                                             Last 4 digits of account number                                                        Unknown
          Nonpriority Creditor's Name
          P.O. BOX 961245                                            When was the debt incurred?           A&E Auto Sales
          FORTH WORTH, TX 76161
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Notice only / Business debt- possible
              Yes                                                       Other. Specify   personal guaranty




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 4.4
 87       SAUL LUNA                                                  Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          5524 MERRIWEATHER DR                                       When was the debt incurred?
          LAS VEGAS, NV 89113
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   NOTICE ONLY / BUSINESS VENDOR


 4.4      SCHOOLS FIRST FEDERAL CREDIT
 88       UNION                                                      Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          15542 NEWPORT AVE                                          When was the debt incurred?
          TUSTIN, CA 92780
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Notice only / Business debt


 4.4
 89       SEARS CREDIT CARDS                                         Last 4 digits of account number       1758                                             $1,132.11
          Nonpriority Creditor's Name
          P.O. BOX 78051                                             When was the debt incurred?
          PHOENIX, AZ 85062-8051
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only
                                                                        Contingent
              Debtor 2 only
                                                                        Unliquidated
              Debtor 1 and Debtor 2 only
                                                                        Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Credit card purchases




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 4.4
 90       SERVICE PAYMENT PLAN, INC                                  Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          303 E WACKER DR, STE 230                                   When was the debt incurred?
          CHICAGO, IL 60601
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Notice only / Business debt


 4.4
 91       SHALIA PATRICE KING                                        Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          5845 NUEVO LEON ST                                         When was the debt incurred?
          NORTH LAS VEGAS, NV 89031
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   NOTICE ONLY / BUSINESS VENDOR


 4.4
 92       SHAMARE NEWMAN                                             Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          411 CASA DEL NORTE                                         When was the debt incurred?
          NORTH LAS VEGAS, NV 89031
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   NOTICE ONLY / BUSINESS VENDOR




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 4.4
 93       SHAMEKA LASHI MCCLAIN                                      Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1500 KAREN AVE, APT 341                                    When was the debt incurred?
          LAS VEGAS, NV 89169
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   NOTICE ONLY / BUSINESS VENDOR


 4.4
 94       SHARON BARNEY PETTAWAY                                     Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          4350 CAPPAS ST, APT 102                                    When was the debt incurred?
          LAS VEGAS, NV 89115
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   NOTICE ONLY / BUSINESS VENDOR


 4.4
 95       SHARON MALLORY METCALF                                     Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1401 BOW CREEK CT                                          When was the debt incurred?
          LAS VEGAS, NV 89128
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   NOTICE ONLY / BUSINESS VENDOR




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 4.4
 96       SHASTINA PROSENICK                                         Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1901 N JONES BLVD, APT 2028                                When was the debt incurred?
          LAS VEGAS, NV 89108
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   NOTICE ONLY / BUSINESS VENDOR


 4.4
 97       SHAUNTELYN K MCNAIR                                        Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1216 PACIFIC TERRACE DR                                    When was the debt incurred?
          LAS VEGAS, NV 89128
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   NOTICE ONLY / BUSINESS VENDOR


 4.4
 98       SHAWN PAUAHI SANTANA                                       Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          10650 CLIFF RIDGE AVE                                      When was the debt incurred?
          LAS VEGAS, NV 89129
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   NOTICE ONLY / BUSINESS VENDOR




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 4.4
 99       SHAWNEISE RANAE LEWIS                                      Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          5055 E CHARLESTON BLVD, #C213                              When was the debt incurred?
          LAS VEGAS, NV 89104
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   NOTICE ONLY / BUSINESS VENDOR


 4.5
 00       SHERI ANN SHERRILL                                         Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          10504 PRIME VIEW CT                                        When was the debt incurred?
          LAS VEGAS, NV 89144
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   NOTICE ONLY / BUSINESS VENDOR


 4.5
 01       SHERRY LYNN BROWN                                          Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          2675 S NELLIS BLVD, 1140                                   When was the debt incurred?
          LAS VEGAS, NV 89129
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   NOTICE ONLY / BUSINESS VENDOR




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 4.5
 02       SHERRY RENEE WILLIAMS-LAMB                                 Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          6429 CHIPPINDALE LN                                        When was the debt incurred?
          LAS VEGAS, NV 89108
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   NOTICE ONLY / BUSINESS VENDOR


 4.5
 03       SHONTELLE JAZE YOUNG                                       Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1000 DUMONT BLVD, APT B253                                 When was the debt incurred?
          LAS VEGAS, NV 89169
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   NOTICE ONLY / BUSINESS VENDOR


 4.5
 04       SHRED-IT                                                   Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          4524 LAWRENCE STREET                                       When was the debt incurred?
          NORTH LAS VEGAS, NV 89081
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Notice only / Business debt




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 4.5
 05       SILKK DNIELLE WHIPPLE                                      Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          556 N EASTERN AVE, STE D                                   When was the debt incurred?
          LAS VEGAS, NV 89101
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   NOTICE ONLY / BUSINESS VENDOR


 4.5
 06       SIN CITY WHEELS & TIRES                                    Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          3040 SIMMONS STREET, SUITE 100                             When was the debt incurred?
          NORTH LAS VEGAS, NV 89032
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Notice only / Business debt


 4.5
 07       SION TRANSPORT LLC                                         Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1309 SW 154TH CT                                           When was the debt incurred?
          MIAMI, FL 33194
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Notice only / Business debt




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 4.5
 08       SMOG BUSTERS                                               Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          2711 E SAHARA AVE                                          When was the debt incurred?
          LAS VEGAS, NV 89104
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Notice only / Business debt


 4.5
 09       SMOG BUSTERS                                               Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          3800 W SAHARA AVE                                          When was the debt incurred?
          LAS VEGAS, NV 89102
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Notice only / Business debt


 4.5
 10       SONIA DELRIO-PELAYO                                        Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          3792 ANGEL FLIGHT DR                                       When was the debt incurred?
          LAS VEGAS, NV 89115
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   NOTICE ONLY / BUSINESS VENDOR




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 4.5
 11       SOUTHERN NEVADA PRINTING                                   Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          2910 HIGHLAND DRIVE, STE K                                 When was the debt incurred?
          LAS VEGAS, NV 89109
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Notice only / Business debt


 4.5      SOUTHWEST ADMINISTRATIVE
 12       SERVICES                                                   Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          2600 WESTWOOD DR                                           When was the debt incurred?
          LAS VEGAS, NV 89109
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Notice only / Business debt


 4.5
 13       SOUTHWEST AUTO TRANSPORT                                   Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          16026 N 8TH STREET                                         When was the debt incurred?
          PHOENIX, AZ 85022
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Notice only / Business debt




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 4.5
 14       SOUTHWESTRE                                                Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          2400 LOUISIANA BLVD NE                                     When was the debt incurred?
          BLDG 4, STE 100
          ALBUQUERQUE, NM 87110
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Notice only / Business debt


 4.5
 15       SPARKLETTS                                                 Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          PO BOX 660579                                              When was the debt incurred?
          DALLAS, TX 75266-0579
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Notice only / Business debt


 4.5
 16       STARSHAE MARY MADSEN                                       Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          5251 PIONEER AVE, APT 201                                  When was the debt incurred?
          LAS VEGAS, NV 89146
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   NOTICE ONLY / BUSINESS VENDOR




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 Debtor 1 Adam Edward Mallas                                                                              Case number (if know)

 4.5
 17       STELLAR AUTOMOTIVE GROUP                                   Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          4376 W RICKENBACKER WAY                                    When was the debt incurred?
          CHANDLER, AZ 85226
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Notice only / Business debt


 4.5      STEPHANIE ANGELICA
 18       WADSWORTH                                                  Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          3055 GARNETT CT                                            When was the debt incurred?
          LAS VEGAS, NV 89121
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   NOTICE ONLY / BUSINESS VENDOR


 4.5
 19       STEPHANIE LENELL LOWE                                      Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          924 MACFARLANE ST                                          When was the debt incurred?
          LAS VEGAS, NV 89101
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   NOTICE ONLY / BUSINESS VENDOR




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 4.5
 20       STEPHANIE LOUISE BEACH                                     Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          50 AURA DE PLANCO ST, APT                                  When was the debt incurred?
          15103
          HENDERSON, NV 89074
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   NOTICE ONLY / BUSINESS VENDOR


 4.5
 21       STEVEN KARL WILSON                                         Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          5370 E CRAIG RD, APT 2041                                  When was the debt incurred?
          LAS VEGAS, NV 89115
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   NOTICE ONLY / BUSINESS VENDOR


 4.5
 22       STEVEN LAMONT COTTON                                       Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1901 N JONES BLVD, APT 2028                                When was the debt incurred?
          LAS VEGAS, NV 89108
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   NOTICE ONLY / BUSINESS VENDOR




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 4.5
 23       SYNET AMELIA HINES                                         Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          4730 E CRAIG RD, APT 1168                                  When was the debt incurred?
          LAS VEGAS, NV 89115
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   NOTICE ONLY / BUSINESS VENDOR


 4.5
 24       TABATHA A CARTER                                           Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          3956 MAJESTIC GROVE DR                                     When was the debt incurred?
          LAS VEGAS, NV 89115-5000
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   NOTICE ONLY / BUSINESS VENDOR


 4.5
 25       TAKEISHA LASHELLE JOHNSON                                  Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          2900 EL CAMINO AVE, #274                                   When was the debt incurred?
          LAS VEGAS, NV 89102
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   NOTICE ONLY / BUSINESS VENDOR




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 4.5
 26       TANGANYKA J WHITING                                        Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          3770 SWENSON ST, APT K201                                  When was the debt incurred?
          LAS VEGAS, NV 89119
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   NOTICE ONLY / BUSINESS VENDOR


 4.5
 27       TANYA C RYANS                                              Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          2227 STEWART AVE, APT 4                                    When was the debt incurred?
          LAS VEGAS, NV 89101
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   NOTICE ONLY / BUSINESS VENDOR


 4.5
 28       TEISHA EVON BURKE                                          Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          2881 N RANCHO DR, APT 1064                                 When was the debt incurred?
          LAS VEGAS, NV 89130
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   NOTICE ONLY / BUSINESS VENDOR




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 4.5
 29       TELECHECK SERVICES, INC                                    Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          P.O. BOX 60028                                             When was the debt incurred?
          CITY OF INDUSTRY, CA 91716-0028
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Notice only / Business debt


 4.5
 30       TELEMUNDO                                                  Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          450 FREMONT ST                                             When was the debt incurred?
          LAS VEGAS, NV 89101
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Notice only / Business debt


 4.5
 31       TELISHA LYNN BRICE                                         Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1555 BALZAR AVE, APT 203                                   When was the debt incurred?
          LAS VEGAS, NV 89106
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   NOTICE ONLY / BUSINESS VENDOR




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 4.5
 32       TENNELLE RENAE JOHNSON                                     Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1304 WYATT AVE                                             When was the debt incurred?
          LAS VEGAS, NV 89106
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   NOTICE ONLY / BUSINESS VENDOR


 4.5
 33       TERESA LYNNE MORT                                          Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          6420 E TROPICANA AVE, #418                                 When was the debt incurred?
          LAS VEGAS, NV 89122
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   NOTICE ONLY / BUSINESS VENDOR


 4.5
 34       TERESA T BUNGCAYAO                                         Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          5154 S JONES BLVD, UNIT 101                                When was the debt incurred?
          LAS VEGAS, NV 89118
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   NOTICE ONLY / BUSINESS VENDOR




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 4.5
 35       TERRIBLE HERBST CHEVRON                                    Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          4070 S ARVILLE ST                                          When was the debt incurred?
          LAS VEGAS, NV 89103
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Notice only / Business debt


 4.5
 36       TERRY EDWARDS                                              Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          5809 REITER AVE                                            When was the debt incurred?
          LAS VEGAS, NV 89108
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   NOTICE ONLY / BUSINESS VENDOR


 4.5
 37       TERRY L GARDNER                                            Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          9411 SANTE FE ROSE ST                                      When was the debt incurred?
          LAS VEGAS, NV 89123
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   NOTICE ONLY / BUSINESS VENDOR




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 4.5
 38       THE HOME DEPOT                                             Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          4750 S DECATUR BLVD                                        When was the debt incurred?
          LAS VEGAS, NV 89103
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Notice only / Business debt


 4.5
 39       THE TOW TRUCK COMPANY                                      Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          3975 W HACIENDA AVE                                        When was the debt incurred?
          LAS VEGAS, NV 89118
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Notice only / Business debt


 4.5
 40       THOMAS JOSEPH BIRMINGHAM                                   Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          7836 BLUE CHARM AVE                                        When was the debt incurred?
          LAS VEGAS, NV 89149
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   NOTICE ONLY / BUSINESS VENDOR




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 4.5
 41       THOMAS THORTON BROWN III                                   Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          8600 W CHARLESTON BLVD, #1176                              When was the debt incurred?
          LAS VEGAS, NV 89116
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   NOTICE ONLY / BUSINESS VENDOR


 4.5
 42       TIAUSHANAE WILLIAMS                                        Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          10192 S MARYLAND PKWY, #2081                               When was the debt incurred?
          LAS VEGAS, NV 89183
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   NOTICE ONLY / BUSINESS VENDOR


 4.5
 43       TIFFINE SHELLS                                             Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          3333 N MICHAEL WAY, APT 2115                               When was the debt incurred?
          LAS VEGAS, NV 89108
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   NOTICE ONLY / BUSINESS VENDOR




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 Debtor 1 Adam Edward Mallas                                                                              Case number (if know)

 4.5
 44       TITLE MAX                                                  Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          4700 SPRING MOUNTAIN RD                                    When was the debt incurred?
          LAS VEGAS, NV 89102
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Notice only / Business debt


 4.5
 45       TOM JONES FORD                                             Last 4 digits of account number                                                        Unknown
          Nonpriority Creditor's Name
          2354 W HIGHWAY 85                                          When was the debt incurred?
          BUCKEYE, AZ 85326
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Notice only / Business debt - A&E Auto


 4.5
 46       TOM JONES FORD                                             Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          24600 W YUMA RD                                            When was the debt incurred?
          BUCKEYE, AZ 85326
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Notice only / Business debt - A&E Auto




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 4.5
 47       TONEHSA DANYALL NEWMAN                                     Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          5227 PORTAND CT                                            When was the debt incurred?
          NORTH LAS VEGAS, NV 89031
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   NOTICE ONLY / BUSINESS VENDOR


 4.5
 48       TONYALE JONTA HILL                                         Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          3121 W COLTON AVE                                          When was the debt incurred?
          LAS VEGAS, NV 89108
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   NOTICE ONLY / BUSINESS VENDOR


 4.5      TORI'ONNA KIERRA NA SHAY
 49       THOMA                                                      Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          5060 NELLIS OASIS LN, APT 2005                             When was the debt incurred?
          LAS VEGAS, NV 89115
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   NOTICE ONLY / BUSINESS VENDOR




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 4.5
 50       TRACY A JULES                                              Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          500 VICENT WAY                                             When was the debt incurred?
          LAS VEGAS, NV 89145
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   NOTICE ONLY / BUSINESS VENDOR


 4.5
 51       TRACY MARLENE CARRILLO                                     Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1055 E FLAMINGO RD, APT 217                                When was the debt incurred?
          LAS VEGAS, NV 89119
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   NOTICE ONLY / BUSINESS VENDOR


 4.5
 52       TRACY YOUNG WEBER                                          Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          4575 DEAN MARTIN DR, APT 911                               When was the debt incurred?
          LAS VEGAS, NV 89103
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   NOTICE ONLY / BUSINESS VENDOR




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 4.5      TRON SLADE (former general
 53       manager)                                                   Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1865 Granemore                                             When was the debt incurred?
          Las Vegas, NV 89135
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
                                                                     Type of NONPRIORITY unsecured claim:
              At least one of the debtors and another
                                                                        Student loans
              Check if this claim is for a community
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Notice only - former General Manager of
              Yes                                                       Other. Specify   A&E Auto


 4.5
 54       TRUE CAR                                                   Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          BRYAN CAVE                                                 When was the debt incurred?
          120 BROADWAY, #200
          SANTA MONICA, CA 90401
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Notice only / Business debt


 4.5
 55       TRUE CAR, INC                                              Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          DEPT LA 24198                                              When was the debt incurred?
          PASADENA, CA 91185-4198
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Notice only / Business debt




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 4.5
 56       TYLER WINFREE                                              Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          3825 CRAIG XING DR, APT 3101                               When was the debt incurred?
          NORTH LAS VEGAS, NV 89032
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   NOTICE ONLY / BUSINESS VENDOR


 4.5                                                                                                       A&E Auto
 57       UNITED AUTO CREDIT                                         Last 4 digits of account number       Sales                                            Unknown
          Nonpriority Creditor's Name
          1071 CAMELBACK ST, STE 100                                 When was the debt incurred?
          NEWPORT BEACH, CA 92660
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Notice only / Business debt - possible
              Yes                                                       Other. Specify   personal guaranty


 4.5
 58       USPS HEADQUARTERS                                          Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          475 L'ENFANT PLAZA SW                                      When was the debt incurred?
          Washington, DC 20260
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Notice only / Business debt




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 4.5
 59       V AUTO                                                     Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1901 S MEYERS RD, STE 700                                  When was the debt incurred?
          OAKBROOK TERRACE, IL
          60181-5211
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Notice only / Business debt


 4.5      Valley View Industrial Investors,
 60       LLC                                                        Last 4 digits of account number       View                                          $240,651.00
          Nonpriority Creditor's Name
          c/o Bendetti                                               When was the debt incurred?           April 29, 2016
          4 Executive Circle, Suite 190
          Irvine, CA 92614
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Personal guarantee of lease for Valley View
              Yes                                                       Other. Specify   location - A&E Auto Sales


 4.5
 61       VANESSA RENEE SMITH                                        Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          3829 PASTEL RIDGE ST                                       When was the debt incurred?
          NORTH LAS VEGAS, NV 89032
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   NOTICE ONLY / BUSINESS VENDOR




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 4.5
 62       VANNRYDA TOUCH                                             Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1135 SAGE VALLEY CT                                        When was the debt incurred?
          LAS VEGAS, NV 89110
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   NOTICE ONLY / BUSINESS VENDOR


 4.5
 63       VEGAS CITY MOTORS                                          Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          4160 S FORT APACHE RD STE B                                When was the debt incurred?
          LAS VEGAS, NV 89147
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Notice only / Business debt


 4.5
 64       VEGAS MACHINE                                              Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          5038 BOND ST                                               When was the debt incurred?
          LAS VEGAS, NV 89118
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Notice only / Business debt




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 4.5                                                                                                       A&E Auto
 65       VEROS CREDIT                                               Last 4 digits of account number       Sales                                            Unknown
          Nonpriority Creditor's Name
          500 N RAINBOW BLVD, STE 312                                When was the debt incurred?
          LAS VEGAS, NV 89107
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Notice only / Business debt - possible
              Yes                                                       Other. Specify   personal guaranty


 4.5
 66       VETERANS CARGO                                             Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          7664 W TUMBLEWOOD DR                                       When was the debt incurred?
          PEORIA, AZ 85382
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Notice only / Business debt


 4.5
 67       VISTAPRINT                                                 Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          95 HAYDEN AVE                                              When was the debt incurred?
          LEXINGTON, MA 02421-7942
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Notice only / Business debt




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 4.5
 68       VONAGE                                                     Last 4 digits of account number                                                        Unknown
          Nonpriority Creditor's Name
          23 MAIN STREET                                             When was the debt incurred?
          HOLMDEL, NJ 07733
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Notice only / Business debt - A&E Auto


 4.5
 69       WALKER TOWING                                              Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          2396 SILVER WOLF DR                                        When was the debt incurred?
          HENDERSON, NV 89011
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Notice only / Business debt


 4.5
 70       WALMART HEADQUARTERS                                       Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          702 SW 8TH ST                                              When was the debt incurred?
          BENTONVILLE, AR 72716
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Notice only / Business debt




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 Debtor 1 Adam Edward Mallas                                                                              Case number (if know)

 4.5
 71       WAYNE BRYAN BLANCHARD                                      Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          5453 S DURANGO DR, APT 1038                                When was the debt incurred?
          LAS VEGAS, NV 89113
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   NOTICE ONLY / BUSINESS VENDOR


 4.5
 72       WELLS FARGO DEALER SERVICES                                Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1740 BROADWAY                                              When was the debt incurred?
          LL2
          DENVER, CO 80274-0001
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Notice only / Business debt


 4.5      WEST EXPRESS
 73       TRANSPORTATION, LLC                                        Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1465 E PHILADELPHIA ST                                     When was the debt incurred?
          ONTARIO, CA 91761
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Notice only / Business debt




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 Debtor 1 Adam Edward Mallas                                                                              Case number (if know)

 4.5                                                                                                       A&E Auto
 74       WESTLAKE FINANCIAL SERVICES                                Last 4 digits of account number       Sales                                            Unknown
          Nonpriority Creditor's Name
          4751 WILSHIRE BLVD, STE 100                                When was the debt incurred?
          LOS ANGELES, CA 90010
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Notice only / Business debt- possible
              Yes                                                       Other. Specify   personal guaranty


 4.5
 75       WHEEL HOUSE                                                Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          3111 S VALLEY VIEW BLVD, STE                               When was the debt incurred?
          102
          LAS VEGAS, NV 89102
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Notice only / Business debt


 4.5
 76       WHITLEY ANASTACIA COX                                      Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          7810 TENSHAW AVE, #204                                     When was the debt incurred?
          LAS VEGAS, NV 89145
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   NOTICE ONLY / BUSINESS VENDOR




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 Debtor 1 Adam Edward Mallas                                                                              Case number (if know)

 4.5
 77       WILFREDO RIVERA JR                                         Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          3333 N MICHAEL WAY, APT 2115                               When was the debt incurred?
          LAS VEGAS, NV 89108
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   NOTICE ONLY / BUSINESS VENDOR


 4.5
 78       WILLIAM WAYNE HARTERY                                      Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          8753 ARWANA PL                                             When was the debt incurred?
          HENDERSON, NV 89074
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   NOTICE ONLY / BUSINESS VENDOR


 4.5
 79       Wise F&I LLC                                               Last 4 digits of account number       A&E Auto                                               $0.00
          Nonpriority Creditor's Name
          1670 Fenpark Drive                                         When was the debt incurred?           unknown
          Fenton, MO 63026
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Notice Only - Business Debt - gap
              Yes                                                       Other. Specify   insurance




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 Debtor 1 Adam Edward Mallas                                                                              Case number (if know)

 4.5
 80       WORLD AUTO TRANS INC                                       Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          6512 MECHAM AVE                                            When was the debt incurred?
          LAS VEGAS, NV 89107
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Notice only / Business debt


 4.5
 81       WORLDWIDE EXPRESS                                          Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          5000 MEADOWS RD, STE 440                                   When was the debt incurred?
          LAKE OSWEGO, OR 97035
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Notice only / Business debt


 4.5
 82       WRAP CITY                                                  Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          3863 S VALLEY VIEW BLVD, STE 10                            When was the debt incurred?
          LAS VEGAS, NV 89103
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Notice only / Business debt




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 Debtor 1 Adam Edward Mallas                                                                              Case number (if know)

 4.5
 83       WYLEIA CARTER                                              Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          5370 E CRAIG, APT 2279                                     When was the debt incurred?
          LAS VEGAS, NV 89115
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   NOTICE ONLY / BUSINESS VENDOR


 4.5
 84       YELP CORPORATE OFFICE                                      Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          706 MISSION ST                                             When was the debt incurred?
          SAN FRANCISCO, CA 94103
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Notice only / Business debt


 4.5
 85       YOLANDA BARRIOS CONTRERAS                                  Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          404 LOUISVILLE DR                                          When was the debt incurred?
          NORTH LAS VEGAS, NV 89031
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   NOTICE ONLY / BUSINESS VENDOR




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 Debtor 1 Adam Edward Mallas                                                                              Case number (if know)

 4.5
 86        YOLANDA PONCE                                             Last 4 digits of account number                                                                      $0.00
           Nonpriority Creditor's Name
           338 SWEETSPICE ST                                         When was the debt incurred?
           HENDERSON, NV 89014
           Number Street City State ZIp Code                         As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

               Check if this claim is for a community                   Student loans
           debt                                                         Obligations arising out of a separation agreement or divorce that you did not
           Is the claim subject to offset?                           report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   NOTICE ONLY / BUSINESS VENDOR


 4.5
 87        ZMON ERIC HOLCOMB                                         Last 4 digits of account number                                                                      $0.00
           Nonpriority Creditor's Name
           6516 SUNDOWN HEIGHTS AVE                                  When was the debt incurred?
           LAS VEGAS, NV 89130
           Number Street City State ZIp Code                         As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

               Check if this claim is for a community                   Student loans
           debt                                                         Obligations arising out of a separation agreement or divorce that you did not
           Is the claim subject to offset?                           report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   NOTICE ONLY / BUSINESS VENDOR

 Part 3:      List Others to Be Notified About a Debt That You Already Listed
5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For example, if a collection agency
   is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or 2, then list the collection agency here. Similarly, if you
   have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the additional creditors here. If you do not have additional persons to be
   notified for any debts in Parts 1 or 2, do not fill out or submit this page.
 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Commercial Collectors Inc.                                    Line 4.226 of (Check one):                   Part 1: Creditors with Priority Unsecured Claims
 P.O. Box 337                                                                                             Part 2: Creditors with Nonpriority Unsecured Claims
 Montrose, MN 55363
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Employment Development                                        Line 4.227 of (Check one):                   Part 1: Creditors with Priority Unsecured Claims
 Department                                                                                               Part 2: Creditors with Nonpriority Unsecured Claims
 P.O. Box 826880- UIPCD, MIC 40
 Sacramento, CA 94280-0001
                                                               Last 4 digits of account number                  Adam E. Mallas

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 INTERNET BRANDS                                               Line 4.95 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 909 N SEPULVEDA BLVD, 11TH FL                                                                            Part 2: Creditors with Nonpriority Unsecured Claims
 EL SEGUNDO, CA 90245
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 THE BENDETTI COMPANY                                          Line 4.560 of (Check one):                   Part 1: Creditors with Priority Unsecured Claims
 2 EXECUTIVE CIRCLE, #150                                                                                 Part 2: Creditors with Nonpriority Unsecured Claims

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 Debtor 1 Adam Edward Mallas                                                                            Case number (if know)

 IRVINE, CA 92614
                                                               Last 4 digits of account number


 Part 4:      Add the Amounts for Each Type of Unsecured Claim
6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. §159. Add the amounts for each
   type of unsecured claim.

                                                                                                                          Total Claim
                        6a.   Domestic support obligations                                               6a.      $                     0.00
        Total
      claims
  from Part 1           6b.   Taxes and certain other debts you owe the government                       6b.      $              156,043.95
                        6c.   Claims for death or personal injury while you were intoxicated             6c.      $                    0.00
                        6d.   Other. Add all other priority unsecured claims. Write that amount here.    6d.      $                    0.00

                        6e.   Total Priority. Add lines 6a through 6d.                                   6e.      $              156,043.95

                                                                                                                          Total Claim
                        6f.   Student loans                                                              6f.      $                     0.00
        Total
      claims
  from Part 2           6g.   Obligations arising out of a separation agreement or divorce that
                              you did not report as priority claims                                      6g.      $                     0.00
                        6h.   Debts to pension or profit-sharing plans, and other similar debts          6h.      $                     0.00
                        6i.   Other. Add all other nonpriority unsecured claims. Write that amount       6i.
                              here.                                                                               $             1,269,014.47

                        6j.   Total Nonpriority. Add lines 6f through 6i.                                6j.      $             1,269,014.47




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 198 of 198
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 Fill in this information to identify your case:

 Debtor 1                  Adam Edward Mallas
                           First Name                         Middle Name            Last Name

 Debtor 2
 (Spouse if, filing)       First Name                         Middle Name            Last Name


 United States Bankruptcy Court for the:               DISTRICT OF NEVADA

 Case number
 (if known)                                                                                                                             Check if this is an
                                                                                                                                        amended filing



Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                     12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
additional pages, write your name and case number (if known).

1.     Do you have any executory contracts or unexpired leases?
         No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
              Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B:Property (Official Form 106 A/B).

2.     List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for
       example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts
       and unexpired leases.


           Person or company with whom you have the contract or lease                   State what the contract or lease is for
                           Name, Number, Street, City, State and ZIP Code

     2.1       HYUNDAI MOTOR FINANCE                                                      lease of 2013 Hyundai Azera
               PO BOX 660891
               DALLAS, TX 75266-0891




Official Form 106G                                 Schedule G: Executory Contracts and Unexpired Leases                                                 Page 1 of 1
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 Fill in this information to identify your case:

 Debtor 1                      Adam Edward Mallas
                               First Name                         Middle Name              Last Name

 Debtor 2
 (Spouse if, filing)           First Name                         Middle Name              Last Name


 United States Bankruptcy Court for the:                   DISTRICT OF NEVADA

 Case number
 (if known)                                                                                                                               Check if this is an
                                                                                                                                          amended filing


Official Form 106H
Schedule H: Your Codebtors                                                                                                                                12/15

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married
people are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page,
fill it out, and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write
your name and case number (if known). Answer every question.

       1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.

           No
           Yes

       2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include
       Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

           No. Go to line 3.
           Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?

                       No
                       Yes.


                         In which community state or territory did you live?               -NONE-          . Fill in the name and current address of that person.


                         Name of your spouse, former spouse, or legal equivalent
                         Number, Street, City, State & Zip Code

   3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person shown
      in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on Schedule D (Official
      Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D, Schedule E/F, or Schedule G to fill
      out Column 2.

                Column 1: Your codebtor                                                                    Column 2: The creditor to whom you owe the debt
                Name, Number, Street, City, State and ZIP Code                                             Check all schedules that apply:


    3.1         A&E Auto Wholesale, LLC dba A&E Auto Sal                                                     Schedule D, line
                6440 Sky Point Drive, #140-286                                                               Schedule E/F, line    4.560
                Las Vegas, NV 89131
                                                                                                             Schedule G
                                                                                                           Valley View Industrial Investors, LLC



    3.2         A&E Auto Wholesale, LLC dba A&E Auto Sal                                                     Schedule D, line
                6440 Sky Point Drive, #140-286                                                               Schedule E/F, line         4.37
                Las Vegas, NV 89131
                                                                                                             Schedule G
                                                                                                           Angel Vargas




Official Form 106H                                                                     Schedule H: Your Codebtors                                    Page 1 of 82
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 Debtor 1 Adam Edward Mallas                                                              Case number (if known)


            Additional Page to List More Codebtors
             Column 1: Your codebtor                                                           Column 2: The creditor to whom you owe the debt
                                                                                               Check all schedules that apply:
    3.3      A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
             6440 Sky Point Drive, #140-286                                                      Schedule E/F, line 4.517
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               STELLAR AUTOMOTIVE GROUP



    3.4      A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
             6440 Sky Point Drive, #140-286                                                      Schedule E/F, line    4.515
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               SPARKLETTS



    3.5      A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
             6440 Sky Point Drive, #140-286                                                      Schedule E/F, line 4.529
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               TELECHECK SERVICES, INC



    3.6      A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
             6440 Sky Point Drive, #140-286                                                      Schedule E/F, line    4.530
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               TELEMUNDO



    3.7      A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
             6440 Sky Point Drive, #140-286                                                      Schedule E/F, line 4.535
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               TERRIBLE HERBST CHEVRON



    3.8      A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
             6440 Sky Point Drive, #140-286                                                      Schedule E/F, line 4.539
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               THE TOW TRUCK COMPANY



    3.9      A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
             6440 Sky Point Drive, #140-286                                                      Schedule E/F, line    4.407
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               NEXTGEAR




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                                                                                               Check all schedules that apply:
    3.10     A&E Auto Wholesale, LLC dba A&E Auto Sal                                             Schedule D, line
             6440 Sky Point Drive, #140-286                                                       Schedule E/F, line   4.544
             Las Vegas, NV 89131
                                                                                                  Schedule G
                                                                                               TITLE MAX



    3.11     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
             6440 Sky Point Drive, #140-286                                                      Schedule E/F, line    4.545
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               TOM JONES FORD



    3.12     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
             6440 Sky Point Drive, #140-286                                                      Schedule E/F, line 4.553
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               TRON SLADE (former general manager)



    3.13     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
             6440 Sky Point Drive, #140-286                                                      Schedule E/F, line    4.555
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               TRUE CAR, INC



    3.14     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
             6440 Sky Point Drive, #140-286                                                      Schedule E/F, line 4.12
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               ABS AUTO FINANCIAL



    3.15     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
             6440 Sky Point Drive, #140-286                                                      Schedule E/F, line 4.145
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               D & D CAR COMPANY



    3.16     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
             6440 Sky Point Drive, #140-286                                                      Schedule E/F, line 4.558
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               USPS HEADQUARTERS




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             Column 1: Your codebtor                                                           Column 2: The creditor to whom you owe the debt
                                                                                               Check all schedules that apply:
    3.17     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
             6440 Sky Point Drive, #140-286                                                      Schedule E/F, line    4.45
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               ARAMARK



    3.18     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
             6440 Sky Point Drive, #140-286                                                      Schedule E/F, line    4.559
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               V AUTO



    3.19     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
             6440 Sky Point Drive, #140-286                                                      Schedule E/F, line    4.564
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               VEGAS MACHINE



    3.20     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
             6440 Sky Point Drive, #140-286                                                      Schedule E/F, line 4.136
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               COX COMMUNICATION, INC



    3.21     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
             6440 Sky Point Drive, #140-286                                                      Schedule E/F, line    4.566
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               VETERANS CARGO



    3.22     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
             6440 Sky Point Drive, #140-286                                                      Schedule E/F, line    4.567
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               VISTAPRINT



    3.23     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
             6440 Sky Point Drive, #140-286                                                      Schedule E/F, line    4.568
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               VONAGE




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                                                                                               Check all schedules that apply:
    3.24     A&E Auto Wholesale, LLC dba A&E Auto Sal                                           Schedule D, line
             6440 Sky Point Drive, #140-286                                                     Schedule E/F, line     4.569
             Las Vegas, NV 89131
                                                                                                Schedule G
                                                                                               WALKER TOWING



    3.25     A&E Auto Wholesale, LLC dba A&E Auto Sal                                           Schedule D, line
             6440 Sky Point Drive, #140-286                                                     Schedule E/F, line 4.570
             Las Vegas, NV 89131
                                                                                                Schedule G
                                                                                               WALMART HEADQUARTERS



    3.26     A&E Auto Wholesale, LLC dba A&E Auto Sal                                           Schedule D, line
             6440 Sky Point Drive, #140-286                                                     Schedule E/F, line 4.572
             Las Vegas, NV 89131
                                                                                                Schedule G
                                                                                               WELLS FARGO DEALER SERVICES



    3.27     A&E Auto Wholesale, LLC dba A&E Auto Sal                                           Schedule D, line
             6440 Sky Point Drive, #140-286                                                     Schedule E/F, line 4.573
             Las Vegas, NV 89131
                                                                                                Schedule G
                                                                                               WEST EXPRESS TRANSPORTATION, LLC



    3.28     A&E Auto Wholesale, LLC dba A&E Auto Sal                                           Schedule D, line
             6440 Sky Point Drive, #140-286                                                     Schedule E/F, line     4.575
             Las Vegas, NV 89131
                                                                                                Schedule G
                                                                                               WHEEL HOUSE



    3.29     A&E Auto Wholesale, LLC dba A&E Auto Sal                                           Schedule D, line
             6440 Sky Point Drive, #140-286                                                     Schedule E/F, line 4.580
             Las Vegas, NV 89131
                                                                                                Schedule G
                                                                                               WORLD AUTO TRANS INC



    3.30     A&E Auto Wholesale, LLC dba A&E Auto Sal                                           Schedule D, line
             6440 Sky Point Drive, #140-286                                                     Schedule E/F, line 4.581
             Las Vegas, NV 89131
                                                                                                Schedule G
                                                                                               WORLDWIDE EXPRESS




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             Column 1: Your codebtor                                                           Column 2: The creditor to whom you owe the debt
                                                                                               Check all schedules that apply:
    3.31     A&E Auto Wholesale, LLC dba A&E Auto Sal                                           Schedule D, line
             6440 Sky Point Drive, #140-286                                                     Schedule E/F, line     4.582
             Las Vegas, NV 89131
                                                                                                Schedule G
                                                                                               WRAP CITY



    3.32     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
             6440 Sky Point Drive, #140-286                                                      Schedule E/F, line 4.584
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               YELP CORPORATE OFFICE



    3.33     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
             6440 Sky Point Drive, #140-286                                                      Schedule E/F, line 4.302
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               JONATHAN NEIL & ASSOCIATES, INC



    3.34     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
             6440 Sky Point Drive, #140-286                                                      Schedule E/F, line 4.438
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               PHILADELPHIA INSURANCE COMPANY



    3.35     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
             6440 Sky Point Drive, #140-286                                                      Schedule E/F, line 4.464
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               REYNOLDS COLLECTION SERVICES



    3.36     A&E Auto Wholesale, LLC dba A&E Auto Sal                                             Schedule D, line
             6440 Sky Point Drive, #140-286                                                       Schedule E/F, line 4.1
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               #1 TRANSMISSION SHOP AND AUTO REPAIR



    3.37     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
             6440 Sky Point Drive, #140-286                                                      Schedule E/F, line 4.2
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               1ST RESPONSE AUTO




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                                                                                               Check all schedules that apply:
    3.38     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
             6440 Sky Point Drive, #140-286                                                      Schedule E/F, line    4.3
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               700 CREDIT, LLC



    3.39     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
             6440 Sky Point Drive, #140-286                                                      Schedule E/F, line    4.4
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               777 AUTO GLASS



    3.40     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
             6440 Sky Point Drive, #140-286                                                      Schedule E/F, line 4.5
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               A TO Z TRANSPORT LLC



    3.41     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
             6440 Sky Point Drive, #140-286                                                      Schedule E/F, line    4.6
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               A&E AUTO SERVICE



    3.42     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
             6440 Sky Point Drive, #140-286                                                      Schedule E/F, line 4.8
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               AAA FIRE PROTECTION CORPORATION



    3.43     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
             6440 Sky Point Drive, #140-286                                                      Schedule E/F, line 4.9
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               AAMCO TRANSMISSION COMPLETE CAR
                                                                                               CARE



    3.44     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
             6440 Sky Point Drive, #140-286                                                      Schedule E/F, line    4.10
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               ABC HYUNDAI




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             Column 1: Your codebtor                                                           Column 2: The creditor to whom you owe the debt
                                                                                               Check all schedules that apply:
    3.45     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
             6440 Sky Point Drive, #140-286                                                      Schedule E/F, line 4.11
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               ABS AUTO AUCTIONS



    3.46     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
             6440 Sky Point Drive, #140-286                                                      Schedule E/F, line    4.13
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               ACE TECH, INC.



    3.47     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
             6440 Sky Point Drive, #140-286                                                      Schedule E/F, line 4.14
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               ACTION PRINTING SERVICE



    3.48     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
             6440 Sky Point Drive, #140-286                                                      Schedule E/F, line 4.16
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               ADT SECURITY SERVICES



    3.49     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
             6440 Sky Point Drive, #140-286                                                      Schedule E/F, line 4.17
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               ADVANCE MUFFLERS & CATALYTIC
                                                                                               CONVERTER



    3.50     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
             6440 Sky Point Drive, #140-286                                                      Schedule E/F, line    4.18
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               ADVANSTAFF HR



    3.51     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
             6440 Sky Point Drive, #140-286                                                      Schedule E/F, line    4.19
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               AHERN RENTALS




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             Column 1: Your codebtor                                                           Column 2: The creditor to whom you owe the debt
                                                                                               Check all schedules that apply:
    3.52     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
             6440 Sky Point Drive, #140-286                                                      Schedule E/F, line 4.26
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               ALPHA WARRANTY SERVICES



    3.53     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
             6440 Sky Point Drive, #140-286                                                      Schedule E/F, line 4.30
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               AMAZON FULFILLMENT CENTER



    3.54     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
             6440 Sky Point Drive, #140-286                                                      Schedule E/F, line 4.41
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               ANY & ALL LOCK & KEY



    3.55     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
             6440 Sky Point Drive, #140-286                                                      Schedule E/F, line    4.48
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               ARMANDO FLORES



    3.56     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
             6440 Sky Point Drive, #140-286                                                      Schedule E/F, line 4.50
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               ASBURY ENVIRONMENTAL SERVICES



    3.57     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
             6440 Sky Point Drive, #140-286                                                      Schedule E/F, line    4.53
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               AUDI LAS VEGAS



    3.58     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
             6440 Sky Point Drive, #140-286                                                      Schedule E/F, line 4.54
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               AUTO CREDIT EXPRESS




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             Column 1: Your codebtor                                                           Column 2: The creditor to whom you owe the debt
                                                                                               Check all schedules that apply:
    3.59     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
             6440 Sky Point Drive, #140-286                                                      Schedule E/F, line 4.55
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               AUTO PEARSON TRANSPORT



    3.60     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
             6440 Sky Point Drive, #140-286                                                      Schedule E/F, line    4.56
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               AUTO TRADER



    3.61     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
             6440 Sky Point Drive, #140-286                                                      Schedule E/F, line    4.57
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               AUTO ZONE



    3.62     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
             6440 Sky Point Drive, #140-286                                                      Schedule E/F, line 4.59
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               AUTONATION NISSAN



    3.63     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
             6440 Sky Point Drive, #140-286                                                      Schedule E/F, line    4.60
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               AVIS RENT A CAR



    3.64     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
             6440 Sky Point Drive, #140-286                                                      Schedule E/F, line 4.62
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               B&R AUTO WRECKING



    3.65     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
             6440 Sky Point Drive, #140-286                                                      Schedule E/F, line    4.65
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               BARCLAYCARD




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             Column 1: Your codebtor                                                           Column 2: The creditor to whom you owe the debt
                                                                                               Check all schedules that apply:
    3.66     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
             6440 Sky Point Drive, #140-286                                                      Schedule E/F, line 4.70
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               BOBBY'S MOTOR WORKS, LLC



    3.67     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
             6440 Sky Point Drive, #140-286                                                      Schedule E/F, line 4.83
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               BUSY BEE TIRE SHOP



    3.68     A&E Auto Wholesale, LLC dba A&E Auto Sal                                             Schedule D, line
             6440 Sky Point Drive, #140-286                                                       Schedule E/F, line 4.85
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               CALIFORNIA REPUBLIC BANK AUTO
                                                                                               FINANCE



    3.69     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
             6440 Sky Point Drive, #140-286                                                      Schedule E/F, line 4.93
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               CAPITAL PREMIUM FINANCING



    3.70     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
             6440 Sky Point Drive, #140-286                                                      Schedule E/F, line    4.94
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               CAR KEY



    3.71     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
             6440 Sky Point Drive, #140-286                                                      Schedule E/F, line    4.95
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               CAR.COM INC.



    3.72     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
             6440 Sky Point Drive, #140-286                                                      Schedule E/F, line 4.96
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               CARDINALEWAY MAZDA




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             Column 1: Your codebtor                                                           Column 2: The creditor to whom you owe the debt
                                                                                               Check all schedules that apply:
    3.73     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
             6440 Sky Point Drive, #140-286                                                      Schedule E/F, line    4.97
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               CARFAX, INC.



    3.74     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
             6440 Sky Point Drive, #140-286                                                      Schedule E/F, line    4.98
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               CARGURUS, INC.



    3.75     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
             6440 Sky Point Drive, #140-286                                                      Schedule E/F, line 4.99
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               CARMAX AUTO FINANCE



    3.76     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
             6440 Sky Point Drive, #140-286                                                      Schedule E/F, line    4.100
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               CASH LOGISTIC



    3.77     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
             6440 Sky Point Drive, #140-286                                                      Schedule E/F, line    4.108
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               CHAPMAN DODGE



    3.78     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
             6440 Sky Point Drive, #140-286                                                      Schedule E/F, line 4.110
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               CHASE AUTO FINANCE



    3.79     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
             6440 Sky Point Drive, #140-286                                                      Schedule E/F, line    4.112
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               CHASE VISA




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             Column 1: Your codebtor                                                           Column 2: The creditor to whom you owe the debt
                                                                                               Check all schedules that apply:
    3.80     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
             6440 Sky Point Drive, #140-286                                                      Schedule E/F, line    4.113
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               CHOICE MEDIA



    3.81     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
             6440 Sky Point Drive, #140-286                                                      Schedule E/F, line 4.118
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               CHRISTOPHER MARTINEZ



    3.82     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
             6440 Sky Point Drive, #140-286                                                      Schedule E/F, line 4.123
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               CINTAS CORPORATION #59



    3.83     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
             6440 Sky Point Drive, #140-286                                                      Schedule E/F, line    4.124
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               CITY OF LAS VEGAS



    3.84     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
             6440 Sky Point Drive, #140-286                                                      Schedule E/F, line 4.127
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               CLARK COUNTY BUSINESS LICENSE



    3.85     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
             6440 Sky Point Drive, #140-286                                                      Schedule E/F, line 4.130
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               CMS OF HOLLAND, INC



    3.86     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
             6440 Sky Point Drive, #140-286                                                      Schedule E/F, line 4.131
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               COAST HOTELS & CASINOS INC




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            Additional Page to List More Codebtors
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                                                                                               Check all schedules that apply:
    3.87     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
             6440 Sky Point Drive, #140-286                                                      Schedule E/F, line 4.133
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               COMMERCIAL EQUIPMENT REPAIR



    3.88     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
             6440 Sky Point Drive, #140-286                                                      Schedule E/F, line 4.137
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               COX COMMUNICATIONS, INC.



    3.89     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
             6440 Sky Point Drive, #140-286                                                      Schedule E/F, line    4.138
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               CRAIGSLIST



    3.90     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
             6440 Sky Point Drive, #140-286                                                      Schedule E/F, line    4.140
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               CROSSCHECK, INC



    3.91     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
             6440 Sky Point Drive, #140-286                                                      Schedule E/F, line 4.141
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               CSB TECHNOLOGIES



    3.92     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
             6440 Sky Point Drive, #140-286                                                      Schedule E/F, line 4.146
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               DALI TRANSPORTATION



    3.93     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
             6440 Sky Point Drive, #140-286                                                      Schedule E/F, line    4.155
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               DATASPHERE




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             Column 1: Your codebtor                                                           Column 2: The creditor to whom you owe the debt
                                                                                               Check all schedules that apply:
    3.94     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
             6440 Sky Point Drive, #140-286                                                      Schedule E/F, line 4.159
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               DEALER CAR SEARCH



    3.95     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
             6440 Sky Point Drive, #140-286                                                      Schedule E/F, line 4.160
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               DEALER SUPPLY COMPANY



    3.96     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
             6440 Sky Point Drive, #140-286                                                      Schedule E/F, line    4.162
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               DEALERTRACK



    3.97     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
             6440 Sky Point Drive, #140-286                                                      Schedule E/F, line 4.163
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               DEALERTRACK CENTRAL DISPATCH, INC.



    3.98     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
             6440 Sky Point Drive, #140-286                                                      Schedule E/F, line 4.164
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               DEALERTRACK, INC.



    3.99     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
             6440 Sky Point Drive, #140-286                                                      Schedule E/F, line 4.167
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               DENISE MCCULLOUGH



    3.10     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    0        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line    4.171
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               DENNIS PRECIOSO




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             Column 1: Your codebtor                                                           Column 2: The creditor to whom you owe the debt
                                                                                               Check all schedules that apply:
    3.10     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    1        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line 4.174
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               DESERT 215 SUPERSTORE



    3.10     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    2        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line 4.180
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               DIAZ OIL DISTRIBUTORS



    3.10     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    3        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line 4.181
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               DINGMAN TRANSPORT LLC



    3.10     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    4        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line 4.184
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               DISCOUNT TIRE COMPANY



    3.10     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    5        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line    4.191
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               DR. VINYL



    3.10     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    6        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line    4.196
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               E BIZ AUTOS



    3.10     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    7        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line 4.197
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               E-Z LETTERING SERVICE




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             Column 1: Your codebtor                                                           Column 2: The creditor to whom you owe the debt
                                                                                               Check all schedules that apply:
    3.10     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    8        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line 4.199
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               EDMONDS.COM, INC.



    3.10     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    9        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line    4.201
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               EL MUNDO



    3.11     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    0        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line    4.202
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               ELEAD ONE



    3.11     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    1        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line 4.206
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               EMPYRE AUTO PARTS



    3.11     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    2        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line 4.207
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               ENEMORIO ARZATE PENALOZA



    3.11     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    3        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line 4.209
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               ENTERPRISE CAR RENTAL



    3.11     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    4        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line 4.210
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               ENTRAVISION COMMUNICATIONS CORP




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             Column 1: Your codebtor                                                           Column 2: The creditor to whom you owe the debt
                                                                                               Check all schedules that apply:
    3.11     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    5        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line 4.211
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               EQUIFAX WORKFORCE SOLUTIONS



    3.11     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    6        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line 4.218
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               EVOLUTION MOTOR SPORTS



    3.11     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    7        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line 4.219
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               FAIRWAY CHEVROLET



    3.11     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    8        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line    4.220
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               FEDEX



    3.11     A&E Auto Wholesale, LLC dba A&E Auto Sal                                             Schedule D, line
    9        6440 Sky Point Drive, #140-286                                                       Schedule E/F, line 4.224
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               FINANCIAL GAP ADMINISTRATORS



    3.12     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    0        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line    4.225
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               FLM EXPRESS



    3.12     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    1        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line  4.226
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               FMP - Factory Motor Parts




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                                                                                               Check all schedules that apply:
    3.12     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    2        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line    4.229
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               FRAZER



    3.12     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    3        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line 4.230
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               FRONTIER COMMUNICATIONS



    3.12     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    4        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line    4.231
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               FRY'S ELECTRONIC



    3.12     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    5        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line    4.237
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               GAUDIN FORD



    3.12     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    6        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line 4.238
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               GILA EXPRESS AUTO TRANSPORT



    3.12     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    7        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line    4.239
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               GMT DESIGNS LLC



    3.12     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    8        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line 4.240
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               GOLDFINGER GOLDFINGER




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             Column 1: Your codebtor                                                           Column 2: The creditor to whom you owe the debt
                                                                                               Check all schedules that apply:
    3.12     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    9        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line    4.241
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               GPS SOLUTIONS



    3.13     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    0        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line 4.242
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               GUEST CONCEPTS, INC



    3.13     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    1        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line 4.243
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               GUILLERMO ROJAS OCAMPO



    3.13     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    2        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line 4.244
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               HARBOR FREIGHT TOOLS



    3.13     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    3        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line 4.246
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               HERTZ EQUIPMENT RENTAL



    3.13     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    4        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line 4.249
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               HONOR FINANCE, LLC



    3.13     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    5        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line    4.253
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               IHEART RADIO




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             Column 1: Your codebtor                                                           Column 2: The creditor to whom you owe the debt
                                                                                               Check all schedules that apply:
    3.13     A&E Auto Wholesale, LLC dba A&E Auto Sal                                             Schedule D, line
    6        6440 Sky Point Drive, #140-286                                                       Schedule E/F, line 4.254
             Las Vegas, NV 89131
                                                                                                  Schedule G
                                                                                               IN TOUCH CREDIT UNION



    3.13     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    7        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line 4.255
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               INSURANCE EXPRESS



    3.13     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    8        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line    4.256
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               INSURED SERVICES



    3.13     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    9        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line 4.257
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               INTUIT QUICKBOOKS



    3.14     A&E Auto Wholesale, LLC dba A&E Auto Sal                                             Schedule D, line
    0        6440 Sky Point Drive, #140-286                                                       Schedule E/F, line   4.260
             Las Vegas, NV 89131
                                                                                                  Schedule G
                                                                                               ITS



    3.14     A&E Auto Wholesale, LLC dba A&E Auto Sal                                             Schedule D, line
    1        6440 Sky Point Drive, #140-286                                                       Schedule E/F, line   4.261
             Las Vegas, NV 89131
                                                                                                  Schedule G
                                                                                               J & S DIESEL



    3.14     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    2        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line 4.263
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               JAGUAR LAND ROVER OF LAS VEGAS




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             Column 1: Your codebtor                                                           Column 2: The creditor to whom you owe the debt
                                                                                               Check all schedules that apply:
    3.14     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    3        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line 4.275
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               JB AUTO BODY PARTS



    3.14     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    4        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line 4.276
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               JDT MARKETING INC



    3.14     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    5        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line 4.289
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               JMD PROFESSIONAL AUTO DETAIL



    3.14     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    6        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line    4.290
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               JOE TOLEFREE JR



    3.14     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    7        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line    4.294
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               JOHN PRIAN



    3.14     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    8        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line    4.300
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               JOHNNY DOLSTRA



    3.14     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    9        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line    4.314
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               JW COMPANY




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                                                                                               Check all schedules that apply:
    3.15     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    0        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line    4.316
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               KARON LETHER



    3.15     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    1        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line 4.320
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               KEEP ON ROLING TRANSPORTATION



    3.15     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    2        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line 4.322
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               KEMP BROADCASTING



    3.15     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    3        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line 4.323
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               KENSINGTON MOTOR CARS



    3.15     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    4        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line 4.336
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               LANCE SURETY BOND ASSOCIATES, INC



    3.15     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    5        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line 4.338
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               LAS VEGAS CONSTABLE



    3.15     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    6        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line 4.339
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               LAS VEGAS REVIEW JOURNAL




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                                                                                               Check all schedules that apply:
    3.15     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    7        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line 4.340
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               LAS VEGAS WHEEL WORKS



    3.15     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    8        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line 4.345
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               LEXUS OF LAS VEGAS



    3.15     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    9        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line    4.349
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               LKQ OF NEVADA



    3.16     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    0        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line    4.359
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               LV AUTO CARE



    3.16     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    1        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line    4.360
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               LV AUTO GROUP



    3.16     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    2        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line    4.362
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               MANHEIM - DALLAS



    3.16     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    3        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line 4.363
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               MANHEIM - FORT LAUDERDALE




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            Additional Page to List More Codebtors
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                                                                                               Check all schedules that apply:
    3.16     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    4        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line    4.364
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               MANHEIM - NEVADA



    3.16     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    5        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line 4.365
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               MANHEIM - RIVERSIDE



    3.16     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    6        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line    4.392
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               MOJAVE ELECTRIC



    3.16     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    7        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line 4.394
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               MY CLEANING AND JANITORIAL



    3.16     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    8        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line    4.395
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               MY TRUE MILES INC



    3.16     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    9        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line    4.397
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               NAPA AUTO PARTS



    3.17     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    0        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line 4.402
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               NEVADA DEPARTMENT OF MOTOR
                                                                                               VEHICLES




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             Column 1: Your codebtor                                                           Column 2: The creditor to whom you owe the debt
                                                                                               Check all schedules that apply:
    3.17     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    1        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line 4.403
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               NEVADA DEPARTMENT OF TAXATION



    3.17     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    2        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line    4.404
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               NEVADA ENERGY



    3.17     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    3        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line    4.405
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               NEVADA TIRE CITY



    3.17     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    4        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line 4.406
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               NEVADA WEST FINANCIAL



    3.17     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    5        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line 4.411
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               NOE PADILLA'S AUTO GLASS



    3.17     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    6        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line    4.415
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               NV ENERGY



    3.17     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    7        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line    4.416
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               NV ENERGY




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             Column 1: Your codebtor                                                           Column 2: The creditor to whom you owe the debt
                                                                                               Check all schedules that apply:
    3.17     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    8        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line 4.417
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               O'REILLY AUTO PARTS



    3.17     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    9        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line    4.418
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               OFFICE DEPOT/MAX



    3.18     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    0        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line    4.419
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               OLYMPIC AUTO



    3.18     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    1        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line 4.420
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               ONE NEVADA CREDIT UNION



    3.18     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    2        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line 4.421
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               ONE STOP SHIPPING



    3.18     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    3        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line    4.426
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               PA EXPRESS



    3.18     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    4        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line 4.427
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               PABLO DEL CASTILLO




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             Column 1: Your codebtor                                                           Column 2: The creditor to whom you owe the debt
                                                                                               Check all schedules that apply:
    3.18     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    5        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line 4.428
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               PADILLA'S AUTO GLASS



    3.18     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    6        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line    4.431
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               PAYPAL CREDIT



    3.18     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    7        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line    4.436
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               PETER BORCSANYI



    3.18     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    8        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line 4.441
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               PHILLY EXPRESS GROUP LLC



    3.18     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    9        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line 4.442
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               PRECISION AUTO TRANSPORT LLC



    3.19     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    0        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line 4.444
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               QUALITY ACCEPTANCE



    3.19     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    1        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line 4.445
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               QUICK & FAIR TOWING




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                                                                                               Check all schedules that apply:
    3.19     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    2        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line    4.446
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               RAISING CANES



    3.19     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    3        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line    4.449
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               RAYMOND HAYES



    3.19     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    4        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line    4.450
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               READY LOGISTIC



    3.19     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    5        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line    4.451
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               READY REFRESH



    3.19     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    6        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line    4.456
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               REGINA PETERSON



    3.19     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    7        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line 4.461
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               REPUBLIC SERVICES #620



    3.19     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    8        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line    4.462
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               REVIEW JOURNAL




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             Column 1: Your codebtor                                                           Column 2: The creditor to whom you owe the debt
                                                                                               Check all schedules that apply:
    3.19     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    9        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line 4.463
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               REYNOLDS & REYNOLDS



    3.20     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    0        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line 4.468
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               RICARDO'S MEXICAN RESTAURANT



    3.20     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    1        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line 4.479
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               RUNNERS R US, INC.



    3.20     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    2        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line    4.482
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               SAFEGUARD



    3.20     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    3        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line    4.483
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               SAHARA DODGE



    3.20     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    4        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line 4.488
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               SCHOOLS FIRST FEDERAL CREDIT UNION



    3.20     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    5        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line 4.490
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               SERVICE PAYMENT PLAN, INC




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             Column 1: Your codebtor                                                           Column 2: The creditor to whom you owe the debt
                                                                                               Check all schedules that apply:
    3.20     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    6        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line    4.504
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               SHRED-IT



    3.20     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    7        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line 4.506
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               SIN CITY WHEELS & TIRES



    3.20     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    8        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line 4.507
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               SION TRANSPORT LLC



    3.20     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    9        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line    4.508
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               SMOG BUSTERS



    3.21     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    0        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line 4.511
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               SOUTHERN NEVADA PRINTING



    3.21     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    1        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line 4.512
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               SOUTHWEST ADMINISTRATIVE SERVICES



    3.21     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    2        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line 4.513
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               SOUTHWEST AUTO TRANSPORT




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             Column 1: Your codebtor                                                           Column 2: The creditor to whom you owe the debt
                                                                                               Check all schedules that apply:
    3.21     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    3        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line    4.514
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               SOUTHWESTRE



    3.21     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    4        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line 4.68
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               BHFC FINANCIAL SERVICES



    3.21     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    5        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line    4.121
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               CIG FINANCIAL



    3.21     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    6        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line 4.139
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               CREDIT ACCEPTANCE CORPORATION



    3.21     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    7        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line 4.84
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               CALIFORNIA REPUBLIC BANK AUTO



    3.21     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    8        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line 4.194
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               DRIVE IT AUTO GROUP



    3.21     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    9        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line 4.236
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               GATEWAY ONE LENDING AND FINANCE




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             Column 1: Your codebtor                                                           Column 2: The creditor to whom you owe the debt
                                                                                               Check all schedules that apply:
    3.22     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    0        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line    4.350
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               LOBEL FINANCIAL



    3.22     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    1        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line    4.377
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               MECHANICS BANK



    3.22     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    2        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line 4.399
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               NATIONWIDE NEVADA LLC



    3.22     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    3        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line 4.422
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               OREGON AUTO FINANCE



    3.22     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    4        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line 4.443
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               PRIME ACCEPTANCE CORPORATION



    3.22     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    5        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line 4.472
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               RIGHT SIZE FUNDING



    3.22     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    6        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line 4.557
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               UNITED AUTO CREDIT




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             Column 1: Your codebtor                                                           Column 2: The creditor to whom you owe the debt
                                                                                               Check all schedules that apply:
    3.22     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    7        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line    4.565
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               VEROS CREDIT



    3.22     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    8        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line 4.388
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               MIGUEL ANGEL ESCOBAR



    3.22     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    9        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line 4.412
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               NONA DANIELLE DAILEY



    3.23     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    0        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line 4.306
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               JORGE PARRA-MEZA



    3.23     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    1        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line    4.492
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               SHAMARE NEWMAN



    3.23     A&E Auto Wholesale, LLC dba A&E Auto Sal                                             Schedule D, line
    2        6440 Sky Point Drive, #140-286                                                       Schedule E/F, line 4.346
             Las Vegas, NV 89131
                                                                                                  Schedule G
                                                                                               LILLIE MARIE DAVIS-ADAMS



    3.23     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    3        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line 4.523
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               SYNET AMELIA HINES




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             Column 1: Your codebtor                                                           Column 2: The creditor to whom you owe the debt
                                                                                               Check all schedules that apply:
    3.23     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    4        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line 4.217
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               EVAN MICHAEL MYNATT



    3.23     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    5        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line    4.487
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               SAUL LUNA



    3.23     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    6        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line 4.215
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               ERNESTO ALONSO RENTERIA-PEREZ



    3.23     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    7        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line 4.378
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               MELODIE SUETWILA DAVIS



    3.23     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    8        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line 4.82
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               BRITTNY RAELYNN KAISER



    3.23     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    9        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line 4.310
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               JOSEPH MICHAEL LANE



    3.24     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    0        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line 4.375
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               MAUALEI EMILE HENREYETT




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                                                                                               Check all schedules that apply:
    3.24     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    1        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line 4.304
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               JORDAN TAYLOR JOHNSON



    3.24     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    2        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line    4.107
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               CHANTEL KLINGER



    3.24     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    3        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line 4.371
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               MARKIE SAMUEL PRATER



    3.24     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    4        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line 4.80
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               BRIANA MARY-RENEE BRANCH



    3.24     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    5        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line    4.307
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               JORGE SARABIA



    3.24     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    6        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line 4.299
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               JOHN WHITNEY JONES



    3.24     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    7        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line 4.216
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               EUMEKA DENISE THOMAS




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             Column 1: Your codebtor                                                           Column 2: The creditor to whom you owe the debt
                                                                                               Check all schedules that apply:
    3.24     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    8        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line 4.333
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               KURSTIN DIANE SULLIVAN



    3.24     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    9        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line 4.470
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               RICHARD DWIGHT EISENBEIS



    3.25     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    0        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line 4.334
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               KURUKULASURIYA AUSTIN PERIES



    3.25     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    1        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line 4.522
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               STEVEN LAMONT COTTON



    3.25     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    2        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line    4.386
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               MICHELLE SLACK



    3.25     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    3        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line 4.357
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               LUIS ARMANDO AGUILAR VILLEGAS



    3.25     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    4        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line 4.475
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               ROBERT THOMPSON




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             Column 1: Your codebtor                                                           Column 2: The creditor to whom you owe the debt
                                                                                               Check all schedules that apply:
    3.25     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    5        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line 4.524
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               TABATHA A CARTER



    3.25     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    6        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line 4.143
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               CYNTHIA DOMINGUEZ



    3.25     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    7        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line 4.128
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               CLAUDIA A SARABIA RANGEL



    3.25     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    8        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line 4.122
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               CINDY LORENE BROUSSARD



    3.25     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    9        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line    4.536
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               TERRY EDWARDS



    3.26     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    0        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line 4.500
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               SHERI ANN SHERRILL



    3.26     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    1        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line 4.44
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               AQUANDRA WILLIAMS




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             Column 1: Your codebtor                                                           Column 2: The creditor to whom you owe the debt
                                                                                               Check all schedules that apply:
    3.26     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    2        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line 4.76
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               BREANA ESTELE BELANGER



    3.26     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    3        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line 4.467
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               RICARDO RUIZ-HERRERA



    3.26     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    4        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line 4.540
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               THOMAS JOSEPH BIRMINGHAM



    3.26     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    5        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line 4.455
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               REGINA AGNES PETERSON



    3.26     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    6        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line    4.481
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               RUTHANN TURNER



    3.26     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    7        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line 4.516
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               STARSHAE MARY MADSEN



    3.26     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    8        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line    4.153
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               DARRYL LORENZ




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             Column 1: Your codebtor                                                           Column 2: The creditor to whom you owe the debt
                                                                                               Check all schedules that apply:
    3.26     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    9        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line 4.170
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               DENNIS DARIO PRECIOSO



    3.27     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    0        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line    4.379
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               MIA VANEE BRYANT



    3.27     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    1        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line    4.410
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               NITSA ESGUERRA



    3.27     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    2        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line 4.270
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               JANEIQUA ELIZABETH CARTER



    3.27     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    3        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line 4.157
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               DAVID CHRISTOPHER EARL



    3.27     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    4        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line 4.119
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               CHRISTOPHER TORRES



    3.27     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    5        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line 4.453
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               REBECCA SANDLER




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             Column 1: Your codebtor                                                           Column 2: The creditor to whom you owe the debt
                                                                                               Check all schedules that apply:
    3.27     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    6        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line 4.541
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               THOMAS THORTON BROWN III



    3.27     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    7        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line    4.376
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               MEAGAN BRYANT



    3.27     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    8        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line 4.15
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               ADAM DRAKE ROSLING



    3.27     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    9        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line 4.469
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               RICHARD CHARLES SLACK



    3.28     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    0        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line 4.499
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               SHAWNEISE RANAE LEWIS



    3.28     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    1        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line 4.327
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               KIFAH NIDHAL MARGOLIS



    3.28     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    2        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line 4.525
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               TAKEISHA LASHELLE JOHNSON




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             Column 1: Your codebtor                                                           Column 2: The creditor to whom you owe the debt
                                                                                               Check all schedules that apply:
    3.28     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    3        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line 4.38
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               ANGELA ELAINE GARDNER



    3.28     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    4        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line 4.303
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               JONATHAN ROMERO-DURAN



    3.28     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    5        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line    4.315
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               KAREN RAYE CECI



    3.28     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    6        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line    4.29
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               AMANDA VILLAROS



    3.28     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    7        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line 4.400
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               NESTOR DE JESUS ORTIZ



    3.28     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    8        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line 4.283
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               JESSE MAHMOUD ISMAIL SBAIH



    3.28     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    9        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line 4.495
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               SHARON MALLORY METCALF




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             Column 1: Your codebtor                                                           Column 2: The creditor to whom you owe the debt
                                                                                               Check all schedules that apply:
    3.29     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    0        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line 4.74
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               BRANDON LEON CHAPMOND



    3.29     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    1        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line 4.353
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               LOUISE MIYUKI DEPIERO



    3.29     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    2        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line 4.295
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               JOHN ROBERT PENA JR



    3.29     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    3        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line 4.296
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               JOHN STEVE PASHALES



    3.29     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    4        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line 4.317
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               KATHERINNE ESTEFANIA FRANCO



    3.29     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    5        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line 4.105
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               CELESTINE TURNER



    3.29     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    6        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line 4.396
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               MYSHADO KAJON DAVIS




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             Column 1: Your codebtor                                                           Column 2: The creditor to whom you owe the debt
                                                                                               Check all schedules that apply:
    3.29     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    7        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line    4.212
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               ERICA LEE LYNCH



    3.29     A&E Auto Wholesale, LLC dba A&E Auto Sal                                             Schedule D, line
    8        6440 Sky Point Drive, #140-286                                                       Schedule E/F, line   4.347
             Las Vegas, NV 89131
                                                                                                  Schedule G
                                                                                               LISA CARPENTER



    3.29     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    9        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line 4.187
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               DOMINIQUE SHOREESE LEE



    3.30     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    0        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line 4.34
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               ANDREW JAMES BENJAMIN ARCHER



    3.30     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    1        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line 4.233
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               GARY JAMES BROWN JR



    3.30     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    2        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line 4.73
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               BRANDEE LEE KALEIOKALANI CABAG



    3.30     A&E Auto Wholesale, LLC dba A&E Auto Sal                                           Schedule D, line
    3        6440 Sky Point Drive, #140-286                                                     Schedule E/F, line     4.583
             Las Vegas, NV 89131
                                                                                                Schedule G
                                                                                               WYLEIA CARTER




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             Column 1: Your codebtor                                                           Column 2: The creditor to whom you owe the debt
                                                                                               Check all schedules that apply:
    3.30     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    4        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line    4.380
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               MICHAEL A WITHEM



    3.30     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    5        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line 4.313
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               JOSHUA TATSU KEACH



    3.30     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    6        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line 4.234
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               GARY STEVEN CAPONE



    3.30     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    7        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line    4.43
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               APRIL TUIA



    3.30     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    8        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line 4.298
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               JOHN TIMOTHY HERRERA



    3.30     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    9        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line 4.189
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               DOROTHY EISENBEIS



    3.31     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    0        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line    4.385
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               MICHAEL TUNG BUI




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             Column 1: Your codebtor                                                           Column 2: The creditor to whom you owe the debt
                                                                                               Check all schedules that apply:
    3.31     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    1        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line 4.413
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               NORMAN ALEXANDER FAY



    3.31     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    2        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line 4.447
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               RANDOM I K AH-MOW



    3.31     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    3        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line    4.369
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               MARITES CRUZADA



    3.31     A&E Auto Wholesale, LLC dba A&E Auto Sal                                           Schedule D, line
    4        6440 Sky Point Drive, #140-286                                                     Schedule E/F, line 4.571
             Las Vegas, NV 89131
                                                                                                Schedule G
                                                                                               WAYNE BRYAN BLANCHARD



    3.31     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    5        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line    4.24
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               ALEXIS ROGERS



    3.31     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    6        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line 4.476
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               ROCHELE LYN HOLLAND-WEINSTEIN



    3.31     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    7        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line 4.176
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               DESIRE KUU LEO NAHINAHI EVANS




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             Column 1: Your codebtor                                                           Column 2: The creditor to whom you owe the debt
                                                                                               Check all schedules that apply:
    3.31     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    8        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line 4.149
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               DANIEL PETER CONFROY ALDWELL



    3.31     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    9        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line 4.142
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               CYLE JOSEPH BRISTER



    3.32     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    0        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line 4.39
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               ANTHONY ESPINOZA



    3.32     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    1        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line 4.519
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               STEPHANIE LENELL LOWE



    3.32     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    2        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line 4.390
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               MIRANDA CANIELLE DAVIS



    3.32     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    3        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line    4.332
             Las Vegas, NV 89131
                                                                                                 Schedule G
             .
                                                                                               KIRK SPARKS



    3.32     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    4        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line 4.361
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               MA ROSALBA RUBIO PALMOERA




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            Additional Page to List More Codebtors
             Column 1: Your codebtor                                                           Column 2: The creditor to whom you owe the debt
                                                                                               Check all schedules that apply:
    3.32     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    5        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line 4.42
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               APRIL CHRISTINE BUTLER



    3.32     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    6        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line    4.280
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               JERRY BUTLER



    3.32     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    7        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line    4.198
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               EDITHA KOFF



    3.32     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    8        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line    4.471
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               RICHARD K CASE



    3.32     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    9        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line    4.537
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               TERRY L GARDNER



    3.33     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    0        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line 4.101
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               CASSANDRA LASHA MCCLAIN



    3.33     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    1        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line    4.485
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               SAMUEL GIGLIA




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             Column 1: Your codebtor                                                           Column 2: The creditor to whom you owe the debt
                                                                                               Check all schedules that apply:
    3.33     A&E Auto Wholesale, LLC dba A&E Auto Sal                                             Schedule D, line
    2        6440 Sky Point Drive, #140-286                                                       Schedule E/F, line 4.288
             Las Vegas, NV 89131
                                                                                                  Schedule G
                                                                                               JILLIAN ALEXIS THOMPSON



    3.33     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    3        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line 4.21
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               ALEJANDRO GARCIA



    3.33     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    4        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line    4.193
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               DRAKE ROSLING



    3.33     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    5        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line 4.480
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               RUSSELL F SHAFFER



    3.33     A&E Auto Wholesale, LLC dba A&E Auto Sal                                             Schedule D, line
    6        6440 Sky Point Drive, #140-286                                                       Schedule E/F, line 4.505
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               SILKK DNIELLE WHIPPLE



    3.33     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    7        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line 4.466
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               RHONDA LENELL CHERRY



    3.33     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    8        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line 4.282
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               JESSE JAMES GORDON-BEST




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            Additional Page to List More Codebtors
             Column 1: Your codebtor                                                           Column 2: The creditor to whom you owe the debt
                                                                                               Check all schedules that apply:
    3.33     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    9        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line 4.491
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               SHALIA PATRICE KING



    3.34     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    0        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line 4.382
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               MICHAEL JOSUE LAINEZ



    3.34     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    1        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line    4.550
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               TRACY A JULES



    3.34     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    2        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line    4.279
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               JEROME OVERTON



    3.34     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    3        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line 4.49
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               ARTHUR AMBANTA CATUBAY



    3.34     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    4        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line    4.245
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               HECTOR ARTEAGA



    3.34     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    5        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line 4.429
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               PASCUAL JIMENEZ-JIMENEZ




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             Column 1: Your codebtor                                                           Column 2: The creditor to whom you owe the debt
                                                                                               Check all schedules that apply:
    3.34     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    6        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line 4.264
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               JAMAR RASHAN GROVNER



    3.34     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    7        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line 4.173
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               DEREK MICHAEL LAWRENCE



    3.34     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    8        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line 4.271
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               JARED BROUSSARD



    3.34     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    9        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line 4.292
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               JOHN FRAZIER MCINTOSH



    3.35     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    0        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line 4.182
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               DIONNE APRIL TSUNETA



    3.35     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    1        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line 4.510
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               SONIA DELRIO-PELAYO



    3.35     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    2        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line 4.151
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               DARBY BRAD SANDERS




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             Column 1: Your codebtor                                                           Column 2: The creditor to whom you owe the debt
                                                                                               Check all schedules that apply:
    3.35     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    3        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line 4.152
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               DARNELLA MARIA BIRD



    3.35     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    4        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line 4.287
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               JESUS MENDIOLA-VALDIVIEZO



    3.35     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    5        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line 4.273
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               JASON THOMAS VOWELL



    3.35     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    6        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line 4.352
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               LORRYANN BULTEDAOB



    3.35     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    7        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line    4.305
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               JORGE A DELRIO



    3.35     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    8        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line 4.358
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               LURETHA ROBINSON



    3.35     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    9        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line    4.324
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               KEVANTE MILLS




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             Column 1: Your codebtor                                                           Column 2: The creditor to whom you owe the debt
                                                                                               Check all schedules that apply:
    3.36     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    0        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line 4.144
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               CYNTHIA MARIA FISHER



    3.36     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    1        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line 4.368
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               MARIA SABRINA GODINO



    3.36     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    2        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line 4.425
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               OSVALDO ANDRADE ZEPEDA



    3.36     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    3        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line    4.329
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               KIMBERLY ESTALA



    3.36     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    4        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line 4.265
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               JAMES FRANCIS KERRIGAN



    3.36     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    5        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line 4.177
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               DESTINY RAE OBRIEN



    3.36     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    6        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line 4.102
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               CECILIA LEPOLO-MUASAU




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             Column 1: Your codebtor                                                           Column 2: The creditor to whom you owe the debt
                                                                                               Check all schedules that apply:
    3.36     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    7        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line 4.132
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               COLTON JON WILLIFORD



    3.36     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    8        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line 4.493
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               SHAMEKA LASHI MCCLAIN



    3.36     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    9        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line    4.293
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               JOHN LEE THOMAS



    3.37     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    0        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line 4.342
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               LEA NORA RENEE THOMPSON



    3.37     A&E Auto Wholesale, LLC dba A&E Auto Sal                                             Schedule D, line
    1        6440 Sky Point Drive, #140-286                                                       Schedule E/F, line   4.543
             Las Vegas, NV 89131
                                                                                                  Schedule G
                                                                                               TIFFINE SHELLS



    3.37     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    2        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line 4.114
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               CHRISTINA NICOLE GEIGER



    3.37     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    3        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line 4.78
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               BRESHA DEANN GRAHAM




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             Column 1: Your codebtor                                                           Column 2: The creditor to whom you owe the debt
                                                                                               Check all schedules that apply:
    3.37     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    4        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line 4.297
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               JOHN STEVEN NELSON



    3.37     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    5        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line 4.383
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               MICHAEL LEWIS KOFF



    3.37     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    6        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line 4.319
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               KEELI DEANA WOODS-BEDELL



    3.37     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    7        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line 4.414
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               NURIA ANISA HERNANDEZ



    3.37     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    8        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line 4.494
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               SHARON BARNEY PETTAWAY



    3.37     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    9        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line 4.66
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               BARRY HENDERSON



    3.38     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    0        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line 4.67
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               BARRY JAY HENDERSON JR




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             Column 1: Your codebtor                                                           Column 2: The creditor to whom you owe the debt
                                                                                               Check all schedules that apply:
    3.38     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    1        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line 4.286
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               JESSICA ANN LORENZ



    3.38     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    2        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line 4.370
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               MARK GREGORY SMITH



    3.38     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    3        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line 4.214
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               ERIK RICHARD CLAUSON



    3.38     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    4        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line    4.387
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               MIECHKO RILEY



    3.38     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    5        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line 4.213
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               ERICK ANTHONY SEWELL



    3.38     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    6        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line 4.503
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               SHONTELLE JAZE YOUNG



    3.38     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    7        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line 4.437
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               PETRA DE MAXIMO-ROMERO




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            Additional Page to List More Codebtors
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                                                                                               Check all schedules that apply:
    3.38     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    8        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line 4.433
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               PEDRO G SANCHEZ QUIEBRAS



    3.38     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    9        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line 4.104
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               CEDRIC DEMETRIUS HENDERSON



    3.39     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    0        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line 4.531
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               TELISHA LYNN BRICE



    3.39     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    1        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line 4.474
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               ROBERT LEE GREEN JR



    3.39     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    2        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line 4.577
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               WILFREDO RIVERA JR



    3.39     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    3        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line    4.321
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               KEIKO CUBIT



    3.39     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    4        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line 4.35
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               ANDREW JAMES EDWARDS




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             Column 1: Your codebtor                                                           Column 2: The creditor to whom you owe the debt
                                                                                               Check all schedules that apply:
    3.39     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    5        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line 4.423
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               OSCAR ERNESTO MARTINEZ-AMEZQUI



    3.39     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    6        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line 4.521
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               STEVEN KARL WILSON



    3.39     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    7        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line 4.154
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               DARYL CHASE PASSANANTE



    3.39     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    8        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line 4.381
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               MICHAEL ANTHONY CANDOSTA



    3.39     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    9        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line    4.562
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               VANNRYDA TOUCH



    3.40     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    0        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line 4.169
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               DENNIS CASES CRUZADA



    3.40     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    1        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line 4.367
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               MARIA LYNN DEVON-SHEPARD




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             Column 1: Your codebtor                                                           Column 2: The creditor to whom you owe the debt
                                                                                               Check all schedules that apply:
    3.40     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    2        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line    4.457
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               REGINALD STUART



    3.40     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    3        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line 4.126
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               CLARE BIRMINGHAM



    3.40     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    4        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line    4.166
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               DEMARCO WOODS



    3.40     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    5        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line 4.432
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               PEARLIE MAE NEWSOME ROBINSON



    3.40     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    6        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line 4.356
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               LUIS ALFREDO ROBLES



    3.40     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    7        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line    4.272
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               JARED FULLER



    3.40     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    8        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line 4.311
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               JOSEPH P DEPHILLIPS II




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             Column 1: Your codebtor                                                           Column 2: The creditor to whom you owe the debt
                                                                                               Check all schedules that apply:
    3.40     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    9        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line 4.268
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               JAMIE CORVELL ROBERTS



    3.41     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    0        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line    4.156
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               DAVID CASE



    3.41     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    1        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line 4.168
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               DENISE ROCHELLE CHARRETT-MCCU



    3.41     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    2        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line 4.175
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               DESHALLA MARIE HARRIS



    3.41     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    3        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line    4.232
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               GABRIAL SALAZAR



    3.41     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    4        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line 4.549
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               TORI'ONNA KIERRA NA SHAY THOMA



    3.41     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    5        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line 4.585
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               YOLANDA BARRIOS CONTRERAS




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                                                                                               Check all schedules that apply:
    3.41     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    6        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line 4.259
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               IRVIN STEPHEN GRAY



    3.41     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    7        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line 4.120
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               CIERRA INTRIGUE GILMORE-WITHER



    3.41     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    8        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line 4.269
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               JAMIE LYNN HAMMOND



    3.41     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    9        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line 4.61
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               AVRIA LYNETTE HAYES



    3.42     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    0        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line 4.267
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               JAMES WILSON STEWART DORTCH



    3.42     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    1        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line 4.135
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               CORINTHIANS JAMES HEATH



    3.42     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    2        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line    4.109
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               CHARLES HALL III




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             Column 1: Your codebtor                                                           Column 2: The creditor to whom you owe the debt
                                                                                               Check all schedules that apply:
    3.42     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    3        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line    4.337
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               LARRY PORTER



    3.42     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    4        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line 4.190
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               DOUGLAS CHRISOPHER TROWBRIDGE



    3.42     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    5        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line 4.520
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               STEPHANIE LOUISE BEACH



    3.42     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    6        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line 4.147
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               DAMAURYION TERRELL WALLS



    3.42     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    7        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line 4.330
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               KIMBERLY LYNN MCCOVERY



    3.42     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    8        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line 4.208
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               ENRIQUE ALBERTO PADILLA



    3.42     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    9        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line 4.578
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               WILLIAM WAYNE HARTERY




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             Column 1: Your codebtor                                                           Column 2: The creditor to whom you owe the debt
                                                                                               Check all schedules that apply:
    3.43     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    0        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line 4.125
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               CLARA CECILIA MARIA



    3.43     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    1        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line 4.498
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               SHAWN PAUAHI SANTANA



    3.43     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    2        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line 4.64
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               BARBARA SIMMONS



    3.43     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    3        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line 4.281
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               JERRY RAY VARELA



    3.43     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    4        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line 4.496
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               SHASTINA PROSENICK



    3.43     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    5        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line 4.341
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               LAWRENCE HYMAN EPSTEIN



    3.43     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    6        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line    4.351
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               LORI JEAN POOLE




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             Column 1: Your codebtor                                                           Column 2: The creditor to whom you owe the debt
                                                                                               Check all schedules that apply:
    3.43     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    7        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line 4.501
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               SHERRY LYNN BROWN



    3.43     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    8        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line 4.23
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               ALEXIA GONZALEZ GODINEZ



    3.43     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    9        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line 4.335
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               LAKEISHA MONIQUE GRAY



    3.44     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    0        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line    4.274
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               JATHIYAH CLARK



    3.44     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    1        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line 4.79
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               BRIAN JEFFREY BROOKS



    3.44     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    2        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line 4.318
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               KATRINA ALINA GROVES



    3.44     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    3        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line    4.52
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               ASHTON VILLIA JR




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             Column 1: Your codebtor                                                           Column 2: The creditor to whom you owe the debt
                                                                                               Check all schedules that apply:
    3.44     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    4        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line 4.477
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               ROCIO VILLEGAS-MONROY



    3.44     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    5        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line 4.409
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               NIKKI HIXSON-HOMER



    3.44     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    6        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line 4.148
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               DAMEON VARNELL JACKSON



    3.44     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    7        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line    4.434
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               PENNY HANEY



    3.44     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    8        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line 4.71
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               BRADLEY JOHN DEGROAT



    3.44     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    9        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line 4.51
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               ASHLEY JENEEN HARPER



    3.45     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    0        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line 4.497
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               SHAUNTELYN K MCNAIR




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             Column 1: Your codebtor                                                           Column 2: The creditor to whom you owe the debt
                                                                                               Check all schedules that apply:
    3.45     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    1        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line    4.77
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               BRELAND HANEY II



    3.45     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    2        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line 4.278
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               JEREMY MARTIN WADSWORTH



    3.45     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    3        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line    4.222
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               FELICIA JACKSON



    3.45     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    4        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line 4.547
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               TONEHSA DANYALL NEWMAN



    3.45     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    5        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line 4.526
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               TANGANYKA J WHITING



    3.45     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    6        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line 4.384
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               MICHAEL QUINONEZ



    3.45     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    7        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line 4.534
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               TERESA T BUNGCAYAO




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             Column 1: Your codebtor                                                           Column 2: The creditor to whom you owe the debt
                                                                                               Check all schedules that apply:
    3.45     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    8        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line 4.454
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               RECE LAMONT KENDRID



    3.45     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    9        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line    4.527
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               TANYA C RYANS



    3.46     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    0        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line 4.312
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               JOSHUA BUNGCAYAO



    3.46     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    1        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line    4.27
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               ALYSSA SWEET



    3.46     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    2        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line 4.165
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               DELEANER RAJKA CALVIN



    3.46     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    3        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line 4.31
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               AMBER KANANI NASARIO



    3.46     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    4        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line 4.46
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               ARLENE P SAMPSON




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             Column 1: Your codebtor                                                           Column 2: The creditor to whom you owe the debt
                                                                                               Check all schedules that apply:
    3.46     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    5        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line 4.150
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               DANIELA V MARTINEZ MELCHOR



    3.46     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    6        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line 4.117
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               CHRISTOPHER ALAN BROWNWOOD JR



    3.46     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    7        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line 4.116
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               CHRISTINE MARIE CRUZ



    3.46     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    8        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line 4.186
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               DIXIE ANN GASKELL



    3.46     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    9        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line 4.63
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               BARBARA ANN WHITFIELD KING



    3.47     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    0        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line 4.326
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               KIERRA DESIREE PRINGLE



    3.47     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    1        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line 4.551
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               TRACY MARLENE CARRILLO




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             Column 1: Your codebtor                                                           Column 2: The creditor to whom you owe the debt
                                                                                               Check all schedules that apply:
    3.47     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    2        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line    4.47
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               ARLEY CUETO



    3.47     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    3        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line    4.452
             Las Vegas, NV 89131
                                                                                                 Schedule G
             .
                                                                                               REBECCA HILL



    3.47     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    4        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line    4.586
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               YOLANDA PONCE



    3.47     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    5        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line    4.440
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               PHILLIP A GORDON



    3.47     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    6        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line 4.424
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               OSCAR MARTINEZ-PEREZ



    3.47     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    7        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line    4.33
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               ANA LETICIA CRUZ



    3.47     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    8        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line 4.408
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               NICOLE MARI CALPITO CONSTANTIN




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             Column 1: Your codebtor                                                           Column 2: The creditor to whom you owe the debt
                                                                                               Check all schedules that apply:
    3.47     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    9        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line    4.291
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               JOHN C ALLEN



    3.48     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    0        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line 4.248
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               HO'OLULANI EMMALENE AO'LAHIKO



    3.48     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    1        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line    4.172
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               DEREK J GOYEAU



    3.48     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    2        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line 4.308
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               JOSE ARMANDO AGUILAR MARTINEZ



    3.48     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    3        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line 4.372
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               MARQUITA RE BARNETT



    3.48     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    4        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line 4.309
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               JOSEPH DEWITT WELCH ESQ



    3.48     A&E Auto Wholesale, LLC dba A&E Auto Sal                                             Schedule D, line
    5        6440 Sky Point Drive, #140-286                                                       Schedule E/F, line   4.262
             Las Vegas, NV 89131
                                                                                                  Schedule G
                                                                                               J T IGLESIA




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             Column 1: Your codebtor                                                           Column 2: The creditor to whom you owe the debt
                                                                                               Check all schedules that apply:
    3.48     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    6        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line 4.389
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               MINDY MICHELLE FURLONGE-SPEARS



    3.48     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    7        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line 4.484
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               SALVADOR CARLOS MACIAS PULIDO



    3.48     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    8        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line    4.204
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               ELLY T MANIFFA



    3.48     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    9        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line 4.20
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               AJAY GERALD DAYAL



    3.49     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    0        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line 4.533
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               TERESA LYNNE MORT



    3.49     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    1        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line 4.81
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               BRITTANICA CHUNTAY BRANCH



    3.49     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    2        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line 4.179
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               DIANA BARRIE-IOFFE




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                                                                                               Check all schedules that apply:
    3.49     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    3        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line 4.518
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               STEPHANIE ANGELICA WADSWORTH



    3.49     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    4        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line    4.266
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               JAMES URI SAYLES



    3.49     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    5        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line 4.587
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               ZMON ERIC HOLCOMB



    3.49     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    6        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line    4.277
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               JEFFREY MARTIN



    3.49     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    7        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line 4.40
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               ANTOINE CLIFFON HALL



    3.49     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    8        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line 4.532
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               TENNELLE RENAE JOHNSON



    3.49     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    9        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line 4.129
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               CLEVELAND D MITCHELL




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             Column 1: Your codebtor                                                           Column 2: The creditor to whom you owe the debt
                                                                                               Check all schedules that apply:
    3.50     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    0        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line 4.435
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               PENNY STRICKLAND



    3.50     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    1        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line    4.478
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               ROGER BAILEY



    3.50     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    2        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line    4.195
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               DYANTA B JONES



    3.50     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    3        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line 4.548
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               TONYALE JONTA HILL



    3.50     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    4        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line 4.430
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               PATRICIA LEHUA LUANA KAIMI LED



    3.50     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    5        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line    4.235
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               GARY THOMAS



    3.50     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    6        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line 4.178
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               DEVIN CREIGHTON BAILEY




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             Column 1: Your codebtor                                                           Column 2: The creditor to whom you owe the debt
                                                                                               Check all schedules that apply:
    3.50     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    7        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line 4.75
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               BRANSON SANTANA



    3.50     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    8        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line 4.285
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               JESSICA ADRIANNA PEREZ



    3.50     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    9        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line 4.528
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               TEISHA EVON BURKE



    3.51     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    0        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line    4.258
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               IRMA PADILLA



    3.51     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    1        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line    4.252
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               IDA GORDON



    3.51     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    2        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line    4.25
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               ALFRED SEEI TUIA



    3.51     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    3        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line 4.502
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               SHERRY RENEE WILLIAMS-LAMB




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             Column 1: Your codebtor                                                           Column 2: The creditor to whom you owe the debt
                                                                                               Check all schedules that apply:
    3.51     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    4        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line 4.373
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               MARVIN DOMINGUEZ



    3.51     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    5        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line 4.134
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               CONSTANT F YOUNG



    3.51     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    6        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line    4.158
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               DAVID FISHER



    3.51     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    7        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line 4.391
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               MIRNA LETICIA GONZALEZ



    3.51     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    8        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line 4.72
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               BRADLEY WEINSTEIN



    3.51     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    9        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line 4.325
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               KEVIN KENNETH HOMER



    3.52     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    0        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line 4.36
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               ANDREW MICHAEL MERIDA




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             Column 1: Your codebtor                                                           Column 2: The creditor to whom you owe the debt
                                                                                               Check all schedules that apply:
    3.52     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    1        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line 4.250
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               HUGO OLIVARES PONCE



    3.52     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    2        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line    4.247
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               HILDA M MOYA



    3.52     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    3        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line 4.401
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               NETERRI DANYELL BARNES



    3.52     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    4        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line 4.328
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               KIMBERLY ANN KEITH



    3.52     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    5        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line    4.374
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               MATHEW DRESDEN



    3.52     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    6        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line    4.458
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               REKIE P BASCONES



    3.52     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    7        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line 4.86
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               CAMEO CHERIE STANCLIFF




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             Column 1: Your codebtor                                                           Column 2: The creditor to whom you owe the debt
                                                                                               Check all schedules that apply:
    3.52     A&E Auto Wholesale, LLC dba A&E Auto Sal                                           Schedule D, line
    8        6440 Sky Point Drive, #140-286                                                     Schedule E/F, line 4.576
             Las Vegas, NV 89131
                                                                                                Schedule G
                                                                                               WHITLEY ANASTACIA COX



    3.52     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    9        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line 4.366
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               MARGARET BELCNER EDWARDS



    3.53     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    0        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line 4.355
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               LUIS ALFO GUTIERREZ-GUTIERREZ



    3.53     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    1        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line 4.331
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               KIMBERLY NICOLE WALLACE



    3.53     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    2        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line    4.103
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               CECILIA LUNA



    3.53     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    3        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line 4.393
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               MONICA LACHEAL DENNIS



    3.53     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    4        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line 4.69
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               BIANCA ECHOLE SANDERS




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             Column 1: Your codebtor                                                           Column 2: The creditor to whom you owe the debt
                                                                                               Check all schedules that apply:
    3.53     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    5        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line    4.115
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               CHRISTINE M WHITE



    3.53     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    6        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line 4.22
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               ALEXANDER ANATOLY IOFFE



    3.53     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    7        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line    4.556
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               TYLER WINFREE



    3.53     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    8        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line    4.284
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               JESSEE TOUCH



    3.53     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    9        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line 4.552
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               TRACY YOUNG WEBER



    3.54     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    0        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line 4.188
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               DORIS JUANITA EARL



    3.54     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    1        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line    4.28
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               AMANDA AGUILAR




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 Debtor 1 Adam Edward Mallas                                                              Case number (if known)


            Additional Page to List More Codebtors
             Column 1: Your codebtor                                                           Column 2: The creditor to whom you owe the debt
                                                                                               Check all schedules that apply:
    3.54     A&E Auto Wholesale, LLC dba A&E Auto Sal                                             Schedule D, line
    2        6440 Sky Point Drive, #140-286                                                       Schedule E/F, line 4.542
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               TIAUSHANAE WILLIAMS



    3.54     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    3        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line 4.87
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               CAMILLE ANN-MARIE MANYAN



    3.54     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    4        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line 4.561
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               VANESSA RENEE SMITH



    3.54     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    5        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line    4.344
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               LEO GAMBOA



    3.54     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    6        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line    4.58
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               AUTOBYTEL



    3.54     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    7        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line 4.106
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               CENTRAL DISPATCH



    3.54     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    8        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line    4.161
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               DEALER TRACK




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 Debtor 1 Adam Edward Mallas                                                              Case number (if known)


            Additional Page to List More Codebtors
             Column 1: Your codebtor                                                           Column 2: The creditor to whom you owe the debt
                                                                                               Check all schedules that apply:
    3.54     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    9        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line    4.183
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               DIRECTV



    3.55     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    0        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line    4.200
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               EDMUNDS



    3.55     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    1        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line    4.203
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               ELEAD1ONE



    3.55     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    2        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line 4.223
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               FES PROTECTION PLAN



    3.55     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    3        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line 4.301
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               JONATHAN NEIL & ASSOCIATES



    3.55     A&E Auto Wholesale, LLC dba A&E Auto Sal                                             Schedule D, line
    4        6440 Sky Point Drive, #140-286                                                       Schedule E/F, line   4.348
             Las Vegas, NV 89131
                                                                                                  Schedule G
                                                                                               LISTING ALL CARS



    3.55     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    5        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line    4.192
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               DR. VINYL




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 Debtor 1 Adam Edward Mallas                                                              Case number (if known)


            Additional Page to List More Codebtors
             Column 1: Your codebtor                                                           Column 2: The creditor to whom you owe the debt
                                                                                               Check all schedules that apply:
    3.55     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    6        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line 4.439
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               PHILADELPHIA INSURED COMPANIES



    3.55     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    7        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line 4.460
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               REPUBLIC SERVICES



    3.55     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    8        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line 4.465
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               REYNOLDS COLLECTION SERVICES



    3.55     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    9        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line    4.486
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               SANTANDER BANK



    3.56     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    0        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line    4.509
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               SMOG BUSTERS



    3.56     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    1        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line    4.546
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               TOM JONES FORD



    3.56     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    2        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line    4.554
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               TRUE CAR




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 Debtor 1 Adam Edward Mallas                                                              Case number (if known)


            Additional Page to List More Codebtors
             Column 1: Your codebtor                                                           Column 2: The creditor to whom you owe the debt
                                                                                               Check all schedules that apply:
    3.56     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    3        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line 4.459
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               REPUBLIC SERVICES



    3.56     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    4        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line 4.398
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               Nationwide Acceptance LLC



    3.56     A&E Auto Wholesale, LLC dba A&E Auto Sal                                            Schedule D, line
    5        6440 Sky Point Drive, #140-286                                                      Schedule E/F, line    4.579
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               Wise F&I LLC



    3.56     Bailee Davis                                                                        Schedule D, line
    6        7510 Brookwood Ave                                                                  Schedule E/F, line 4.221
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               FEDLOAN SERVICING



    3.56     Brooklyn Davis                                                                      Schedule D, line
    7        7510 Brookwood Ave                                                                  Schedule E/F, line 4.221
             Las Vegas, NV 89131
                                                                                                 Schedule G
                                                                                               FEDLOAN SERVICING



    3.56     Tron Slade                                                                          Schedule D, line
    8        38781 S. Valley View Blvd. Suite 1                                                  Schedule E/F, line 2.1
             Las Vegas, NV 89103
                                                                                                 Schedule G
                                                                                               NEVADA DEPARTMENT OF TAXATION




Official Form 106H                                                         Schedule H: Your Codebtors                              Page 82 of 82
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Fill in this information to identify your case:

Debtor 1                      Adam Edward Mallas

Debtor 2
(Spouse, if filing)

United States Bankruptcy Court for the:       DISTRICT OF NEVADA

Case number                                                                                              Check if this is:
(If known)
                                                                                                            An amended filing
                                                                                                            A supplement showing postpetition chapter
                                                                                                            13 income as of the following date:

Official Form 106I                                                                                          MM / DD/ YYYY
Schedule I: Your Income                                                                                                                            12/15
Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your
spouse. If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed,
attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

Part 1:               Describe Employment

1.     Fill in your employment
       information.                                                Debtor 1                                   Debtor 2 or non-filing spouse

       If you have more than one job,                                 Employed                                   Employed
       attach a separate page with           Employment status
       information about additional                                   Not employed                               Not employed
       employers.
                                             Occupation            Owner                                      Account Manager
       Include part-time, seasonal, or
       self-employed work.                   Employer's name                                                  CZARNOWSKI DISPLAY SERVICE

       Occupation may include student        Employer's address                                               4150 INDUSTRIAL CENTER DR,
       or homemaker, if it applies.                                                                           STE 650
                                                                                                              NORTH LAS VEGAS, NV 89030

                                             How long employed there?                                                   1 year, 2 months

Part 2:               Give Details About Monthly Income

Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
spouse unless you are separated.

If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If you need
more space, attach a separate sheet to this form.

                                                                                                       For Debtor 1        For Debtor 2 or
                                                                                                                           non-filing spouse

       List monthly gross wages, salary, and commissions (before all payroll
2.     deductions). If not paid monthly, calculate what the monthly wage would be.          2.     $             0.00      $         5,416.67

3.     Estimate and list monthly overtime pay.                                              3.    +$             0.00      +$            0.00

4.     Calculate gross Income. Add line 2 + line 3.                                         4.     $          0.00             $   5,416.67




Official Form 106I                                                      Schedule I: Your Income                                                  page 1
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Debtor 1    Adam Edward Mallas                                                                    Case number (if known)



                                                                                                      For Debtor 1            For Debtor 2 or
                                                                                                                              non-filing spouse
      Copy line 4 here                                                                     4.         $              0.00     $         5,416.67

5.    List all payroll deductions:
      5a.   Tax, Medicare, and Social Security deductions                                  5a.        $              0.00     $           889.16
      5b.   Mandatory contributions for retirement plans                                   5b.        $              0.00     $             0.00
      5c.   Voluntary contributions for retirement plans                                   5c.        $              0.00     $             0.00
      5d.   Required repayments of retirement fund loans                                   5d.        $              0.00     $             0.00
      5e.   Insurance                                                                      5e.        $              0.00     $            38.22
      5f.   Domestic support obligations                                                   5f.        $              0.00     $             0.00
      5g.   Union dues                                                                     5g.        $              0.00     $             0.00
      5h.   Other deductions. Specify:                                                     5h.+       $              0.00 +   $             0.00
6.    Add the payroll deductions. Add lines 5a+5b+5c+5d+5e+5f+5g+5h.                       6.     $                  0.00     $           927.38
7.    Calculate total monthly take-home pay. Subtract line 6 from line 4.                  7.     $                  0.00     $        4,489.29
8.    List all other income regularly received:
      8a. Net income from rental property and from operating a business,
             profession, or farm
             Attach a statement for each property and business showing gross
             receipts, ordinary and necessary business expenses, and the total
             monthly net income.                                                           8a.        $              0.00     $                0.00
      8b. Interest and dividends                                                           8b.        $              0.00     $                0.00
      8c. Family support payments that you, a non-filing spouse, or a dependent
             regularly receive
             Include alimony, spousal support, child support, maintenance, divorce
             settlement, and property settlement.                                          8c.        $              0.00     $                0.00
      8d. Unemployment compensation                                                        8d.        $              0.00     $                0.00
      8e. Social Security                                                                  8e.        $              0.00     $                0.00
      8f.    Other government assistance that you regularly receive
             Include cash assistance and the value (if known) of any non-cash assistance
             that you receive, such as food stamps (benefits under the Supplemental
             Nutrition Assistance Program) or housing subsidies.
             Specify:                                                                      8f.  $                    0.00   $                  0.00
      8g. Pension or retirement income                                                     8g. $                     0.00   $                  0.00
      8h. Other monthly income. Specify:                                                   8h.+ $                    0.00 + $                  0.00

9.    Add all other income. Add lines 8a+8b+8c+8d+8e+8f+8g+8h.                             9.     $                  0.00     $                 0.00

10. Calculate monthly income. Add line 7 + line 9.                                     10. $                 0.00 + $          4,489.29 = $            4,489.29
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.
11. State all other regular contributions to the expenses that you list in Schedule J.
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and
    other friends or relatives.
    Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
    Specify:                                                                                                                  11. +$                      0.00

12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
    Write that amount on the Summary of Schedules and Statistical Summary of Certain Liabilities and Related Data, if it
    applies                                                                                                                         12.    $           4,489.29
                                                                                                                                          Combined
                                                                                                                                          monthly income
13. Do you expect an increase or decrease within the year after you file this form?
          No.
          Yes. Explain: Debtor was employed until November 1, 2016, when he left his job to operate A&E Auto Sales as he
                             thought the business was doing well. Debtor eventually learned that A&E was mismanaged by
                             general manager, and business has since closed. Debtor has received an employment offer and
                             intends to be employed shortly, which will increase his income.




Official Form 106I                                                     Schedule I: Your Income                                                          page 2
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Fill in this information to identify your case:

Debtor 1                 Adam Edward Mallas                                                                Check if this is:
                                                                                                               An amended filing
Debtor 2                                                                                                       A supplement showing postpetition chapter
(Spouse, if filing)                                                                                            13 expenses as of the following date:

United States Bankruptcy Court for the:   DISTRICT OF NEVADA                                                         MM / DD / YYYY

Case number
(If known)



Official Form 106J
Schedule J: Your Expenses                                                                                                                                12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

Part 1:   Describe Your Household
1. Is this a joint case?
           No. Go to line 2.
           Yes. Does Debtor 2 live in a separate household?
                      No
                      Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.

2.    Do you have dependents?               No
      Do not list Debtor 1 and              Yes.
                                                   Fill out this information for   Dependent’s relationship to          Dependent’s     Does dependent
      Debtor 2.                                    each dependent..............    Debtor 1 or Debtor 2                 age             live with you?

      Do not state the                                                                                                                       No
      dependents names.                                                            Spouse                                                    Yes
                                                                                                                                             No
                                                                                   Son                                  9                    Yes
                                                                                                                                             No
                                                                                   Daughter                             12                   Yes
                                                                                                                                             No
                                                                                   Stepdaughter                         19                   Yes
                                                                                                                                             No
                                                                                   Stepdaughter                         22                   Yes
3.    Do your expenses include                     No
      expenses of people other than
      yourself and your dependents?                Yes

Part 2:    Estimate Your Ongoing Monthly Expenses
Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.

Include expenses paid for with non-cash government assistance if you know
the value of such assistance and have included it on Schedule I: Your Income
(Official Form 106I.)                                                                                                        Your expenses


4.    The rental or home ownership expenses for your residence. Include first mortgage
      payments and any rent for the ground or lot.                                                          4. $                             2,048.00

      If not included in line 4:

      4a. Real estate taxes                                                                               4a.    $                              0.00
      4b. Property, homeowner’s, or renter’s insurance                                                    4b.    $                              0.00
      4c. Home maintenance, repair, and upkeep expenses                                                   4c.    $                            100.00
      4d. Homeowner’s association or condominium dues                                                     4d.    $                              0.00
5.    Additional mortgage payments for your residence, such as home equity loans                           5.    $                              0.00

Official Form 106J                                                   Schedule J: Your Expenses                                                           page 1
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Debtor 1    Adam Edward Mallas                                          Case number (if known)




Official Form 106J                          Schedule J: Your Expenses                                   page 2
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Debtor 1     Adam Edward Mallas                                                                        Case number (if known)

6.    Utilities:
      6a. Electricity, heat, natural gas                                                                     6a.   $                               145.00
      6b. Water, sewer, garbage collection                                                                   6b.   $                                62.00
      6c. Telephone, cell phone, Internet, satellite, and cable services                                     6c.   $                                85.00
      6d. Other. Specify: Cell phone                                                                         6d.   $                               365.00
             Satellite TV (DIRECTV)                                                                                $                               145.00
             Trash                                                                                                 $                                19.00
7.    Food and housekeeping supplies                                                           7.                  $                               700.00
8.    Childcare and children’s education costs                                                 8.                  $                                 0.00
9.    Clothing, laundry, and dry cleaning                                                      9.                  $                               200.00
10.   Personal care products and services                                                    10.                   $                               250.00
11.   Medical and dental expenses                                                            11.                   $                                 0.00
12.   Transportation. Include gas, maintenance, bus or train fare.
      Do not include car payments.                                                           12. $                                                 500.00
13.   Entertainment, clubs, recreation, newspapers, magazines, and books                     13. $                                                 300.00
14.   Charitable contributions and religious donations                                       14. $                                                 100.00
15.   Insurance.
      Do not include insurance deducted from your pay or included in lines 4 or 20.
      15a. Life insurance                                                                  15a. $                                                    0.00
      15b. Health insurance                                                                15b. $                                                    0.00
      15c. Vehicle insurance                                                               15c. $                                                  355.00
      15d. Other insurance. Specify:                                                       15d. $                                                    0.00
16.   Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
      Specify:                                                                               16. $                                                    0.00
17.   Installment or lease payments:
      17a. Car payments for Vehicle 1                                                      17a. $                                                     0.00
      17b. Car payments for Vehicle 2                                                      17b. $                                                     0.00
      17c. Other. Specify:                                                                 17c. $                                                     0.00
      17d. Other. Specify:                                                                 17d. $                                                     0.00
18.   Your payments of alimony, maintenance, and support that you did not report as
      deducted from your pay on line 5, Schedule I, Your Income (Official Form 106I).        18. $                                                    0.00
19.   Other payments you make to support others who do not live with you.                         $                                                   0.00
      Specify:                                                                               19.
20.   Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.
      20a. Mortgages on other property                                                     20a. $                                                     0.00
      20b. Real estate taxes                                                               20b. $                                                     0.00
      20c. Property, homeowner’s, or renter’s insurance                                    20c. $                                                     0.00
      20d. Maintenance, repair, and upkeep expenses                                        20d. $                                                     0.00
      20e. Homeowner’s association or condominium dues                                     20e. $                                                     0.00
21.   Other: Specify:                                                                        21. +$                                                   0.00
22. Calculate your monthly expenses
    22a. Add lines 4 through 21.                                                                                       $                     5,374.00
    22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2                               $
      22c. Add line 22a and 22b. The result is your monthly expenses.                                                  $                     5,374.00
23. Calculate your monthly net income.
    23a. Copy line 12 (your combined monthly income) from Schedule I.                                      23a. $                               4,489.29
    23b. Copy your monthly expenses from line 22c above.                                                   23b. -$                              5,374.00

      23c. Subtract your monthly expenses from your monthly income.
           The result is your monthly net income.                                                           23c. $                                -884.71

24. Do you expect an increase or decrease in your expenses within the year after you file this form?
      For example, do you expect to finish paying for your car loan within the year or do you expect your mortgage payment to increase or decrease because of a
      modification to the terms of your mortgage?
         No.
         Yes.             Explain here:




Official Form 106J                                                  Schedule J: Your Expenses                                                                     page 3
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 Fill in this information to identify your case:

 Debtor 1                    Adam Edward Mallas
                             First Name                     Middle Name             Last Name

 Debtor 2
 (Spouse if, filing)         First Name                     Middle Name             Last Name


 United States Bankruptcy Court for the:              DISTRICT OF NEVADA

 Case number
 (if known)                                                                                                                           Check if this is an
                                                                                                                                      amended filing



Official Form 106Dec
Declaration About an Individual Debtor's Schedules                                                                                                          12/15

If two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                       Sign Below


        Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

                No

                Yes. Name of person                                                                             Attach Bankruptcy Petition Preparer’s Notice,
                                                                                                                Declaration, and Signature (Official Form 119)


       Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and
       that they are true and correct.

        X /s/ Adam Edward Mallas                                                    X
              Adam Edward Mallas                                                        Signature of Debtor 2
              Signature of Debtor 1

              Date       April 27, 2017                                                 Date




Official Form 106Dec                                       Declaration About an Individual Debtor's Schedules
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 Fill in this information to identify your case:

 Debtor 1                  Adam Edward Mallas
                           First Name                       Middle Name                  Last Name

 Debtor 2
 (Spouse if, filing)       First Name                       Middle Name                  Last Name


 United States Bankruptcy Court for the:              DISTRICT OF NEVADA

 Case number
 (if known)                                                                                                                                  Check if this is an
                                                                                                                                             amended filing



Official Form 107
Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                                                4/16
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

 Part 1:        Give Details About Your Marital Status and Where You Lived Before

1.     What is your current marital status?

               Married
               Not married

2.     During the last 3 years, have you lived anywhere other than where you live now?

               No
               Yes. List all of the places you lived in the last 3 years. Do not include where you live now.

        Debtor 1 Prior Address:                                  Dates Debtor 1             Debtor 2 Prior Address:                              Dates Debtor 2
                                                                 lived there                                                                     lived there

3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community property
states and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington and Wisconsin.)

               No
               Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).

 Part 2         Explain the Sources of Your Income

4.     Did you have any income from employment or from operating a business during this year or the two previous calendar years?
       Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
       If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

               No
               Yes. Fill in the details.

                                                   Debtor 1                                                        Debtor 2
                                                   Sources of income                Gross income                   Sources of income             Gross income
                                                   Check all that apply.            (before deductions and         Check all that apply.         (before deductions
                                                                                    exclusions)                                                  and exclusions)

 From January 1 of current year until                 Wages, commissions,                       $13,000.00            Wages, commissions,
 the date you filed for bankruptcy:                bonuses, tips                                                   bonuses, tips

                                                       Operating a business                                           Operating a business




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 Debtor 1      Adam Edward Mallas                                                                          Case number (if known)



                                                   Debtor 1                                                        Debtor 2
                                                   Sources of income                Gross income                   Sources of income            Gross income
                                                   Check all that apply.            (before deductions and         Check all that apply.        (before deductions
                                                                                    exclusions)                                                 and exclusions)

 For last calendar year:                              Wages, commissions,                      $128,482.00            Wages, commissions,
 (January 1 to December 31, 2016 )                                                                                 bonuses, tips
                                                   bonuses, tips
                                                                                                                      Operating a business
                                                       Operating a business

 For the calendar year before that:                   Wages, commissions,                       $97,566.00            Wages, commissions,
 (January 1 to December 31, 2015 )                                                                                 bonuses, tips
                                                   bonuses, tips
                                                                                                                      Operating a business
                                                       Operating a business


5.    Did you receive any other income during this year or the two previous calendar years?
      Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security, unemployment,
      and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and gambling and lottery
      winnings. If you are filing a joint case and you have income that you received together, list it only once under Debtor 1.

      List each source and the gross income from each source separately. Do not include income that you listed in line 4.

            No
            Yes. Fill in the details.

                                                   Debtor 1                                                        Debtor 2
                                                   Sources of income                Gross income from              Sources of income            Gross income
                                                   Describe below.                  each source                    Describe below.              (before deductions
                                                                                    (before deductions and                                      and exclusions)
                                                                                    exclusions)

 Part 3:      List Certain Payments You Made Before You Filed for Bankruptcy

6.    Are either Debtor 1’s or Debtor 2’s debts primarily consumer debts?
            No.     Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by an
                    individual primarily for a personal, family, or household purpose.”

                    During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,425* or more?
                          No.      Go to line 7.
                          Yes    List below each creditor to whom you paid a total of $6,425* or more in one or more payments and the total amount you
                                 paid that creditor. Do not include payments for domestic support obligations, such as child support and alimony. Also, do
                                 not include payments to an attorney for this bankruptcy case.
                     * Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment.

            Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.
                 During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

                          No.      Go to line 7.
                          Yes      List below each creditor to whom you paid a total of $600 or more and the total amount you paid that creditor. Do not
                                   include payments for domestic support obligations, such as child support and alimony. Also, do not include payments to an
                                   attorney for this bankruptcy case.


       Creditor's Name and Address                               Dates of payment            Total amount          Amount you       Was this payment for ...
                                                                                                     paid            still owe




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 Debtor 1      Adam Edward Mallas                                                                          Case number (if known)



7.    Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
      Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner; corporations
      of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing agent, including one for
      a business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations, such as child support and
      alimony.

            No
            Yes. List all payments to an insider.
       Insider's Name and Address                                Dates of payment            Total amount          Amount you         Reason for this payment
                                                                                                     paid            still owe

8.    Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited an
      insider?
      Include payments on debts guaranteed or cosigned by an insider.

            No
            Yes. List all payments to an insider
       Insider's Name and Address                                Dates of payment            Total amount          Amount you         Reason for this payment
                                                                                                     paid            still owe        Include creditor's name

 Part 4:      Identify Legal Actions, Repossessions, and Foreclosures

9.    Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
      List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody
      modifications, and contract disputes.

            No
            Yes. Fill in the details.
       Case title                                                Nature of the case         Court or agency                           Status of the case
       Case number

10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
    Check all that apply and fill in the details below.

            No. Go to line 11.
            Yes. Fill in the information below.
       Creditor Name and Address                                 Describe the Property                                         Date                        Value of the
                                                                                                                                                              property
                                                                 Explain what happened

11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
    accounts or refuse to make a payment because you owed a debt?
            No
            Yes. Fill in the details.
       Creditor Name and Address                                 Describe the action the creditor took                         Date action was                Amount
                                                                                                                               taken

12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of creditors, a
    court-appointed receiver, a custodian, or another official?

            No
            Yes

 Part 5:      List Certain Gifts and Contributions

13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?
            No
            Yes. Fill in the details for each gift.
       Gifts with a total value of more than $600                    Describe the gifts                                        Dates you gave                    Value
       per person                                                                                                              the gifts

       Person to Whom You Gave the Gift and
       Address:


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14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?
        No
            Yes. Fill in the details for each gift or contribution.
       Gifts or contributions to charities that total                Describe what you contributed                             Dates you                      Value
       more than $600                                                                                                          contributed
       Charity's Name
       Address (Number, Street, City, State and ZIP Code)
       Faith Lutheran Community Church                               $100 monthly                                              monthly                  $2,400.00



 Part 6:      List Certain Losses

15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other disaster,
    or gambling?

            No
            Yes. Fill in the details.
       Describe the property you lost and                   Describe any insurance coverage for the loss                       Date of your      Value of property
       how the loss occurred                                Include the amount that insurance has paid. List pending           loss                           lost
                                                            insurance claims on line 33 of Schedule A/B: Property.

 Part 7:      List Certain Payments or Transfers

16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone you
    consulted about seeking bankruptcy or preparing a bankruptcy petition?
    Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

            No
            Yes. Fill in the details.
       Person Who Was Paid                                           Description and value of any property                     Date payment             Amount of
       Address                                                       transferred                                               or transfer was           payment
       Email or website address                                                                                                made
       Person Who Made the Payment, if Not You
       JOHNSON & GUBLER, P.C.                                                                                                  03/23/2017               $3,835.00
       LAKES BUSINESS PARK
       8831 W SAHARA AVE
       LAS VEGAS, NV 89117


       JOHNSON & GUBLER, P.C.                                                                                                  4/26/2017                $5,000.00
       LAKES BUSINESS PARK
       8831 W SAHARA AVE
       LAS VEGAS, NV 89117


17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
    promised to help you deal with your creditors or to make payments to your creditors?
    Do not include any payment or transfer that you listed on line 16.

            No
            Yes. Fill in the details.
       Person Who Was Paid                                           Description and value of any property                     Date payment             Amount of
       Address                                                       transferred                                               or transfer was           payment
                                                                                                                               made




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 Debtor 1      Adam Edward Mallas                                                                           Case number (if known)



18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property
    transferred in the ordinary course of your business or financial affairs?
    Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property). Do not
    include gifts and transfers that you have already listed on this statement.
            No
            Yes. Fill in the details.
       Person Who Received Transfer                                  Description and value of                   Describe any property or     Date transfer was
       Address                                                       property transferred                       payments received or debts   made
                                                                                                                paid in exchange
       Person's relationship to you

19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you are a
    beneficiary? (These are often called asset-protection devices.)
            No
            Yes. Fill in the details.
       Name of trust                                                 Description and value of the property transferred                       Date Transfer was
                                                                                                                                             made

 Part 8:       List of Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units

20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit, closed,
    sold, moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions, brokerage
    houses, pension funds, cooperatives, associations, and other financial institutions.
            No
            Yes. Fill in the details.
       Name of Financial Institution and                         Last 4 digits of             Type of account or        Date account was          Last balance
       Address (Number, Street, City, State and ZIP              account number               instrument                closed, sold,         before closing or
       Code)                                                                                                            moved, or                      transfer
                                                                                                                        transferred

21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for securities,
    cash, or other valuables?

            No
            Yes. Fill in the details.
       Name of Financial Institution                                 Who else had access to it?             Describe the contents               Do you still
       Address (Number, Street, City, State and ZIP Code)            Address (Number, Street, City,                                             have it?
                                                                     State and ZIP Code)


22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?

            No
            Yes. Fill in the details.
       Name of Storage Facility                                      Who else has or had access             Describe the contents               Do you still
       Address (Number, Street, City, State and ZIP Code)            to it?                                                                     have it?
                                                                     Address (Number, Street, City,
                                                                     State and ZIP Code)

 Part 9:       Identify Property You Hold or Control for Someone Else

23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for, or hold in trust
    for someone.

            No
            Yes. Fill in the details.
       Owner's Name                                                  Where is the property?                 Describe the property                           Value
       Address (Number, Street, City, State and ZIP Code)            (Number, Street, City, State and ZIP
                                                                     Code)

 Part 10:      Give Details About Environmental Information

For the purpose of Part 10, the following definitions apply:

      Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of hazardous or
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 Debtor 1      Adam Edward Mallas                                                                               Case number (if known)



      toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium, including statutes or
      regulations controlling the cleanup of these substances, wastes, or material.
      Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or utilize it or used
      to own, operate, or utilize it, including disposal sites.
      Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic substance,
      hazardous material, pollutant, contaminant, or similar term.

Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?

            No
            Yes. Fill in the details.
       Name of site                                                  Governmental unit                             Environmental law, if you           Date of notice
       Address (Number, Street, City, State and ZIP Code)            Address (Number, Street, City, State and      know it
                                                                     ZIP Code)

25. Have you notified any governmental unit of any release of hazardous material?

            No
            Yes. Fill in the details.
       Name of site                                                  Governmental unit                             Environmental law, if you           Date of notice
       Address (Number, Street, City, State and ZIP Code)            Address (Number, Street, City, State and      know it
                                                                     ZIP Code)

26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

            No
            Yes. Fill in the details.
       Case Title                                                    Court or agency                            Nature of the case                     Status of the
       Case Number                                                   Name                                                                              case
                                                                     Address (Number, Street, City,
                                                                     State and ZIP Code)

 Part 11:     Give Details About Your Business or Connections to Any Business

27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?
                A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time

                A member of a limited liability company (LLC) or limited liability partnership (LLP)

                A partner in a partnership

                An officer, director, or managing executive of a corporation

                An owner of at least 5% of the voting or equity securities of a corporation

            No. None of the above applies. Go to Part 12.

            Yes. Check all that apply above and fill in the details below for each business.
       Business Name                                             Describe the nature of the business                 Employer Identification number
       Address                                                                                                       Do not include Social Security number or ITIN.
       (Number, Street, City, State and ZIP Code)                Name of accountant or bookkeeper
                                                                                                                     Dates business existed
       A&E AUTO WHOLESALE LLC                                    AUTOMOBILE SALES (business                          EIN:       XX-XXXXXXX
       7510 BROOKWOOD AVE                                        closed April 2017)
       LAS VEGAS, NV 89131                                                                                           From-To    01/19/2016 - Current
                                                                 JOHNNY DOLSTRA




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 Debtor 1      Adam Edward Mallas                                                                          Case number (if known)



28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial
    institutions, creditors, or other parties.

             No
             Yes. Fill in the details below.
        Name                                                     Date Issued
        Address
        (Number, Street, City, State and ZIP Code)

 Part 12:     Sign Below

I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury that the answers
are true and correct. I understand that making a false statement, concealing property, or obtaining money or property by fraud in connection
with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
18 U.S.C. §§ 152, 1341, 1519, and 3571.

 /s/ Adam Edward Mallas
 Adam Edward Mallas                                                      Signature of Debtor 2
 Signature of Debtor 1

 Date      April 27, 2017                                                Date

Did you attach additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?
   No
   Yes

Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?
   No
   Yes. Name of Person                  . Attach the Bankruptcy Petition Preparer's Notice, Declaration, and Signature (Official Form 119).




Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                 page 7
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 Fill in this information to identify your case:

 Debtor 1                 Adam Edward Mallas
                          First Name                        Middle Name              Last Name

 Debtor 2
 (Spouse if, filing)      First Name                        Middle Name              Last Name


 United States Bankruptcy Court for the:              DISTRICT OF NEVADA

 Case number
 (if known)                                                                                                                   Check if this is an
                                                                                                                              amended filing



Official Form 108
Statement of Intention for Individuals Filing Under Chapter 7                                                                                 12/15


If you are an individual filing under chapter 7, you must fill out this form if:
    creditors have claims secured by your property, or
  you have leased personal property and the lease has not expired.
You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditors,
        whichever is earlier, unless the court extends the time for cause. You must also send copies to the creditors and lessors you list
        on the form

If two married people are filing together in a joint case, both are equally responsible for supplying correct information. Both debtors must
         sign and date the form.

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
        write your name and case number (if known).

 Part 1:        List Your Creditors Who Have Secured Claims

1. For any creditors that you listed in Part 1 of Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D), fill in the
   information below.
    Identify the creditor and the property that is collateral  What do you intend to do with the property that    Did you claim the property
                                                               secures a debt?                                    as exempt on Schedule C?



    Creditor's         AMERICA FIRST CREDIT UNION                           Surrender the property.                         No
    name:                                                                   Retain the property and redeem it.
                                                                            Retain the property and enter into a            Yes
    Description of 2004 Nordic boat and trailer                             Reaffirmation Agreement.
    property       Heat                                                     Retain the property and [explain]:
    securing debt: Value obtained from                                     Debtor(s) will continue to make regular
                   NADAguides.com                                         monthly payments


    Creditor's         BANK OF AMERICA                                      Surrender the property.                         No
    name:                                                                   Retain the property and redeem it.
                                                                            Retain the property and enter into a            Yes
    Description of 7510 BROOKWOOD AVENUE                                    Reaffirmation Agreement.
    property       LAS VEGAS, NV 89131 Clark                                Retain the property and [explain]:
    securing debt: County
                   Current Value is an estimate                            Debtor will continue regular monthly
                   from zillow.com.                                       payments



    Creditor's         HYUNDAI MOTOR FINANCE                                Surrender the property.                         No
    name:                                                                   Retain the property and redeem it.
                                                                            Retain the property and enter into a            Yes


Official Form 108                                       Statement of Intention for Individuals Filing Under Chapter 7                               page 1

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 Debtor 1      Adam Edward Mallas                                                                     Case number (if known)


     Description of 2013 Hyundai Azera 31277 miles                           Reaffirmation Agreement.
     property       current value is estimated -                            Retain the property and [explain]:
     securing debt: vehicle is leased                                     Debtor(s) will continue to make regular
                                                                         monthly payments

 Part 2:   List Your Unexpired Personal Property Leases
For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G), fill
in the information below. Do not list real estate leases. Unexpired leases are leases that are still in effect; the lease period has not yet ended.
You may assume an unexpired personal property lease if the trustee does not assume it. 11 U.S.C. § 365(p)(2).

 Describe your unexpired personal property leases                                                                              Will the lease be assumed?

 Lessor's name:                                                                                                                   No
 Description of leased
 Property:                                                                                                                        Yes

 Lessor's name:                                                                                                                   No
 Description of leased
 Property:                                                                                                                        Yes

 Lessor's name:                                                                                                                   No
 Description of leased
 Property:                                                                                                                        Yes

 Lessor's name:                                                                                                                   No
 Description of leased
 Property:                                                                                                                        Yes

 Lessor's name:                                                                                                                   No
 Description of leased
 Property:                                                                                                                        Yes

 Lessor's name:                                                                                                                   No
 Description of leased
 Property:                                                                                                                        Yes

 Lessor's name:                                                                                                                   No
 Description of leased
 Property:                                                                                                                        Yes

 Part 3:      Sign Below

Under penalty of perjury, I declare that I have indicated my intention about any property of my estate that secures a debt and any personal
property that is subject to an unexpired lease.

 X     /s/ Adam Edward Mallas                                                       X
       Adam Edward Mallas                                                               Signature of Debtor 2
       Signature of Debtor 1

       Date        April 27, 2017                                                   Date




Official Form 108                                       Statement of Intention for Individuals Filing Under Chapter 7                                      page 2

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B2030 (Form 2030) (12/15)
                                                               United States Bankruptcy Court
                                                                       District of Nevada
 In re       Adam Edward Mallas                                                                               Case No.
                                                                              Debtor(s)                       Chapter       7

                          DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.     Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
       compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
       be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
             For legal services, I have agreed to accept                                                  $                     8,500.00
             Prior to the filing of this statement I have received                                        $                        0.00
             Balance Due                                                                                  $                     8,500.00

2.     $    335.00        of the filing fee has been paid.

3.     The source of the compensation paid to me was:

                  Debtor                  Other (specify):

4.     The source of compensation to be paid to me is:

                  Debtor                  Other (specify):

5.          I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

            I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
            copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

6.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

       a.   Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
       b.   Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
       c.   Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
       d.   [Other provisions as needed]
                 Negotiations with creditorsexemption planning; negotiations with trustee, preparation and filing of reaffirmation
                 agreements and applications as needed.

7.     By agreement with the debtor(s), the above-disclosed fee does not include the following service:
               Representation of the debtors in any dischargeability actions, judicial lien avoidances, relief from stay actions or
               any other adversary proceeding, preparation and filing of motions pursuant to 11 USC 522(f)(2)(A) for avoidance
               of liens on household goods, representation regarding objections to exemptions.
                                                                       CERTIFICATION
       I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
 this bankruptcy proceeding.

     April 27, 2017                                                           /s/ Matthew L. Johnson
     Date                                                                     Matthew L. Johnson 6004
                                                                              Signature of Attorney
                                                                              JOHNSON & GUBLER, P.C.
                                                                              LAKES BUSINESS PARK
                                                                              8831 W SAHARA AVE
                                                                              LAS VEGAS, NV 89117-5865
                                                                              (702) 471-0065 Fax: (702) 471-0075
                                                                              mjohnson@mjohnsonlaw.com
                                                                              Name of law firm




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                                                               United States Bankruptcy Court
                                                                         District of Nevada
 In re      Adam Edward Mallas                                                                       Case No.
                                                                                  Debtor(s)          Chapter    7




                                               VERIFICATION OF CREDITOR MATRIX


The above-named Debtor hereby verifies that the attached list of creditors is true and correct to the best of his/her knowledge.



 Date: April 27, 2017                                                  /s/ Adam Edward Mallas
                                                                       Adam Edward Mallas
                                                                       Signature of Debtor




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o
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s
M
a
x




                   Adam Edward Mallas
                   7510 BROOKWOOD AVENUE
                   LAS VEGAS, NV 89131

                   Matthew L. Johnson
                   JOHNSON & GUBLER, P.C.
                   LAKES BUSINESS PARK
                   8831 W SAHARA AVE
                   LAS VEGAS, NV 89117-5865

                   #1 TRANSMISSION SHOP AND AUTO REPAIR
                   3855 S VALLEY VIEW BLVD
                   LAS VEGAS, NV 89103

                   1ST RESPONSE AUTO
                   4215 BERTSOS DRIVE
                   LAS VEGAS, NV 89103

                   700 CREDIT, LLC
                   27777 FRANKLIN RD STE 1850
                   SOUTHFIELD, MI 48034

                   777 AUTO GLASS
                   600 BOND STREET
                   ELIZABETH, NJ 07206

                   A TO Z TRANSPORT LLC
                   16821 W MAGNOLIA ST
                   GOODYEAR, AZ 85338

                   A&E AUTO SERVICE
                   3871 S VALLEY VIEW BLVD STE 1
                   LAS VEGAS, NV 89103

                   A&E Auto Wholesale, LLC dba A&E Auto Sal
                   6440 Sky Point Drive, #140-286
                   Las Vegas, NV 89131

                   AAA FIRE PROTECTION CORPORATION
                   P.O. BOX 43334
                   LAS VEGAS, NV 89116-1334

                   AAMCO TRANSMISSION COMPLETE CAR CARE
                   23121 ORANGE AVE STE F
                   LAKE FOREST, CA 92630

                   ABC HYUNDAI
                   6825 S REDWOOD ST
                   LAS VEGAS, NV 89118

                   ABS AUTO AUCTIONS
                   341 CORPORATE TERRACE
                   CORONA, CA 92879
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               ABS AUTO FINANCIAL
               Acct No A&E
               341 CORPORATE TERRACE
               CORONA, CA 92879

               ACE TECH, INC.
               261 WELCH AVE
               UNION SPRINGS, AL 36089

               ACTION PRINTING SERVICE
               4855 W DESERT INN RD STE 103
               LAS VEGAS, NV 89102

               ADAM DRAKE ROSLING
               5890 RIVER ROAD NORTH
               KEIZER, OR 97303

               ADT SECURITY SERVICES
               P.O. BOX 371878
               PITTSBURGH, PA 15250-7878

               ADVANCE MUFFLERS & CATALYTIC CONVERTER
               7035 W SAHARA AVE STE 200
               LAS VEGAS, NV 89117

               ADVANSTAFF HR
               8925 W RUSSELL RD STE 100
               LAS VEGAS, NV 89148

               AHERN RENTALS
               5915 DEAN MARTIN DR
               LAS VEGAS, NV 89118

               AJAY GERALD DAYAL
               3659 BUFFLE HEAD ST
               LAS VEGAS, NV 89122

               ALEJANDRO GARCIA
               8440 WESTCLIFF DR, APT 2125
               LAS VEGAS, NV 89145

               ALEXANDER ANATOLY IOFFE
               3218 CAMBRIDGE HOLLOWS CT
               LAS VEGAS, NV 89135

               ALEXIA GONZALEZ GODINEZ
               2137 E SAINT LOUIS AVE
               LAS VEGAS, NV 89104

               ALEXIS ROGERS
               3708 STEINBECK DR
               LAS VEGAS, NV 89115
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               ALFRED SEEI TUIA
               4485 PENNWOOD AVE, APT 134
               LAS VEGAS, NV 89103

               ALPHA WARRANTY SERVICES
               P.O. BOX 580
               RIVERTON, UT 84065

               ALYSSA SWEET
               2388 VALISSA ST
               HENDERSON, NV 89044

               AMANDA AGUILAR
               7001 W CHARLESTON BLVD, #2010
               LAS VEGAS, NV 89117

               AMANDA VILLAROS
               1308 WINTERGREEN DR
               LAS VEGAS, NV 89128

               AMAZON FULFILLMENT CENTER
               410 TERRY AVE N
               SEATTLE, WA 98109

               AMBER KANANI NASARIO
               9501 W SAHARA AVE, APT 1222
               LAS VEGAS, NV 89117

               AMERICA FIRST CREDIT UNION
               Acct No xxxx6530
               P.O. BOX 9199
               OGDEN, UT 84409

               AMERICA FIRST CREDIT UNION
               Acct No xxxx-xxxx-xxxx-5303
               P.O. BOX 9199
               OGDEN, UT 84409

               ANA LETICIA CRUZ
               2801 REYNOLDS AVE
               NORTH LAS VEGAS, NV 89030

               ANDREW JAMES BENJAMIN ARCHER
               5050 TAMARUS ST, APT 220
               LAS VEGAS, NV 89119

               ANDREW JAMES EDWARDS
               3603 PENEDOS DR
               LAS VEGAS, NV 89147

               ANDREW MICHAEL MERIDA
               3512 CASA ALOT AVE
               NORTH LAS VEGAS, NV 89031
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               Angel Vargas
               Acct No 4085 Blue Diamond Road
               8333 North Saphire Drive
               Saint George, UT 84770

               ANGELA ELAINE GARDNER
               5318 SPRING CANYON ST
               NORTH LAS VEGAS, NV 89081

               ANTHONY ESPINOZA
               8000 SPRING MOUNTAIN RD, #2124
               LAS VEGAS, NV 89117

               ANTOINE CLIFFON HALL
               5113 LOST CANYON DR
               NORTH LAS VEGAS, NV 89031

               ANY & ALL LOCK & KEY
               5230 ITHACA AVE
               LAS VEGAS, NV 89122

               APRIL CHRISTINE BUTLER
               1904 SPANGLE DR
               LAS VEGAS, NV 89108

               APRIL TUIA
               4485 PENNWOOD AVE, APT 134
               LAS VEGAS, NV 89103

               AQUANDRA WILLIAMS
               4181 BEECH FAMILY ST
               LAS VEGAS, NV 89115

               ARAMARK
               P.O. BOX 101179
               PASADENA, CA 91189-1179

               ARLENE P SAMPSON
               7855 DEER SPRINGS WAY, APT 1009
               LAS VEGAS, NV 89131

               ARLEY CUETO
               7348 QUEEN PALM DR
               LAS VEGAS, NV 89128

               ARMANDO FLORES
               4911 W VEGAS DR
               LAS VEGAS, NV 89108

               ARTHUR AMBANTA CATUBAY
               3204 CRYSTAL POOL DR
               LAS VEGAS, NV 89117
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               ASBURY ENVIRONMENTAL SERVICES
               P.O. BOX 843021
               LOS ANGELES, CA 90084-3021

               ASHLEY JENEEN HARPER
               6033 DRAFT HORSE DR
               NORTH LAS VEGAS, NV 89081

               ASHTON VILLIA JR
               1581 FOXGLOVE DR
               LAS VEGAS, NV 89142

               AUDI LAS VEGAS
               6335 W SAHARA AVE
               LAS VEGAS, NV 89146

               AUTO CREDIT EXPRESS
               DEPT LA 24583
               PASADENA, CA 91185

               AUTO PEARSON TRANSPORT
               1126 E RODEO RD
               WILLIAMS, AZ 86046

               AUTO TRADER
               3003 SUMMIT BLVD NE STE 200
               ATLANTA, GA 30319

               AUTO ZONE
               3455 S DECATUR BLVD
               LAS VEGAS, NV 89102

               AUTOBYTEL
               18872 MACARTHUR BLVD, #200
               IRVINE, CA 92612

               AUTONATION NISSAN
               5800 W SAHARA AVE
               LAS VEGAS, NV 89146

               AVIS RENT A CAR
               3400 E SKY HARBOR BLVD
               PHOENIX, AZ 85034

               AVRIA LYNETTE HAYES
               3505 LACEBARK PINE ST
               LAS VEGAS, NV 89129

               B&R AUTO WRECKING
               P.O. BOX 640
               CORVALLIS, OR 97339

               Bailee Davis
               7510 Brookwood Ave
               Las Vegas, NV 89131
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               BANK OF AMERICA
               Acct No xxxxx0417
               P.O. BOX 650070
               DALLAS, TX 75265-0070

               BARBARA ANN WHITFIELD KING
               3260 FOUNTAIN FALLS WAY, #2184
               NORTH LAS VEGAS, NV 89032

               BARBARA SIMMONS
               28620 PACIFIC HWY, APT F67
               FEDERAL WAY, WA 98003

               BARCLAYCARD
               2280 CORPORATE CIR
               HENDERSON, NV 89074

               BARRY HENDERSON
               5005 LOSEE RD, #2089
               NORTH LAS VEGAS, NV 89081

               BARRY JAY HENDERSON JR
               5005 LOSEE RD, #2089
               NORTH LAS VEGAS, NV 89081

               BHFC FINANCIAL SERVICES
               Acct No A&E Auto Sales
               7017 N 56TH AVE
               GLENDALE, AZ 85301

               BIANCA ECHOLE SANDERS
               6760 DIAMOND CARE DR
               LAS VEGAS, NV 89122

               BOBBY'S MOTOR WORKS, LLC
               3863 S VALLEY VIEW BLVD STE 21
               LAS VEGAS, NV 89103

               BRADLEY JOHN DEGROAT
               4300 N LAMONT ST, APT 271
               LAS VEGAS, NV 89115

               BRADLEY WEINSTEIN
               7800 BROOKFIELD COVE AVE
               LAS VEGAS, NV 89131

               BRANDEE LEE KALEIOKALANI CABAG
               4760 E CHARLESTON BLVD, #6
               LAS VEGAS, NV 89104

               BRANDON LEON CHAPMOND
               9999 W KATIE AVE, UNIT 1355
               LAS VEGAS, NV 89147
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               BRANSON SANTANA
               10650 CLIFF RIDGE AVE
               LAS VEGAS, NV 89129

               BREANA ESTELE BELANGER
               4801 E TROPICANA, APT 22
               LAS VEGAS, NV 89120

               BRELAND HANEY II
               1025 E DESERT INN RD
               LAS VEGAS, NV 89109

               BRESHA DEANN GRAHAM
               4022 SILVER DOLLAR AVE, APT 201
               LAS VEGAS, NV 89102

               BRIAN JEFFREY BROOKS
               3751 S NELLIS BLVD, UNIT 132
               LAS VEGAS, NV 89121

               BRIANA MARY-RENEE BRANCH
               5005 LOSEE RD, #2089
               NORTH LAS VEGAS, NV 89081

               BRITTANICA CHUNTAY BRANCH
               154 FRAPUCCINO AVE
               NORTH LAS VEGAS, NV 89084

               BRITTNY RAELYNN KAISER
               1308 WINTERGREEN DR
               LAS VEGAS, NV 89128

               Brooklyn Davis
               7510 Brookwood Ave
               Las Vegas, NV 89131

               BUSY BEE TIRE SHOP
               3890 SPRING MOUNTAIN RD
               LAS VEGAS, NV 89102

               CALIFORNIA REPUBLIC BANK AUTO
               Acct No A&E Auto Sales
               18400 VON KARMAN AVE, STE 1100
               IRVINE, CA 92612

               CALIFORNIA REPUBLIC BANK AUTO FINANCE
               2500 PASEO VERDE PKWY, STE 100
               HENDERSON, NV 89074

               CALIFORNIA STATE BOARD OF EQUALIZATION
               ACCOUNT INFORMATION GROUP, MIC: 29
               P.O. BOX 942879
               SACRAMENTO, CA 94279-0029
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               CAMEO CHERIE STANCLIFF
               1676 DUARTE DR
               HENDERSON, NV 89014

               CAMILLE ANN-MARIE MANYAN
               3150 S NELLIS BLVD, APT 1170
               LAS VEGAS, NV 89121

               CAPITAL ONE BANK
               Acct No xxxx-xxxx-xxxx-1349
               PO BOX 60599
               CITY OF INDUSTRY, CA 91766-0599

               CAPITAL ONE BANK
               Acct No xxxx-xxxx-xxxx-0756
               PO BOX 60599
               CITY OF INDUSTRY, CA 91766-0599

               CAPITAL ONE BANK
               Acct No xxxx-xxxx-xxxx-0310
               PO BOX 60599
               CITY OF INDUSTRY, CA 91766-0599

               CAPITAL ONE BANK
               Acct No xxxx-xxxx-xxxx-9823
               PO BOX 60599
               CITY OF INDUSTRY, CA 91766-0599

               CAPITAL ONE BANK
               Acct No xxxx-xxxx-xxxx-6674
               PO BOX 60599
               CITY OF INDUSTRY, CA 91766-0599

               CAPITAL PREMIUM FINANCING
               12235 S 800 E
               DRAPER, UT 84020

               CAR KEY
               5840 W CRAIG RD, STE 120-123
               LAS VEGAS, NV 89130

               CAR.COM INC.
               DEPT LA 24583
               PASADENA, CA 91185-4583

               CARDINALEWAY MAZDA
               6950 W SAHARA AVE
               LAS VEGAS, NV 89117

               CARFAX, INC.
               16630 COLLECTION CENTER DRIVE
               CHICAGO, IL 60693
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               CARGURUS, INC.
               2 CANAL PARK, 4TH FLOOR
               CAMBRIDGE, MA 02141

               CARMAX AUTO FINANCE
               12800 TUCKAHOE CREEK PKWY
               RICHMOND, VA 23238

               CASH LOGISTIC
               22218 RAMONA AVE
               APPLE VALLEY, CA 92307

               CASSANDRA LASHA MCCLAIN
               82 DOW JONES ST, APT 2
               HENDERSON, NV 89074

               CECILIA LEPOLO-MUASAU
               5113 LOST CANYON DR
               NORTH LAS VEGAS, NV 89031

               CECILIA LUNA
               5524 MERRIWEATHER DR
               LAS VEGAS, NV 89113

               CEDRIC DEMETRIUS HENDERSON
               1750 KAREN AVE, APT 336
               LAS VEGAS, NV 89169

               CELESTINE TURNER
               4300 N LAMONT ST, #202
               LAS VEGAS, NV 89115

               CENTRAL DISPATCH
               26387 NETWORK PLACE
               CHICAGO, IL 60673

               CHANTEL KLINGER
               1921 ALPINE FALLS CT
               Las Vegas, NV 89134

               CHAPMAN DODGE
               3175 E SAHARA AVE
               LAS VEGAS, NV 89104

               CHARLES HALL III
               951 LAS PALMAS ENTRADA AVE, 1021
               HENDERSON, NV 89012

               CHASE AUTO FINANCE
               14800 FRYE RD
               FORT WORTH, TX 76155
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               CHASE CARD SERVICES
               Acct No xxxx-xxxx-xxxx-8842
               P.O. BOX 94014
               PALATINE, IL 60094-4014

               CHASE VISA
               6001 SPRING MOUNTAIN RD
               LAS VEGAS, NV 89146

               CHOICE MEDIA
               11805 INTERSTATE 27
               AMARILLO, TX 79119

               CHRISTINA NICOLE GEIGER
               367 KEATING ST
               HENDERSON, NV 89074

               CHRISTINE M WHITE
               4446 ELK POINT CIR
               LAS VEGAS, NV 89147

               CHRISTINE MARIE CRUZ
               4545 PENNWOOD AVE, APT 139
               LAS VEGAS, NV 89102

               CHRISTOPHER ALAN BROWNWOOD JR
               2184 N MICHAEL WAY
               LAS VEGAS, NV 89108

               CHRISTOPHER MARTINEZ


               CHRISTOPHER TORRES
               2137 E SAINT LOUIS AVE
               LAS VEGAS, NV 89104

               CIERRA INTRIGUE GILMORE-WITHER
               1212 N JONES BLVD, APT A
               LAS VEGAS, NV 89108

               CIG FINANCIAL
               Acct No A&E Auto Sales
               6 EXECUTIVE CIRCLE
               IRVINE, CA 92614

               CINDY LORENE BROUSSARD
               2205 DEMETRIUS AVE
               LAS VEGAS, NV 89101

               CINTAS CORPORATION #59
               P.O. BOX 29059
               PHOENIX, AZ 85038
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               CITY OF LAS VEGAS
               P.O. BOX 748031
               LOS ANGELES, CA 90074-8031

               CLARA CECILIA MARIA
               5419 W TROPICANA AVE, APT 909
               LAS VEGAS, NV 89103

               CLARE BIRMINGHAM
               7836 BLUE CHARM AVE
               LAS VEGAS, NV 89149

               CLARK COUNTY ASSESSOR
               C/O BANKRUPTCY CLERK
               500 S GRAND CENTRAL PKWY
               BOX 551401
               LAS VEGAS, NV 89155-1401

               CLARK COUNTY BUSINESS LICENSE
               500 S GRAND CENTRAL PKWY, 3RD FL
               LAS VEGAS, NV 89155

               CLARK COUNTY TREASURER
               C/O BANKRUPTCY CLERK
               500 S GRAND CENTRAL PKWY
               PO BOX 551220
               LAS VEGAS, NV 89155-1220

               CLAUDIA A SARABIA RANGEL
               1050 WHITNEY RANCH DR, #1313
               HENDERSON, NV 89014

               CLEVELAND D MITCHELL
               1808 PRESTON ST, APT C
               NORTH LAS VEGAS, NV 89030

               CMS OF HOLLAND, INC
               P.O. BOX 819
               HOLLAND, OH 43528

               COAST HOTELS & CASINOS INC
               4000 W FLAMINGO RD
               LAS VEGAS, NV 89103

               COLTON JON WILLIFORD
               4860 CONTENTO DIR
               NORTH LAS VEGAS, NV 89031

               Commercial Collectors Inc.
               P.O. Box 337
               Montrose, MN 55363

               COMMERCIAL EQUIPMENT REPAIR
               2109 N DECATUR BLVD
               LAS VEGAS, NV 89108
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               CONSTANT F YOUNG
               3940 SCOTT ROGINSON BLVD, #1111
               NORTH LAS VEGAS, NV 89032

               CORINTHIANS JAMES HEATH
               4212 LENTIL CT
               LAS VEGAS, NV 89129

               COX COMMUNICATION, INC
               PO BOX 53262
               PHOENIX, AZ 85072-3262

               COX COMMUNICATIONS, INC.
               Acct No A&E Auto Sales
               6205-B PEACHTREE DUNWOODY RD NE
               ATLANTA, GA 30328

               CRAIGSLIST
               1381 9TH AVE
               SAN FRANCISCO, CA 94122

               CREDIT ACCEPTANCE CORPORATION
               Acct No A&E Auto Sales
               2460 PASEO VERDE PKWY, STE 110
               HENDERSON, NV 89074

               CROSSCHECK, INC
               P.O. BOX 6008
               PETALUMA, CA 94955-6008

               CSB TECHNOLOGIES
               14260 GARDEN RD
               POWAY, CA 92064

               CYLE JOSEPH BRISTER
               250 E FLAMINGO, APT 235
               LAS VEGAS, NV 89169

               CYNTHIA DOMINGUEZ
               6311 FELICITAS AVE
               LAS VEGAS, NV 89122

               CYNTHIA MARIA FISHER
               325 N GIBSON RD
               HENDERSON, NV 89014

               D & D CAR COMPANY
               Acct No A&E Auto
               2018 E BROOKWOOD CT
               PHOENIX, AZ 85048

               DALI TRANSPORTATION
               129 FOSTER LANE
               PALM COAST, FL 32164
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               DAMAURYION TERRELL WALLS
               10192 S MARYLAND PKWY, #2081
               LAS VEGAS, NV 89183

               DAMEON VARNELL JACKSON
               3326 HILLSIDE GARDEN DR
               LAS VEGAS, NV 89135

               DANIEL PETER CONFROY ALDWELL
               999 S LAS VEGAS BLVD, #2805
               LAS VEGAS, NV 89118

               DANIELA V MARTINEZ MELCHOR
               9901 W SAHARA AVE, APT 2038
               LAS VEGAS, NV 89117

               DARBY BRAD SANDERS
               98 S MARTIN LUTHER KING, #194
               LAS VEGAS, NV 89106

               DARNELLA MARIA BIRD
               3900 DALECREST DR, APT 1020
               LAS VEGAS, NV 89129

               DARRYL LORENZ
               1020 E DESERT INN RD, APT 1104
               LAS VEGAS, NV 89109

               DARYL CHASE PASSANANTE
               501 E LAKE MEAD PKWY, APT 1117
               HENDERSON, NV 89015

               DATASPHERE
               3350 161ST AVE SE
               BELLEVUE, WA 98008

               DAVID CASE
               2325 HOLLOW OAK AVE
               NORTH LAS VEGAS, NV 89031

               DAVID CHRISTOPHER EARL
               5816 POST MOUNTAIN ST
               NORTH LAS VEGAS, NV 89031

               DAVID FISHER
               325 N GIBSON RD
               HENDERSON, NV 89014

               DEALER CAR SEARCH
               12912 SHELBYVILLE RD
               LOUISVILLE, KY 40243

               DEALER SUPPLY COMPANY
               9613 PONDEROSA SKYE CT
               LAS VEGAS, NV 89166
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               DEALER TRACK
               1111 MARCUS AVE, SUITE M04
               LAKE SUCCESS, NY 11042

               DEALERTRACK
               2110 LOS FELIZ ST, UNIT 2004
               LAS VEGAS, NV 89156-8016

               DEALERTRACK CENTRAL DISPATCH, INC.
               26387 NETWORK PLACE
               CHICAGO, IL 60673

               DEALERTRACK, INC.
               P.O. BOX 6129
               NEW YORK, NY 10249-6129

               DELEANER RAJKA CALVIN
               2201 E SAINT LOUIS AVE
               LAS VEGAS, NV 89104

               DEMARCO WOODS
               500 VINCENT WAY
               LAS VEGAS, NV 89145

               DENISE MCCULLOUGH
               6573 WOODSWORTH AVE
               LAS VEGAS, NV 89108

               DENISE ROCHELLE CHARRETT-MCCU
               6573 WOODSWORTH AVE
               LAS VEGAS, NV 89108

               DENNIS CASES CRUZADA
               4050 PACIFIC HARBORS DR, #115
               LAS VEGAS, NV 89121

               DENNIS DARIO PRECIOSO
               2 RED RAIL LN
               LADERA RANCH, CA 92694

               DENNIS PRECIOSO
               2 RED RAIL LN
               LADERA RANCH, CA 92694

               Department of Taxation
               1550 E. College Parkway,
               Capital Complex
               Carson City, NV 89710

               Department of Taxation
               Grant Sawyer Office Building
               555 E. Washington Ave, Suite 1300
               Las Vegas, NV 89101
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               DEPARTMENT OF TREASURY
               INTERNAL REVENUE SERVICE
               OGDEN, UT 84201-0030

               DEPT OF EMPLOYMENT TRAINING & REHAB
               EMPLOYMENT SECURITY DIVISION
               500 E THIRD ST
               CARSON CITY, NV 89701-4772

               DEREK J GOYEAU
               10612 PRIMROSE ARBOR AVE
               LAS VEGAS, NV 89144

               DEREK MICHAEL LAWRENCE
               9745 GREEN TETON DR
               LAS VEGAS, NV 89166

               DESERT 215 SUPERSTORE
               8030 RAFAEL RIVERA WAY
               LAS VEGAS, NV 89113

               DESHALLA MARIE HARRIS
               1108 PLANTATION CT, APT B
               LAS VEGAS, NV 89117

               DESIRE KUU LEO NAHINAHI EVANS
               3500 BROADWAY AVE
               NORTH LAS VEGAS, NV 89030

               DESTINY RAE OBRIEN
               1333 HILLSWAY DR
               LAS VEGAS, NV 89110

               DEVIN CREIGHTON BAILEY
               9650 ENSWORTH ST, APT 213
               LAS VEGAS, NV 89123

               DIANA BARRIE-IOFFE
               3218 CAMBRIDGE HOLLOWS CT
               LAS VEGAS, NV 89135

               DIAZ OIL DISTRIBUTORS
               1931 SILVER CREST CT
               NORTH LAS VEGAS, NV 89031

               DINGMAN TRANSPORT LLC
               117 CENTER POINT RD
               ELKLAND, MO 65644

               DIONNE APRIL TSUNETA
               1505 BREEZE CANYON DR
               LAS VEGAS, NV 89117
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               DIRECTV
               2230 E IMPERIAL HWY
               EL SEGUNDO, CA 90245

               DISCOUNT TIRE COMPANY
               24350 N 20TH DR
               BLDG C, STE 134
               PHOENIX, AZ 85085

               DISCOVER
               Acct No xxxx-xxxx-xxxx-6795
               P.O. BOX 51908
               LOS ANGELES, CA 90051-6208

               DIXIE ANN GASKELL
               1996 GRANEMORE ST
               LAS VEGAS, NV 89135

               DOMINIQUE SHOREESE LEE
               3825 CRAIG XING DR, APT 3101
               NORTH LAS VEGAS, NV 89032

               DORIS JUANITA EARL
               1100 MADISON AVE
               LAS VEGAS, NV 89106

               DOROTHY EISENBEIS
               277 BOULD LN, #6A
               INDIAN SPRINGS, NV 89018

               DOUGLAS CHRISOPHER TROWBRIDGE
               7051 SOMERA WAY
               LAS VEGAS, NV 89113

               DR. VINYL
               4613 EL CAMINO CABOS DR
               LAS VEGAS, NV 89147

               DR. VINYL
               1350 SE HAMBLEN RD
               LEES SUMMIT, MO 64081

               DRAKE ROSLING
               5890 RIVER RD N
               KEIZER, OR 97307

               DRIVE IT AUTO GROUP
               Acct No A&E Auto Sales
               2475 N TUSTIN ST
               ORANGE, CA 92865

               DYANTA B JONES
               7950 FLAMINGO RD, UNIT 2119
               LAS VEGAS, NV 89147
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               E BIZ AUTOS
               P.O. BOX 841706
               DALLAS, TX 75284-1706

               E-Z LETTERING SERVICE
               723 OHMS WAY
               COSTA MESA, CA 92627

               EDITHA KOFF
               321 REDSTONE ST
               LAS VEGAS, NV 89145

               EDMONDS.COM, INC.
               P.O. BOX 783531
               PHILADELPHIA, PA 19178-3531

               EDMUNDS
               2401 COLORADO AVE
               SANTA MONICA, CA 90404

               EL MUNDO
               760 N EASTERN AVE STE 110
               LAS VEGAS, NV 89101

               ELEAD ONE
               P.O. BOX 2585
               VALDOSTA, GA 31604

               ELEAD1ONE
               4001 COLEMAN ROAD
               NORTH VALDOSTA, GA 31602

               ELLY T MANIFFA
               6725 BLUEBELL GARDEN ST
               LAS VEGAS, NV 89149

               EMERG ROOM PHYSICIANS SOUTH
               Acct No ERP22999
               P.O. BOX 8145
               FORTH WORTH, TX 76124-0145

               Employment Development Department
               Acct No Adam E. Mallas
               P.O. Box 826880- UIPCD, MIC 40
               Sacramento, CA 94280-0001

               EMPYRE AUTO PARTS
               2041 W STONEHURST DR
               RIALTO, CA 92377

               ENEMORIO ARZATE PENALOZA
               2117 BASSLER ST, APT B
               NORTH LAS VEGAS, NV 89030
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               ENRIQUE ALBERTO PADILLA
               5809 EXPEDITION WAY
               PALMDALE, CA 93552

               ENTERPRISE CAR RENTAL
               5120 S DECATUR BLVD, STE 104
               LAS VEGAS, NV 89118

               ENTRAVISION COMMUNICATIONS CORP
               500 PILOT RD, STE D
               LAS VEGAS, NV 89119

               EQUIFAX WORKFORCE SOLUTIONS
               11432 LACKLAND RD
               SAINT LOUIS, MO 63146

               ERICA LEE LYNCH
               4255 W VIKING RD, APT 818
               LAS VEGAS, NV 89103

               ERICK ANTHONY SEWELL
               7075 W GOWAN RD, #1105
               LAS VEGAS, NV 89129

               ERIK RICHARD CLAUSON
               4 HOGENMILLER CIR
               LAS VEGAS, NV 89115

               ERNESTO ALONSO RENTERIA-PEREZ
               610 W 6TH ST
               WINNEMUCCA, NV 89445

               EUMEKA DENISE THOMAS
               3675 CAMBRIDGE ST, APT 224
               LAS VEGAS, NV 89169

               EVAN MICHAEL MYNATT
               2388 VALISSA ST
               HENDERSON, NV 89044

               EVOLUTION MOTOR SPORTS
               3859 S VALLEY VIEW BLVD, UNIT 27
               LAS VEGAS, NV 89103

               FAIRWAY CHEVROLET
               3100 E SAHARA AVE
               LAS VEGAS, NV 89104

               FEDEX
               P.O. BOX 7221
               PASADENA, CA 91109
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               FEDLOAN SERVICING
               Acct No xxxxxx3785
               P.O. BOX 530210
               ATLANTA, GA 30353-0210

               FELICIA JACKSON
               3326 HILLSIDE GARDEN DR
               LAS VEGAS, NV 89135

               FES PROTECTION PLAN
               P.O. BOX 417
               FARMINGTON, MI 48332

               FINANCIAL GAP ADMINISTRATORS
               1670 FENPARK DR
               FENTON, MO 63026

               FLM EXPRESS
               190 TROTTERS RDG
               CAMILLUS, NY 13031

               FMP - Factory Motor Parts
               1380 CORPORATE CENTER CURVE, STE 200
               SAINT PAUL, MN 55121

               FRANCHISE TAX BOARD
               BANKRUPTCY SECTION, MS A340
               PO BOX 2952
               SACRAMENTO, CA 95812-2952

               FRANCIS R VIVACQUA
               7027 SHADOW CREST DR
               LAS VEGAS, NV 89119

               FRAZER
               6196 US HWY 11
               P.O. BOX 569
               CANTON, NY 13617

               FRONTIER COMMUNICATIONS
               P.O. BOX 5157
               Cincinnati, OH 45274-0001

               FRY'S ELECTRONIC
               6845 S LAS VEGAS BLVD
               LAS VEGAS, NV 89119

               GABRIAL SALAZAR
               4809 LINKWOOD DR
               LAS VEGAS, NV 89110

               GARY JAMES BROWN JR
               5625 GRANVILLE LAKE ST
               NORTH LAS VEGAS, NV 89031
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               GARY STEVEN CAPONE
               3715 LOYOLA ST
               NORTH LAS VEGAS, NV 89030

               GARY THOMAS
               1750 KAREN AVE, APT 66
               LAS VEGAS, NV 89169

               GATEWAY ONE LENDING AND FINANCE
               Acct No A&E Auto Sales
               160 N RIVERVIEW DR, STE 100
               ANAHEIM, CA 92808

               GAUDIN FORD
               6625 ROY HORN WAY
               LAS VEGAS, NV 89118

               GILA EXPRESS AUTO TRANSPORT
               945 E PINA STREET
               GILA BEND, AZ 85337

               GMT DESIGNS LLC
               5012 SCHUSTER ST
               LAS VEGAS, NV 89118

               GOLDFINGER GOLDFINGER
               920 SIERRA VISTA DR, APT A8
               LAS VEGAS, NV 89169

               GPS SOLUTIONS
               1320 PEARL STREET, STE 310
               BOULDER, CO 80302

               GUEST CONCEPTS, INC
               3203 E WARM SPRINGS RD, #100
               LAS VEGAS, NV 89120

               GUILLERMO ROJAS OCAMPO
               10151 DORRELL LN, UNIT 1053
               LAS VEGAS, NV 89166-1029

               HARBOR FREIGHT TOOLS
               4740 S DECATUR BLVD
               LAS VEGAS, NV 89103

               HECTOR ARTEAGA
               7065 DE PAZ WAY
               LAS VEGAS, NV 89113

               HERTZ EQUIPMENT RENTAL
               4555 WYNN ROAD
               LAS VEGAS, NV 89103
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               HILDA M MOYA
               5250 ITHACA AVE
               LAS VEGAS, NV 89122

               HO'OLULANI EMMALENE AO'LAHIKO
               9745 GRAND TETON DR, APT 1046
               LAS VEGAS, NV 89166

               HONOR FINANCE, LLC
               Acct No A&E Auto Sales
               2451 S BUFFALO DR, #130
               LAS VEGAS, NV 89117

               HUGO OLIVARES PONCE
               338 SWEETSPICE ST
               HENDERSON, NV 89014

               HYUNDAI MOTOR FINANCE
               Acct No xxxxxx3108
               PO BOX 660891
               DALLAS, TX 75266-0891

               HYUNDAI MOTOR FINANCE
               Acct No xxxxxx2229
               PO BOX 660891
               DALLAS, TX 75266-0891

               HYUNDAI MOTOR FINANCE
               PO BOX 660891
               DALLAS, TX 75266-0891

               IDA GORDON
               633 TWILIGHT BLUE AVE
               NORTH LAS VEGAS, NV 89032

               IHEART RADIO
               32 AVENUE OF AMERICAS
               NEW YORK, NY 10013

               IN TOUCH CREDIT UNION
               Acct No A&E Auto Sales
               P.O. BOX 250169
               PLANO, TX 75025-0169

               INSURANCE EXPRESS
               3035 E TROPICANA AVE
               LAS VEGAS, NV 89121

               INSURED SERVICES
               2600 WESTWOOD DRIVE
               LAS VEGAS, NV 89109
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               INTERNAL REVENUE SERVICE
               ATTN: CENTRALIZED INSOLVENCY OPERATION
               PO BOX 7346
               PHILADELPHIA, PA 19101-7346

               INTERNAL REVENUE SERVICES
               ATTN: BANKRUPTCY UNIT
               110 N CITY PKWY STE 100
               LAS VEGAS, NV 89106-6085

               INTERNET BRANDS
               909 N SEPULVEDA BLVD, 11TH FL
               EL SEGUNDO, CA 90245

               INTUIT QUICKBOOKS
               2700 COAST AVE
               MOUNTAIN VIEW, CA 94043

               IRMA PADILLA
               5809 EXPEDITION WAY
               PALMDALE, CA 93552

               IRVIN STEPHEN GRAY
               1000 AMERICAN PACIFIC DR, #1821
               HENDERSON, NV 89074

               ITS
               7251 W. LAKE MEAD BLVD, STE 300
               LAS VEGAS, NV 89128

               J & S DIESEL
               5155 DEAN MARTIN DR
               LAS VEGAS, NV 89118

               J T IGLESIA
               6421 RAVEN HALL ST
               NORTH LAS VEGAS, NV 89084

               JAGUAR LAND ROVER OF LAS VEGAS
               5255 W SAHARA AVE
               LAS VEGAS, NV 89146

               JAMAR RASHAN GROVNER
               4437 DOVER STRAIGHT ST, UNIT 303
               LAS VEGAS, NV 89115

               JAMES FRANCIS KERRIGAN
               5568 MONCINNA ST
               LAS VEGAS, NV 89118

               JAMES URI SAYLES
               1225 GOLD AVE
               LAS VEGAS, NV 89106
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               JAMES WILSON STEWART DORTCH
               6760 DIAMOND CARE DR
               LAS VEGAS, NV 89122

               JAMIE CORVELL ROBERTS
               517 PRINCESS AVE
               NORTH LAS VEGAS, NV 89030

               JAMIE LYNN HAMMOND
               8020 LAS VEGAS BLVD, #41
               LAS VEGAS, NV 89123

               JANEIQUA ELIZABETH CARTER
               3913 GOLDFIELD ST
               NORTH LAS VEGAS, NV 89032

               JARED BROUSSARD
               2205 DEMETRIUS AVE
               LAS VEGAS, NV 89101

               JARED FULLER
               7700 SANDRIDGE CT
               LAS VEGAS, NV 89149

               JASON THOMAS VOWELL
               340 N COUNTRY LANE DRI, APT 29
               SAINT GEORGE, UT 84770

               JATHIYAH CLARK
               5568 MONCINNA ST
               LAS VEGAS, NV 89118

               JB AUTO BODY PARTS
               1735 N NELLIS BLVD
               LAS VEGAS, NV 89115

               JDT MARKETING INC
               31 APPLE BLOSSOM LANE
               PATCHOGUE, NY 11772

               JEFFREY MARTIN
               7604 CORVINA AVE
               LAS VEGAS, NV 89113

               JEREMY MARTIN WADSWORTH
               3055 GARNETT CT
               LAS VEGAS, NV 89121

               JEROME OVERTON
               1709 STEMBOAT DR
               HENDERSON, NV 89014

               JERRY BUTLER
               1904 SPANGLE DR
               LAS VEGAS, NV 89108
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               JERRY RAY VARELA
               4300 N LAMONT ST, #202
               LAS VEGAS, NV 89115

               JESSE JAMES GORDON-BEST
               6234 NAHA PORT AVE
               LAS VEGAS, NV 89110

               JESSE MAHMOUD ISMAIL SBAIH
               178 INVERARAY
               HENDERSON, NV 89074

               JESSEE TOUCH
               1135 SAGE VALLEY LN
               LAS VEGAS, NV 89110

               JESSICA ADRIANNA PEREZ
               5600 E RUSSELL RD, UNIT 311
               LAS VEGAS, NV 89122

               JESSICA ANN LORENZ
               1020 E DESERT INN RD, APT 1104
               LAS VEGAS, NV 89109

               JESUS MENDIOLA-VALDIVIEZO
               920 ROCKVIEW DR, UNIT 202
               LAS VEGAS, NV 89128

               JILLIAN ALEXIS THOMPSON
               3232 OCEAN SPRAY CT
               NORTH LAS VEGAS, NV 89031

               JMD PROFESSIONAL AUTO DETAIL
               1651 AMERICAN PACIFIC DR
               HENDERSON, NV 89074

               JOE TOLEFREE JR
               2708 CORNCOB CACTUS CT
               LAS VEGAS, NV 89106

               JOHN C ALLEN
               12930 GROVER AVE
               LAS VEGAS, NV 89129

               JOHN FRAZIER MCINTOSH
               5196 HEDDELL CT, APT D
               LAS VEGAS, NV 89118

               JOHN LEE THOMAS
               4332 SILVER DOLLAR AVE, #6
               LAS VEGAS, NV 89103

               JOHN PRIAN
               2105 W DATE DREEK RD
               WICKENBURG, AZ 85390
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               JOHN ROBERT PENA JR
               609 WEALDSTON CT
               LAS VEGAS, NV 89178

               JOHN STEVE PASHALES
               2330 TEDESCA DR
               HENDERSON, NV 89052

               JOHN STEVEN NELSON
               3808 COUNTRY LIGHTS ST
               LAS VEGAS, NV 89129

               JOHN TIMOTHY HERRERA
               1438 SILVER FALLS AVE
               LAS VEGAS, NV 89123

               JOHN WHITNEY JONES
               1101 DUMONT BLVD, APT 120
               LAS VEGAS, NV 89169

               JOHNNY DOLSTRA
               3437 SEQUOIA COURT
               PERRIS, CA 92570

               JONATHAN NEIL & ASSOCIATES
               18321 VENTURA BLVD, #1000
               TARZANA, CA 91356

               JONATHAN NEIL & ASSOCIATES, INC
               71 W MAIN ST, STE 304
               FREEHOLD, NJ 07728

               JONATHAN ROMERO-DURAN
               5084 NEWPORT COVE DR, UNIT B
               LAS VEGAS, NV 89119

               JORDAN TAYLOR JOHNSON
               981 WHITNEY RANCH DR, APT 1125
               HENDERSON, NV 89014

               JORGE A DELRIO
               3792 ANGEL FLIGHT DR
               LAS VEGAS, NV 89115

               JORGE PARRA-MEZA
               3500 BROADWAY AVE
               NORTH LAS VEGAS, NV 89030

               JORGE SARABIA
               1050 WHITNEY RANCH DR, #1313
               HENDERSON, NV 89014

               JOSE ARMANDO AGUILAR MARTINEZ
               9501 W SAHARA AVE, APT 1036
               LAS VEGAS, NV 89117
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               JOSEPH DEWITT WELCH ESQ
               1405 S NELLIS BLVD, APT 1104
               LAS VEGAS, NV 89104

               JOSEPH MICHAEL LANE
               811 E BRIDGER AVE, APT 248
               LAS VEGAS, NV 89101

               JOSEPH P DEPHILLIPS II
               720 TWILIGHT BLUE AVE
               NORTH LAS VEGAS, NV 89032

               JOSHUA BUNGCAYAO
               5154 S JONES BLVD, UNIT 101
               LAS VEGAS, NV 89118

               JOSHUA TATSU KEACH
               924 WILSON CLIFFS RD
               LAS VEGAS, NV 89128

               JW COMPANY
               819 W MAIN STREET
               ZANESVILLE, OH 43701

               KAREN RAYE CECI
               661 INDIAN CORN AVE
               HENDERSON, NV 89015

               KARON LETHER
               8816 SPINNING WHEEL AVE
               LAS VEAGS, NV 89143

               KATHERINNE ESTEFANIA FRANCO
               2602 RIM PACIFIC CIR
               LAS VEGAS, NV 89146

               KATRINA ALINA GROVES
               1547 SUNRISE CIR
               BOULDER CITY, NV 89005

               KEELI DEANA WOODS-BEDELL
               3640 LAS VEGAS BLVD N
               LAS VEGAS, NV 89115

               KEEP ON ROLING TRANSPORTATION
               4055 TUSCAN SHORES DRIVE
               MISSOURI CITY, TX 77459

               KEIKO CUBIT
               200 MISSION LAGUNA LN, APT 102
               LAS VEGAS, NV 89107

               KEMP BROADCASTING
               3999 S LAS VEAGS BLVD, STE K
               LAS VEGAS, NV 89119
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               KENSINGTON MOTOR CARS
               3062 SHERIDAN ST
               LAS VEGAS, NV 89102

               KEVANTE MILLS
               16 FRAD AVE
               NORTH LAS VEGAS, NV 89031

               KEVIN KENNETH HOMER
               2280 IRON AVE
               SANDY VALLEY, NV 89019

               KIERRA DESIREE PRINGLE
               4200 S VALLEY VIEW, APT 1102
               LAS VEGAS, NV 89103

               KIFAH NIDHAL MARGOLIS
               1826 VACCARO PL
               HENDERSON, NV 89074

               KIMBERLY ANN KEITH
               3955 SWENSON ST, APT 369
               LAS VEGAS, NV 89119

               KIMBERLY ESTALA
               7027 SHADOW CREST DR
               LAS VEGAS, NV 89119

               KIMBERLY LYNN MCCOVERY
               5850 SKY POINT DR, APT 2068
               LAS VEGAS, NV 89130

               KIMBERLY NICOLE WALLACE
               3762 ROYAL CREST ST, APT 9
               LAS VEGAS, NV 89119

               KIRK SPARKS
               10741 CATHER AVE
               LAS VEGAS, NV 89166

               KURSTIN DIANE SULLIVAN
               9100 W FLAMINGO RD, UNIT 1149
               LAS VEGAS, NV 89147

               KURUKULASURIYA AUSTIN PERIES
               6304 SESPE ST
               LAS VEGAS, NV 89108

               LAKEISHA MONIQUE GRAY
               1750 KAREN AVE, APT 66
               LAS VEGAS, NV 89169

               LANCE SURETY BOND ASSOCIATES, INC
               4387 W SWAMP RD # 287
               DOYLESTOWN, PA 18902-1039
Case 17-12181-abl   Doc 1   Entered 04/27/17 18:25:30   Page 354 of 373



               LARRY PORTER
               4975 DUNEVILLE ST, APT 235
               LAS VEGAS, NV 89118

               LAS VEGAS CONSTABLE
               301 E CLARK AVE, STE 100
               LAS VEGAS, NV 89101

               LAS VEGAS REVIEW JOURNAL
               111 W BONANZA RD
               P.O. BOX 70
               LAS VEGAS, NV 89125

               LAS VEGAS WHEEL WORKS
               10620 SOUTHERN HIGHLAND PKWY
               # 110-390
               LAS VEGAS, NV 89141

               LAWRENCE HYMAN EPSTEIN
               3645 METTER ST
               LAS VEGAS, NV 89129

               LEA NORA RENEE THOMPSON
               10741 CATHER AVE
               LAS VEGAS, NV 89166

               LENDING CLUB
               Acct No xxxx3384
               71 STEVENSON ST, STE 300
               SAN FRANCISCO, CA 94105

               LEO GAMBOA
               2424 ELLIS ST, APT A
               NORTH LAS VEGAS, NV 89030

               LEXUS OF LAS VEGAS
               6600 W SAHARA AVE
               LAS VEGAS, NV 89146

               LILLIE MARIE DAVIS-ADAMS
               8060 TWAIN HARTE ST
               LAS VEGAS, NV 89139

               LISA CARPENTER
               1818 BALZAR AVE, APT 206
               LAS VEGAS, NV 89106

               LISTING ALL CARS
               SHELBYVILLE RD
               LOUISVILLE, KY 40243

               LKQ OF NEVADA
               3370 E LONE MOUNTAIN RD
               NORTH LAS VEGAS, NV 89081
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               LOBEL FINANCIAL
               Acct No A&E Auto Sales
               777 N RAINBOW BLVD, STE 175
               LAS VEGAS, NV 89107

               LORI JEAN POOLE
               2753 STRUAN AVE
               HENDERSON, NV 89044

               LORRYANN BULTEDAOB
               8101 W FLAMINGO, APT 1106
               LAS VEGAS, NV 89147

               LOUISE MIYUKI DEPIERO
               1037 WARSAW AVE
               HENDERSON, NV 89015

               LOWE'S
               Acct No xxxx-xxxx-xx-8684
               P.O. BOX 530914
               ATLANTA, GA 30353-0914

               LUIS ALFO GUTIERREZ-GUTIERREZ
               505 PALMHURST DR
               LAS VEGAS, NV 89145

               LUIS ALFREDO ROBLES
               2504 BUCKTHORN CIR
               LAS VEGAS, NV 89108

               LUIS ARMANDO AGUILAR VILLEGAS
               7001 W CHARLESTON BLVD, #2010
               LAS VEGAS, NV 89117

               LURETHA ROBINSON
               517 PRINCESS AVE
               NORTH LAS VEGAS, NV 89030

               LV AUTO CARE
               3111 S VALLEY VIEW BLVD
               LAS VEGAS, NV 89102

               LV AUTO GROUP
               2201 N COMMERCE ST
               NORTH LAS VEGAS, NV 89030

               MA ROSALBA RUBIO PALMOERA
               4536 PRINCE CARY CT
               LAS VEGAS, NV 89110

               MANHEIM - DALLAS
               5333 KIEST BLVD
               DALLAS, TX 75236
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               MANHEIM - FORT LAUDERDALE
               5353 S STATE ROAD 7
               DAVIE, FL 33314-6403

               MANHEIM - NEVADA
               6600 AUCTION LANE
               LAS VEGAS, NV 89165

               MANHEIM - RIVERSIDE
               6446 FREMONT ST
               RIVERSIDE, CA 92504-1437

               MARGARET BELCNER EDWARDS
               5809 REITER AVE
               LAS VEGAS, NV 89108

               MARIA LYNN DEVON-SHEPARD
               522 RELIANCE AVE
               HENDERSON, NV 89002

               MARIA SABRINA GODINO
               3320 BEACH PORT DR
               LAS VEGAS, NV 89117

               MARITES CRUZADA
               4050 PACIFIC HARBORS DR, #115
               LAS VEGAS, NV 89121

               MARK GREGORY SMITH
               2240 TIMBER ROSE
               LAS VEGAS, NV 89134

               MARKIE SAMUEL PRATER
               709 MILLER AVE
               NORTH LAS VEGAS, NV 89030

               MARQUITA RE BARNETT
               4701 LAWRENCE ST, UNIT 2168
               NORTH LAS VEGAS, NV 89081

               MARVIN DOMINGUEZ
               6311 FELICITAS AVE
               LAS VEGAS, NV 89122

               MATHEW DRESDEN
               3330 COAL AVE
               SANDY VALLEY, NV 89019

               MAUALEI EMILE HENREYETT
               621 MAJESTIC SKY DR
               NORTH LAS VEGAS, NV 89031

               MEAGAN BRYANT
               60 N PECOS RD, APT 2080
               LAS VEGAS, NV 89101
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               MECHANICS BANK
               Acct No A&E Auto Sales
               2 S MAIN ST
               MANSFIELD, OH 44902

               MELODIE SUETWILA DAVIS
               3481 ALGIERS DR, #1177
               LAS VEGAS, NV 89115

               MIA VANEE BRYANT
               60 N PECOS RD, APT 2080
               LAS VEGAS, NV 89101

               MICHAEL A WITHEM
               3555 HORIZON CIR
               LAS VEGAS, NV 89121

               MICHAEL ANTHONY CANDOSTA
               8944 SIERRA LINDA DR
               LAS VEGAS, NV 89147

               MICHAEL JOSUE LAINEZ
               3651 ARVILLE ST, APT 731
               LAS VEGAS, NV 89103

               MICHAEL LEWIS KOFF
               321 REDSTONE ST
               LAS VEGAS, NV 89145

               MICHAEL QUINONEZ
               1216 PACIFIC TERRACE DR
               LAS VEGAS, NV 89128

               MICHAEL TUNG BUI
               1601 CAMBRIDGE CT
               WEST COVINA, CA 91791

               MICHELLE SLACK
               22424 S ELLSWORTH LOOP RD, 1041
               QUEEN CREEK, AZ 85142

               MIECHKO RILEY
               5669 RAINWOOD DR
               NORTH LAS VEGAS, NV 89031

               MIGUEL ANGEL ESCOBAR
               3640 SOLANDRA ST
               LAS VEGAS, NV 89147

               MINDY MICHELLE FURLONGE-SPEARS
               3008 PERISCOPE CT
               LAS VEGAS, NV 89117
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               MIRANDA CANIELLE DAVIS
               5280 TAMARUS ST, APT D
               LAS VEGAS, NV 89119

               MIRNA LETICIA GONZALEZ
               2801 REYNOLDS AVE
               NORTH LAS VEGAS, NV 89030

               MOJAVE ELECTRIC
               928 HANCOCK RD
               BULLHEAD CITY, AZ 86442

               MONICA LACHEAL DENNIS
               3586 FULL SAIL DR
               LAS VEGAS, NV 89115

               MY CLEANING AND JANITORIAL
               38633 S VALLEY VIEW BLVD, #32
               LAS VEGAS, NV 89103

               MY TRUE MILES INC
               2505 ANTHEM VILLAGE DR, STE E 135
               Henderson, NV 89052

               MYSHADO KAJON DAVIS
               5669 RAINWOOD DR
               NORTH LAS VEGAS, NV 89031

               NAPA AUTO PARTS
               4675 POLARIS AVE, STE C
               LAS VEGAS, NV 89103-5642

               Nationwide Acceptance LLC
               Acct No A&E Auto
               10255 W. Higgins Road, Suite 300
               Des Plaines, IL 60018

               NATIONWIDE NEVADA LLC
               Acct No A&E Auto Sales
               2250 S RANCHO DR
               LAS VEGAS, NV 89102

               NESTOR DE JESUS ORTIZ
               4809 LINKWOOD DR
               LAS VEGAS, NV 89110

               NETERRI DANYELL BARNES
               6429 CHIPPINDALE LN
               LAS VEGAS, NV 89108

               NEVADA DEPARTMENT OF MOTOR VEHICLES
               555 WRIGHT WAY
               CARSON CITY, NV 89701-5229
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               NEVADA DEPARTMENT OF TAXATION
               Acct No xxxxxxxxx6-001
               1550 COLLEGE PKWY STE 115
               CARSON CITY, NV 89706

               NEVADA DEPARTMENT OF TAXATION
               2550 PASEO VERDE PKWY, #1800
               HENDERSON, NV 89074

               NEVADA DEPARTMENT OF TAXATION
               BANKRUPTCY SECTION
               555 E WASHINGTON AVE STE 1300
               LAS VEGAS, NV 89101-1046

               NEVADA ENERGY
               6226 W SAHARA AVE
               LAS VEGAS, NV 89146

               NEVADA TIRE CITY
               400 N BRIDGE LN
               LAS VEGAS, NV 89102

               NEVADA WEST FINANCIAL
               7625 DEAN MARTIN DR
               LAS VEGAS, NV 89139

               NEXTGEAR
               Acct No xxxx08AM
               11799 N COLLEGE AVE
               CARMEL, IN 46032

               NICOLE MARI CALPITO CONSTANTIN
               6300 W TROPICANA AVE, #105
               LAS VEGAS, NV 89113

               NIKKI HIXSON-HOMER
               2280 IRON AVE
               LAS VEGAS, NV 89109

               NITSA ESGUERRA
               6236 MANDARIN DR
               LAS VEGAS, NV 89108

               NOE PADILLA'S AUTO GLASS
               3889 LANCOMER ST
               LAS VEGAS, NV 89115

               NONA DANIELLE DAILEY
               3765 LONE OAK ST
               LAS VEGAS, NV 89115

               NORMAN ALEXANDER FAY
               2136 BETTY DAVIS ST
               LAS VEGAS, NV 89142
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               NURIA ANISA HERNANDEZ
               2338 N GREEN VALLEY PKWY, #1312
               HENDERSON, NV 89014

               NV ENERGY
               P.O. BOX 98910
               LAS VEGAS, NV 89151-0001

               NV ENERGY
               6226 W SAHARA AVE
               LAS VEGAS, NV 89146

               O'REILLY AUTO PARTS
               233 S PATTERSON AVE
               SPRINGFIELD, MO 65802

               OFFICE DEPOT/MAX
               6980 ARROYO CROSSING PKWY
               LAS VEGAS, NV 89101

               OLYMPIC AUTO
               4568 MEMORIAL DR
               DECATUR, GA 30032

               ONE NEVADA CREDIT UNION
               Acct No A&E Auto Sales
               2645 S MOJAVE RD
               LAS VEGAS, NV 89121

               ONE STOP SHIPPING
               3859 S VALLEY VIEW BLVD, # 2
               LAS VEGAS, NV 89102

               OREGON AUTO FINANCE
               Acct No A&E Auto Sales
               1700 VALLEY DRIVER DR, STE 300
               EUGENE, OR 97401

               OSCAR ERNESTO MARTINEZ-AMEZQUI
               3404 W WASHINGTON AVE
               LAS VEGAS, NV 89107

               OSCAR MARTINEZ-PEREZ
               3404 W WASHINGTON AVE
               LAS VEGAS, NV 89107

               OSVALDO ANDRADE ZEPEDA
               6716 REGGIE CIR
               LAS VEGAS, NV 89107

               PA EXPRESS
               7500 COMMUNITY DR
               CITRUS HEIGHTS, CA 95610
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               PABLO DEL CASTILLO
               6225 W TROPICANA AVE, APT 21
               LAS VEGAS, NV 89103

               PADILLA'S AUTO GLASS
               3889 LANCOMER ST
               LAS VEGAS, NV 89115

               PASCUAL JIMENEZ-JIMENEZ
               4768 SAND CREEK AVE, #B
               LAS VEGAS, NV 89103

               PATRICIA LEHUA LUANA KAIMI LED
               5463 TENDER TULIP AVE
               LAS VEGAS, NV 89139

               PAYPAL CREDIT
               Acct No xxxx-xxxx-xxxx-3401
               P.O. BOX 105658
               ATLANTA, GA 30348-5658

               PEARLIE MAE NEWSOME ROBINSON
               3809 JUANITA MAY AVE
               NORTH LAS VEGAS, NV 89032

               PEDRO G SANCHEZ QUIEBRAS
               3640 ALA DR, APT 2
               LAS VEGAS, NV 89103

               PENNY HANEY
               1025 E DESERT INN RD
               LAS VEGAS, NV 89109

               PENNY STRICKLAND
               1820 MARATHON DR
               LAS VEGAS, NV 89108

               PETER BORCSANYI
               3397 RIDGELINE AVE
               BULLHEAD CITY, AZ 86429

               PETRA DE MAXIMO-ROMERO
               4768 SAND CREEK AVE, #B
               LAS VEGAS, NV 89103

               PHILADELPHIA INSURANCE COMPANY
               1 BALA PLAZA , STE 100
               BALA CYNWYD, PA 19004

               PHILADELPHIA INSURED COMPANIES
               P.O. BOX 950
               BALA CYNWYD, PA 19004
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               PHILLIP A GORDON
               633 TILIGHT BLUE AVE
               NORTH LAS VEGAS, NV 89032

               PHILLY EXPRESS GROUP LLC
               2522 STATE RD, UNIT D, SUITE 105
               BENSALEM, PA 19020

               PRECISION AUTO TRANSPORT LLC
               879 PRAIRIE GRASS DR
               LAS VEGAS, NV 89123

               PRIME ACCEPTANCE CORPORATION
               Acct No A&E Auto Sales
               7927 HIGH POINT PKWY
               SANDY, UT 84094

               QUALITY ACCEPTANCE
               145 W 32ND ST
               OGDEN, UT 84401-3437

               QUICK & FAIR TOWING
               2720 E BROOKS AVE
               NORTH LAS VEGAS, NV 89030

               RAISING CANES
               3535 W TROPICANA AVE
               LAS VEGAS, NV 89103-5627

               RANDOM I K AH-MOW
               6501 VEGAS DR, APT 2117
               LAS VEGAS, NV 89108

               RANSOM MEMORIAL HOSPITAL
               Acct No K03678
               P.O. BOX 460
               OTTAWA, KS 66067-0460

               RAYMOND HAYES
               7428 TIMBER RUN ST
               LAS VEGAS, NV 89149

               READY LOGISTIC
               1030 N COLORADO ST
               GILBERT, AZ 85233

               READY REFRESH
               4255 S VALLEY VIEW BLVD
               LAS VEGAS, NV 89103

               REBECCA HILL
               6421 RAVEN HALL ST
               NORTH LAS VEGAS, NV 89084
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               REBECCA SANDLER
               6112 SIERRA MIST AVE
               LAS VEGAS, NV 89139

               RECE LAMONT KENDRID
               9165 W DESERT INN RD, APT 203
               LAS VEGAS, NV 89117

               REGINA AGNES PETERSON
               5629 CALADONIA AVE
               LAS VEGAS, NV 89110

               REGINA PETERSON
               5629 CALADONIA AVE
               LAS VEGAS, NV 89110

               REGINALD STUART
               1818 BALZAR AVE, APT 206
               LAS VEGAS, NV 89106

               REKIE P BASCONES
               2670 S DECATUR BLVD, APT 207
               LAS VEGAS, NV 89102

               REPUBLIC SERVICES
               PO BOX 78040
               PHOENIX, AZ 85062-8040

               REPUBLIC SERVICES
               770 E SAHARA AVE
               LAS VEGAS, NV 89104

               REPUBLIC SERVICES #620
               PO BOX 78829
               PHOENIX, AZ 85062-8829

               REVIEW JOURNAL
               1111 W BONANZA RD
               P.O. BOX 70
               LAS VEGAS, NV 89125

               REYNOLDS & REYNOLDS
               P.O. BOX 182206
               COLUMBUS, OH 43218

               REYNOLDS COLLECTION SERVICES
               1 REYNOLDS WAY
               DAYTON, OH 45430-1586

               REYNOLDS COLLECTION SERVICES
               P.O. BOX 441
               201 S 8TH ST
               MARIETTA, OH 45750
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               RHONDA LENELL CHERRY
               7700 SANDRIDGE CT
               LAS VEGAS, NV 89149

               RICARDO RUIZ-HERRERA
               4420 HALBERT AVE
               LAS VEGAS, NV 89110

               RICARDO'S MEXICAN RESTAURANT
               RENAISSANCE CENTER WEST
               4930 W FLAMINGO RD
               LAS VEGAS, NV 89103

               RICHARD CHARLES SLACK
               22424 S ELLSWORTH LOOP RD, 1041
               QUEEN CREEK, AZ 85142

               RICHARD DWIGHT EISENBEIS
               277 BOULDER LN, #6a
               INDIAN SPRINGS, NV 89018

               RICHARD K CASE
               2325 HOLLOW OAK AVE
               NORTH LAS VEGAS, NV 89031

               RIGHT SIZE FUNDING
               Acct No A&E Auto
               7625 DEAN MARTIN DRIVE
               LAS VEGAS, NV 89139

               ROBERT E DRESDEN
               3330 COAL AVE
               JEAN, NV 89019

               ROBERT LEE GREEN JR
               9476 GRANDVIEW SPRING AVE
               LAS VEGAS, NV 89166

               ROBERT THOMPSON
               5629 CALADONIA AVE
               LAS VEGAS, NV 89110

               ROCHELE LYN HOLLAND-WEINSTEIN
               7800 BROOKFIELD COVE AVE
               LAS VEGAS, NV 89131

               ROCIO VILLEGAS-MONROY
               9501 W SAHARA AVE APT 1036
               LAS VEGAS, NV 89117

               ROGER BAILEY
               10233 GIBSON ISLE DR
               LAS VEGAS, NV 89166
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               RUNNERS R US, INC.
               P.O. BOX 34164
               LAS VEGAS, NV 89133-4164

               RUSSELL F SHAFFER
               1613 INVERNESS AVE
               LAS VEGAS, NV 89102

               RUTHANN TURNER
               2725 W WIGWAM AVE, APT 2088
               LAS VEGAS, NV 89123

               SAFEGUARD
               8585 STEMMONS FWY, SUITE 600N
               DALLAS, TX 75247

               SAHARA DODGE
               5050 W SAHARA AVE
               LAS VEGAS, NV 89146

               SALVADOR CARLOS MACIAS PULIDO
               5353 S EASTERN AVE
               LAS VEGAS, NV 89119

               SAMUEL GIGLIA
               6420 E TROPICANA AVE, #418
               LAS VEGAS, NV 89122

               SANTANDER BANK
               P.O. BOX 961245
               FORTH WORTH, TX 76161

               SAUL LUNA
               5524 MERRIWEATHER DR
               LAS VEGAS, NV 89113

               SCHOOLS FIRST FEDERAL CREDIT UNION
               15542 NEWPORT AVE
               TUSTIN, CA 92780

               SEARS CREDIT CARDS
               Acct No xxxx-xxxx-xxxx-1758
               P.O. BOX 78051
               PHOENIX, AZ 85062-8051

               SERVICE PAYMENT PLAN, INC
               303 E WACKER DR, STE 230
               CHICAGO, IL 60601

               SHALIA PATRICE KING
               5845 NUEVO LEON ST
               NORTH LAS VEGAS, NV 89031
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               SHAMARE NEWMAN
               411 CASA DEL NORTE
               NORTH LAS VEGAS, NV 89031

               SHAMEKA LASHI MCCLAIN
               1500 KAREN AVE, APT 341
               LAS VEGAS, NV 89169

               SHARON BARNEY PETTAWAY
               4350 CAPPAS ST, APT 102
               LAS VEGAS, NV 89115

               SHARON MALLORY METCALF
               1401 BOW CREEK CT
               LAS VEGAS, NV 89128

               SHASTINA PROSENICK
               1901 N JONES BLVD, APT 2028
               LAS VEGAS, NV 89108

               SHAUNTELYN K MCNAIR
               1216 PACIFIC TERRACE DR
               LAS VEGAS, NV 89128

               SHAWN PAUAHI SANTANA
               10650 CLIFF RIDGE AVE
               LAS VEGAS, NV 89129

               SHAWNEISE RANAE LEWIS
               5055 E CHARLESTON BLVD, #C213
               LAS VEGAS, NV 89104

               SHERI ANN SHERRILL
               10504 PRIME VIEW CT
               LAS VEGAS, NV 89144

               SHERRY LYNN BROWN
               2675 S NELLIS BLVD, 1140
               LAS VEGAS, NV 89129

               SHERRY RENEE WILLIAMS-LAMB
               6429 CHIPPINDALE LN
               LAS VEGAS, NV 89108

               SHONTELLE JAZE YOUNG
               1000 DUMONT BLVD, APT B253
               LAS VEGAS, NV 89169

               SHRED-IT
               4524 LAWRENCE STREET
               NORTH LAS VEGAS, NV 89081

               SILKK DNIELLE WHIPPLE
               556 N EASTERN AVE, STE D
               LAS VEGAS, NV 89101
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               SIN CITY WHEELS & TIRES
               3040 SIMMONS STREET, SUITE 100
               NORTH LAS VEGAS, NV 89032

               SION TRANSPORT LLC
               1309 SW 154TH CT
               MIAMI, FL 33194

               SMOG BUSTERS
               2711 E SAHARA AVE
               LAS VEGAS, NV 89104

               SMOG BUSTERS
               3800 W SAHARA AVE
               LAS VEGAS, NV 89102

               SONIA DELRIO-PELAYO
               3792 ANGEL FLIGHT DR
               LAS VEGAS, NV 89115

               SOUTHERN NEVADA PRINTING
               2910 HIGHLAND DRIVE, STE K
               LAS VEGAS, NV 89109

               SOUTHWEST ADMINISTRATIVE SERVICES
               2600 WESTWOOD DR
               LAS VEGAS, NV 89109

               SOUTHWEST AUTO TRANSPORT
               16026 N 8TH STREET
               PHOENIX, AZ 85022

               SOUTHWESTRE
               2400 LOUISIANA BLVD NE
               BLDG 4, STE 100
               ALBUQUERQUE, NM 87110

               SPARKLETTS
               PO BOX 660579
               DALLAS, TX 75266-0579

               STARSHAE MARY MADSEN
               5251 PIONEER AVE, APT 201
               LAS VEGAS, NV 89146

               STATE OF NV DEPT OF MOTOR VEHICLES
               BANKRUPTCY SECTION
               555 WRIGHT WAY
               CARSON CITY, NV 89701-5229

               STATE OF NV EMPLOYMENT SECURITY
               2800 E SAINT LOUIS AVE
               LAS VEGAS, NV 89104-4267
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               STELLAR AUTOMOTIVE GROUP
               4376 W RICKENBACKER WAY
               CHANDLER, AZ 85226

               STEPHANIE ANGELICA WADSWORTH
               3055 GARNETT CT
               LAS VEGAS, NV 89121

               STEPHANIE LENELL LOWE
               924 MACFARLANE ST
               LAS VEGAS, NV 89101

               STEPHANIE LOUISE BEACH
               50 AURA DE PLANCO ST, APT 15103
               HENDERSON, NV 89074

               STEVEN KARL WILSON
               5370 E CRAIG RD, APT 2041
               LAS VEGAS, NV 89115

               STEVEN LAMONT COTTON
               1901 N JONES BLVD, APT 2028
               LAS VEGAS, NV 89108

               SYNET AMELIA HINES
               4730 E CRAIG RD, APT 1168
               LAS VEGAS, NV 89115

               TABATHA A CARTER
               3956 MAJESTIC GROVE DR
               LAS VEGAS, NV 89115-5000

               TAKEISHA LASHELLE JOHNSON
               2900 EL CAMINO AVE, #274
               LAS VEGAS, NV 89102

               TANGANYKA J WHITING
               3770 SWENSON ST, APT K201
               LAS VEGAS, NV 89119

               TANYA C RYANS
               2227 STEWART AVE, APT 4
               LAS VEGAS, NV 89101

               TEISHA EVON BURKE
               2881 N RANCHO DR, APT 1064
               LAS VEGAS, NV 89130

               TELECHECK SERVICES, INC
               P.O. BOX 60028
               CITY OF INDUSTRY, CA 91716-0028

               TELEMUNDO
               450 FREMONT ST
               LAS VEGAS, NV 89101
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               TELISHA LYNN BRICE
               1555 BALZAR AVE, APT 203
               LAS VEGAS, NV 89106

               TENNELLE RENAE JOHNSON
               1304 WYATT AVE
               LAS VEGAS, NV 89106

               TERESA LYNNE MORT
               6420 E TROPICANA AVE, #418
               LAS VEGAS, NV 89122

               TERESA T BUNGCAYAO
               5154 S JONES BLVD, UNIT 101
               LAS VEGAS, NV 89118

               TERRIBLE HERBST CHEVRON
               4070 S ARVILLE ST
               LAS VEGAS, NV 89103

               TERRY EDWARDS
               5809 REITER AVE
               LAS VEGAS, NV 89108

               TERRY L GARDNER
               9411 SANTE FE ROSE ST
               LAS VEGAS, NV 89123

               TEXAS WORKFORCE COMMISSION
               REGULATORY INTEGRITY DIVISION - SAU
               ROOM 556
               101 E 15TH ST
               AUSTIN, TX 78778-0001

               THE BENDETTI COMPANY
               Acct No xxxx-xxxx x. xxxxxx View
               2 EXECUTIVE CIRCLE, #150
               IRVINE, CA 92614

               THE HOME DEPOT
               4750 S DECATUR BLVD
               LAS VEGAS, NV 89103

               THE TOW TRUCK COMPANY
               3975 W HACIENDA AVE
               LAS VEGAS, NV 89118

               THOMAS JOSEPH BIRMINGHAM
               7836 BLUE CHARM AVE
               LAS VEGAS, NV 89149

               THOMAS THORTON BROWN III
               8600 W CHARLESTON BLVD, #1176
               LAS VEGAS, NV 89116
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               TIAUSHANAE WILLIAMS
               10192 S MARYLAND PKWY, #2081
               LAS VEGAS, NV 89183

               TIFFINE SHELLS
               3333 N MICHAEL WAY, APT 2115
               LAS VEGAS, NV 89108

               TITLE MAX
               4700 SPRING MOUNTAIN RD
               LAS VEGAS, NV 89102

               TOM JONES FORD
               2354 W HIGHWAY 85
               BUCKEYE, AZ 85326

               TOM JONES FORD
               24600 W YUMA RD
               BUCKEYE, AZ 85326

               TONEHSA DANYALL NEWMAN
               5227 PORTAND CT
               NORTH LAS VEGAS, NV 89031

               TONYALE JONTA HILL
               3121 W COLTON AVE
               LAS VEGAS, NV 89108

               TORI'ONNA KIERRA NA SHAY THOMA
               5060 NELLIS OASIS LN, APT 2005
               LAS VEGAS, NV 89115

               TRACY A JULES
               500 VICENT WAY
               LAS VEGAS, NV 89145

               TRACY MARLENE CARRILLO
               1055 E FLAMINGO RD, APT 217
               LAS VEGAS, NV 89119

               TRACY YOUNG WEBER
               4575 DEAN MARTIN DR, APT 911
               LAS VEGAS, NV 89103

               Tron Slade
               38781 S. Valley View Blvd. Suite 1
               Las Vegas, NV 89103

               TRON SLADE (former general manager)
               1865 Granemore
               Las Vegas, NV 89135
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               TRUE CAR
               BRYAN CAVE
               120 BROADWAY, #200
               SANTA MONICA, CA 90401

               TRUE CAR, INC
               DEPT LA 24198
               PASADENA, CA 91185-4198

               TYLER WINFREE
               3825 CRAIG XING DR, APT 3101
               NORTH LAS VEGAS, NV 89032

               UNITED AUTO CREDIT
               Acct No A&E Auto Sales
               1071 CAMELBACK ST, STE 100
               NEWPORT BEACH, CA 92660

               UNITED STATES TRUSTEE
               300 LAS VEGAS BLVD S, STE 4300
               LAS VEGAS, NV 89101-5803

               USPS HEADQUARTERS
               475 L'ENFANT PLAZA SW
               Washington, DC 20260

               V AUTO
               1901 S MEYERS RD, STE 700
               OAKBROOK TERRACE, IL 60181-5211

               Valley View Industrial Investors, LLC
               Acct No xxxx-xxxx x. xxxxxx View
               c/o Bendetti
               4 Executive Circle, Suite 190
               Irvine, CA 92614

               VANESSA RENEE SMITH
               3829 PASTEL RIDGE ST
               NORTH LAS VEGAS, NV 89032

               VANNRYDA TOUCH
               1135 SAGE VALLEY CT
               LAS VEGAS, NV 89110

               VEGAS CITY MOTORS
               4160 S FORT APACHE RD STE B
               LAS VEGAS, NV 89147

               VEGAS MACHINE
               5038 BOND ST
               LAS VEGAS, NV 89118
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               VEROS CREDIT
               Acct No A&E Auto Sales
               500 N RAINBOW BLVD, STE 312
               LAS VEGAS, NV 89107

               VETERANS CARGO
               7664 W TUMBLEWOOD DR
               PEORIA, AZ 85382

               VISTAPRINT
               95 HAYDEN AVE
               LEXINGTON, MA 02421-7942

               VONAGE
               23 MAIN STREET
               HOLMDEL, NJ 07733

               WALKER TOWING
               2396 SILVER WOLF DR
               HENDERSON, NV 89011

               WALMART HEADQUARTERS
               702 SW 8TH ST
               BENTONVILLE, AR 72716

               WAYNE BRYAN BLANCHARD
               5453 S DURANGO DR, APT 1038
               LAS VEGAS, NV 89113

               WELLS FARGO DEALER SERVICES
               1740 BROADWAY
               LL2
               DENVER, CO 80274-0001

               WEST EXPRESS TRANSPORTATION, LLC
               1465 E PHILADELPHIA ST
               ONTARIO, CA 91761

               WESTLAKE FINANCIAL SERVICES
               Acct No A&E Auto Sales
               4751 WILSHIRE BLVD, STE 100
               LOS ANGELES, CA 90010

               WHEEL HOUSE
               3111 S VALLEY VIEW BLVD, STE 102
               LAS VEGAS, NV 89102

               WHITLEY ANASTACIA COX
               7810 TENSHAW AVE, #204
               LAS VEGAS, NV 89145

               WILFREDO RIVERA JR
               3333 N MICHAEL WAY, APT 2115
               LAS VEGAS, NV 89108
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               WILLIAM WAYNE HARTERY
               8753 ARWANA PL
               HENDERSON, NV 89074

               Wise F&I LLC
               Acct No A&E Auto
               1670 Fenpark Drive
               Fenton, MO 63026

               WORLD AUTO TRANS INC
               6512 MECHAM AVE
               LAS VEGAS, NV 89107

               WORLDWIDE EXPRESS
               5000 MEADOWS RD, STE 440
               LAKE OSWEGO, OR 97035

               WRAP CITY
               3863 S VALLEY VIEW BLVD, STE 10
               LAS VEGAS, NV 89103

               WYLEIA CARTER
               5370 E CRAIG, APT 2279
               LAS VEGAS, NV 89115

               YELP CORPORATE OFFICE
               706 MISSION ST
               SAN FRANCISCO, CA 94103

               YOLANDA BARRIOS CONTRERAS
               404 LOUISVILLE DR
               NORTH LAS VEGAS, NV 89031

               YOLANDA PONCE
               338 SWEETSPICE ST
               HENDERSON, NV 89014

               ZMON ERIC HOLCOMB
               6516 SUNDOWN HEIGHTS AVE
               LAS VEGAS, NV 89130
